 1                             DECLARATION OF KELLE A. SLAUGHTER

 2                                     PURSUANT TO 28 U.S.C. § 1746
 3
     Pursuant to 28 U.S.C. § 1746, I declare as follows:
 4
             1.      My name is Kelle A. Slaughter. I am over 18 years of age and make this Declaration
 5
     based upon my personal knowledge or information made known to me in the course of my official
 6
     duties, and, if called, I would testify to the same.
 7

 8           2.      I am employed as a Federal Trade Investigator with the Federal Trade Commission

 9 (“FTC”), a position that I have held for more than 2 years. My office address is 1999 Bryan Street,

10 Suite 2150, Dallas, Texas 75201.

11
             3.      As a Federal Trade Investigator, my duties include investigating parties suspected of
12
     engaging in unfair or deceptive acts or practices in violation of the FTC Act and other laws or rules
13
     enforced by the FTC.
14

15           4.      As an employee of the Federal Trade Commission Southwest Region, I am familiar

16 with the manner in which its records are created and maintained by virtue of my duties and
17 responsibilities as Federal Trade Investigator.

18           5.      As part of my duties, I assisted in the FTC’s non-public investigation of Golden
19
     Sunrise Nutraceutical, Inc., Golden Sunrise Pharmaceutical, Inc., and the related individuals Huu
20
     Tieu and Stephen Meis (collectively, “Golden Sunrise”). I also assisted in the FTC’s COVID-19
21
     warning letter program—a program that resulted in Defendant Golden Sunrise Pharmaceutical
22

23 receiving a warning letter regarding a product it markets that purportedly treats COVID-19.

24           6.      During the investigation, I also routinely received and reviewed emails associated

25 with Defendants that were sent to other FTC staff. I regularly review and receive emails concerning

26
     communications with investigation targets and am familiar with the email addresses of FTC staff
27
     with whom I work on investigations.
28

                                                                                  App. 000001
 1          7.      I am accordingly familiar with the records created and maintained as part of the

 2 FTC’s non-public investigation of Defendants as well as Defendant Golden Sunrise

 3
     Pharmaceutical’s receipt of a warning letter as part of the FTC’s COVID-19 warning letter program.
 4
            8.      Through the FTC’s warning letter program and non-public investigation, I acquired
 5
     personal knowledge of the facts stated here, and, if called, would testify to the same. Any
 6
     conclusions are based on my investigation, including my review of documents obtained by the FTC
 7

 8 and websites operated by Defendants. Personally Identifiable Information (“PII”) has been redacted

 9 from all documents referenced in this declaration.

10                                     CORPORATE DOCUMENTS
11
            9.      During this investigation, on June 3, 2020, I used the Google Chrome web browser
12
     on my FTC-issued computer to obtain corporate records for Golden Sunrise Pharmaceutical, Inc. by
13
     downloading Portable Document Files (“PDFs”) from the California Secretary of State Business
14

15 Search website, at Uniform Record Locater (“URL”) https://businesssearch.sos.ca.gov/. The

16 corporate records attached to this declaration are not certified copies. Rather, they are copies that I

17 downloaded directly from the California Secretary of State Business Search website in furtherance

18 of the investigation. I have ordered certified copies of these records from the California Secretary of

19
     State but have not yet received them.
20
            10.     On June 3, 2020, I used the Google Chrome web browser on my FTC-issued
21
     computer to obtain a Statement of Information for Golden Sunrise Pharmaceutical, Inc. filed on
22

23 October 14, 2011, by downloading a PDF copy from the California Secretary of State Business

24 Search website, at URL https://businesssearch.sos.ca.gov/. A true, correct, and complete copy of

25 this document is attached and marked as Attachment A. This Statement of Information identifies

26
     Tieu as the Chief Executive Officer, the Chief Financial Officer, and a Director of Golden Sunrise
27
     Pharmaceutical. It also identifies the principal office for Golden Sunrise Pharmaceutical, Inc. as 560
28
     W. Putnam Avenue, Suite 2, Porterville, California 93257.

                                                      -2-                         App. 000002
 1           11.    On June 3, 2020, I obtained a Statement of Information for Golden Sunrise

 2 Pharmaceutical, Inc. filed on February 14, 2020, by downloading a PDF copy from the California

 3
     Secretary of State Business Search website, at URL https://businessearch.sos.ca.gov. A true,
 4
     correct, and complete copy of this document is attached and marked as Attachment B. This
 5
     Statement of Information indicates there were no changes to the information contained in the
 6
     previous Statement of Information and identifies Tieu as the President of Golden Sunrise
 7

 8 Pharmaceutical.

 9           12.    On June 3, 2020, I also obtained a Statement and Designation by Foreign
10 Corporation for Golden Sunrise Nutraceutical, Inc. filed on March 12, 2018, by downloading a PDF

11
     copy from the California Secretary of State Business Search website at URL
12
     https://businesssearch.sos.ca.gov. A true, correct, and complete copy of this document is attached
13
     and marked as Attachment C. According to this document, Golden Sunrise Nutraceutical, Inc. filed
14

15 with the California Secretary of State as a foreign corporation formed in Delaware, and its principal

16 office location is listed as 219 N. E Street, Porterville, California 93257. A Delaware Secretary of

17 State Certificate of Good Standing for Golden Sunrise Nutraceutical is included with the filing,

18 which states that Golden Sunrise Nutraceutical had a legal corporate existence as of January 25,

19
     2018.
20
             13.    On June 3, 2020, I obtained a Statement of Information for Golden Sunrise
21
     Nutraceutical, Inc. filed August 22, 2018, by downloading a PDF copy from the California
22

23 Secretary of State Business Search website, at URL https://businesssearch.sos.ca.gov/. A true,

24 correct, and complete copy of this document is attached and marked as Attachment D. This

25 Statement of Information identifies Golden Sunrise Nutraceutical’s principal place of business as

26
     being 219 N. E. Street, Porterville, California 93257, its principal executive office address as 673
27
     Bluerock Road, Gardnerville, Nevada 89460, and its mailing address as P.O. Box 6094, Garderville,
28


                                                      -3-                          App. 000003
 1 Nevada 89460. The document identifies Tieu as the Chief Executive Officer of Golden Sunrise

 2 Nutraceutical.

 3
            14.     Likewise, on June 3, 2020, I obtained a Statement of Information for Golden Sunrise
 4
     Nutraceutical, Inc. filed on January 16, 2020, by downloading a PDF copy from the California
 5
     Secretary of State Business Search website, at URL https://businesssearch.sos.ca.gov/. A true,
 6
     correct, and complete copy of this document, which I downloaded from the California Secretary of
 7

 8 State Business Search website, is attached and marked as Attachment E. This Statement of

 9 Information identifies the 219 N. E. Street, Porterville, California 93247 as its principal executive

10 office, its principal business office, and its mailing address. The document identifies Tieu as the

11
     Chief Executive Officer of Golden Sunrise Nutraceutical.
12
                                         DEFENDANTS’ WEBSITES
13
            15.     On April 26, 2020, as part of an FTC COVID-19 warning letter program, FTC staff
14
     attorney Zachary Keller examined the website located at URL goldensunrisepharmaceutical.com.
15
     Observing claims relating to the prevention, treatment, or cure of COVID-19, Mr. Keller at that
16

17 time, and as was his regular practice in the performance of duties related to the FTC’s COVID-19

18 warning letter program, created a screen-capture of the website by using Adobe Acrobat to print a

19 PDF copy of the website. Mr. Keller saved the record, which included five pages of website

20 material, on the FTC’s shared network drive at a file path that was made known to me. I have

21
     attached a true, correct, and complete copy of this screen-capture as Attachment X.
22
            16.     As part of that same FTC COVID-19 warning letter program and on that same day,
23
     Mr. Keller also examined a downloadable PDF document entitled “COVID-19 Treatment
24

25 EMERGENCY D-Virus Plan of Care Cellular Therapy” that was located at URL

26 https://img1.wsimg.com/blobby/go/2541fe69-c28b-4ab6-9d81-dde5fd7726f8/downloads/

27 EMERGENCY%20D-Virus%20Plan%20of%20Care.pdf?ver=1589397213152, which he accessed

28
     by clicking on the banner advertisement contained at the URL goldensunrisepharmaceutical.com

                                                      -4-                        App. 000004
 1 and attached to this declaration as Attachment X. Again observing claims regarding the prevention,

 2 treatment, or cure of COVID-19, and again consistent with his regular practice under the FTC’s

 3
     COVID-19 warning letter program, Mr. Keller created a record by downloading and saving a copy
 4
     of that document, which included 12 pages of material. Mr. Keller saved that document on the
 5
     FTC’s shared network drive at a file path that was subsequently made known to me. I have attached
 6
     a true, correct, and complete copy of the saved document as Attachment Y.
 7

 8          17.     During the course of this investigation, I screen-captured a website associated with

 9 Golden Sunrise Pharmaceutical, Inc. On May 26, 2020, I logged into my FTC-issued computer,

10 initiated the Mozilla Firefox browser, and used the screen-capture program Snagit, which I have had

11
     prior training and experience using, to screen-capture the webpages found at URL
12
     www.goldensunrisepharmaceutical.com using screen-capture technology. Tieu acknowledged
13
     control of this website in his May 11, 2020 email that responded to an FTC warning letter. See infra
14

15 at ¶¶ 31-33; Appendix (“App.”) at 208-10 (FTC email and warning letter regarding representations

16 made at URL www.goldensunrisepharmaceutical.com), 213 (Tieu responding in a letter stating,

17 “We have removed all language specific to the Emergency D-Virus Plan of Care from our

18 website.”). I have attached a true, correct, and complete copy of the web capture I made of this

19
     website to my declaration, which is marked as Attachment F.
20
            18.     During the course of the investigation, I screen-captured a website associated with
21
     Golden Sunrise Nutraceutical, Inc. On May 26, 2020, I logged into my FTC-issued computer,
22

23 initiated the Mozilla Firefox browser, and used the screen-capture program Snagit to screen-capture

24 the webpages found at URL www.goldensunrisenutraceutical.com. Tieu acknowledged control of

25 this website in his May 31, 2020 email that responded to an FTC email sent on May 18, 2020. See

26
     infra at ¶¶ 37-38; App. at 437-38 (FTC email including screencapture of Golden Sunrise
27
     Nutraceutical website at URL goldensunrisenutraceutical.com/golden-sunrise-1), 497 (Tieu
28
     responding by stating, “We have removed the claim from our website as shown in your screenshot).

                                                     -5-                         App. 000005
 1 In addition, the name and address information contained on this website, as well as the page’s use of

 2 Golden Sunrise Nutraceutical branding, indicated that this page belonged to, or was managed by,

 3
     Golden Sunrise Nutraceutical because it matched the records indicated in Golden Sunrise
 4
     Nutraceutical’s corporate filing. See infra at ¶¶ 13-14; App. at 19-20. A true, correct, and complete
 5
     copy of the screen-capture I made is attached to this declaration and marked as Attachment G.
 6
            19.     On May 26, 2020, while on the website www.goldensunrisenutraceutical.com, I
 7

 8 observed a banner across the top of the homepage that stated “Innovative Virus Treatment

 9 EMERGENCY D-Virus Plan of Care.” I clicked on the banner, which led me to download a PDF

10 document regarding the EMERGENCY D-Virus Plan of Care Cellular Therapy. I saved that

11
     document and a true, correct, and complete copy of this downloaded PDF document is attached
12
     hereto and marked as Attachment H.
13
            20.     On June 8, 2020, I logged into my FTC-issued computer, initiated the Mozilla
14

15 Firefox browser, and used the screen-capture program Snagit to screen-capture the webpage titled

16 “Treatment” on Golden Sunrise Nutraceutical, Inc.’s website found at URL

17 https://goldensunrisenutraceutical.com/treatment. A true, correct, and complete copy of web capture

18 I made of this webpage is attached hereto and identified as Attachment I.

19
            21.     On June 8, 2020, I logged into my FTC-issued computer, initiated the Mozilla
20
     Firefox browser, and used the screen-capture program Snagit to screen-capture a webpage on
21
     Golden Sunrise Nutraceutical, Inc.’s website at URL https://goldensunrisenutraceutical.com/
22

23 testimonial. This website displayed 14 different testimonial videos. A true, correct, and complete

24 copy of the screen-capture I made of the webpage titled “Testimonials” is attached hereto and

25 marked as Attachment J.

26
                                    SOCIAL NETWORKING WEBSITES
27          22.     During the investigation, I accessed Facebook, an online social networking website
28
     where participants can interact by sharing messages, photos, videos, and interests within their

                                                      -6-                         App. 000006
 1 individual networks. Participants can communicate by posting on their own page, and business

 2 enterprises often create Facebook pages to market their products. Facebook posts generally contain

 3
     a timestamp representing the date they were made, containing the month and day for posts made in
 4
     the same year they are viewed and the month, day, and year for posts made in prior years. Facebook
 5
     enables users to choose their own privacy settings and choose who can see what parts of their page.
 6
     Individuals who are invited or accepted as “friends” on Facebook can typically view more parts of
 7

 8 an individual’s or a company’s Facebook page. All of the Facebook pages I reviewed during the

 9 course of this investigation were publicly available and visible on my web broswer even though I

10 am not Facebook “friends” with any of these entities.

11
            23.     On June 8, 2020, I used the Mozilla Firefox web browser on my FTC-issued
12
     computer to access Facebook and navigate to the Facebook page for Golden Sunrise
13
     Pharmaceutical. I used the screen-capture program Snagit to screen-capture the “posts” page
14

15 displayed on the Facebook page for “Golden Sunrise Pharma” available at URL

16 https://www.facebook.com/goldensunrisepharma/. The name, address, and phone information

17 contained on this Facebook page as well as the page’s use of Golden Sunrise Pharmaceutical

18 branding, indicated that this page belonged to, or was managed by, Golden Sunrise Pharmaceutical

19
     because it matched the records indicated in Golden Sunrise Pharmaceutical’s corporate filing
20
     (Attachment A) and website (Attachment F). Additionally, the profile picture for the account was a
21
     logo for Golden Sunrise Nutraceutical, and the posts on the page displays multiple posts of the logo
22

23 for Golden Sunrise Nutraceutical. A true, correct, and complete copy of this page is attached to this

24 declaration and marked as Attachment K.

25          24.     On June 3, 2020, I used the Mozilla Firefox web browser on my FTC-issued
26
     computer to access Facebook and navigate to the Facebook page for Golden Sunrise Nutraceutical,
27
     Inc., available at URL https://www.facebook.com/pages/category/Company/Golden-Sunrise-
28
     Nutraceutical-115221453185810. The name, address, and phone information contained on this

                                                     -7-                         App. 000007
 1 Facebook page, as well as the page’s use of Golden Sunrise Nutraceutical branding, indicated that

 2 this page belonged to, or was managed by, Golden Sunrise Nutraceutical because it matched the

 3
     records indicated in Golden Sunrise Nutraceutical’s corporate filing (Attachments D-E) and website
 4
     (Attachment G). I reviewed the posts on the Facebook page and identified a post made on April 9 as
 5
     relevant to our investigation. After selecting the April 9 Facebook post on this Golden Sunrise
 6
     Nutraceutical page by clicking the title so the full post displayed, I used the screen-capture program
 7

 8 Snagit to screen-capture the full April 9 post. A true, correct, and complete copy of this Facebook

 9 post is attached hereto and marked as Attachment L.

10          25.     On June 3, 2020, I used the Mozilla Firefox web browser on my FTC-issued
11
     computer to access Facebook and navigate to the Facebook page for Golden Sunrise Nutraceutical,
12
     Inc., available at URL https://www.facebook.com/pages/category/Company/ Golden-Sunrise-
13
     Nutraceutical-115221453185810. The name, address, and phone information contained on this
14

15 Facebook page, as well as the page’s use of Golden Sunrise Nutraceutical branding, indicated that

16 this page belonged to, or was managed by, Golden Sunrise Nutraceutical because it matched the

17 records indicated in Golden Sunrise Nutraceutical’s corporate filing (Attachments D-E) and website

18 (Attachment G). I reviewed the posts on the Facebook page and identified a post made on April 16

19
     as relevant to our investigation. I selected the April 16 Facebook post made by Golden Sunrise
20
     Nutraceutical, which advertised: “COVID-19 Treatment Emergency D-Virus Plan of Care, Golden
21
     Sunrise Nutraceutical, 559-781-0658” by clicking the title so the full post displayed. After doing so,
22

23 I used the screen-capture program Snagit to screen-capture the full April 16 post. A true, correct,

24 and complete copy of this Facebook post is attached hereto and marked as Attachment M.

25          26.     On June 3, 2020, I used the Mozilla Firefox web browser on my FTC-issued
26
     computer to access Facebook and navigate to the Facebook page for Golden Sunrise Nutraceutical,
27
     Inc., available at URL https://www.facebook.com/pages/category/Company/ Golden-Sunrise-
28
     Nutraceutical-115221453185810. The name, address, and phone information contained on this

                                                      -8-                         App. 000008
 1 Facebook page, as well as the page’s use of Golden Sunrise Nutraceutical branding, indicated that

 2 this page belonged to, or was managed by, Golden Sunrise Nutraceutical because it matched the

 3
     records indicated in Golden Sunrise Nutraceutical’s corporate filing (Attachments D-E) and website
 4
     (Attachment G). I reviewed the posts on the Facebook page and identified a post made on March 18
 5
     as relevant to our investigation. I selected the March 18 Facebook post detailing an “Anti-virus
 6
     nemesis ImunStem, Aktiffvate promotion held in Los Angeles” displayed on Golden Sunrise
 7

 8 Nutraceutical’s Facebook page. The Facebook post is made twice on Golden Sunrise

 9 Nutraceutical’s Facebook page on March, 18, 2020, and the posts are identical. After selecting the

10 post, I used the screen-capture program Snagit to screen-capture the full March 18 post. A true,

11
     correct, and complete copy of this Facebook post is attached hereto and marked as Attachment N.
12
            27.     On June 3, 2020, I used the Mozilla Firefox web browser on my FTC-issued
13
     computer to access Facebook and navigate to the Facebook page for Golden Sunrise Nutraceutical,
14

15 Inc., available at URL https://www.facebook.com/pages/category/Company/ Golden-Sunrise-

16 Nutraceutical-115221453185810. The name, address, and phone information contained on this

17 Facebook page, as well as the page’s use of Golden Sunrise Nutraceutical branding, indicated that

18 this page belonged to, or was managed by, Golden Sunrise Nutraceutical because it matched the

19
     records indicated in Golden Sunrise Nutraceutical’s corporate filing (Attachments D-E) and website
20
     (Attachment G). I reviewed the posts on the Facebook page and identified a post made on March 3,
21
     2020, as relevant to our investigation. I selected “continue reading” link on the March 3 Facebook
22

23 post and used the screen-capture program Snagit to screen-capture the full post. A true, correct, and

24 complete copy of this Facebook post is attached hereto and marked as Attachment O.

25                                      OTHER ONLINE RESEARCH
26          28.     On July 8, 2020, I logged into my FTC-issued computer, initiated the Mozilla

27 Firefox browser, and used the screen-capture program Snagit to screen-capture an article published

28
     publicly on the website for The Porterville Recorder, a daily newspaper that is circulated in

                                                      -9-                         App. 000009
 1 Porterville, California. The article, published April 9, 2020, is titled “COVID-19 patient says herbal

 2 treatment helping her: RN says Golden Sunrise Pharmaceutical has her feeling better” was found at

 3
     URL https://www.recorderonline.com/news/ covid-19-patient-says-herbal-treatment-helping-her-rn-
 4
     says-golden-sunrise-pharmaceutical-has-her/article_cb85970a-7a74-11ea-9ce6-5f289eb63863.html.
 5
     A true, correct, and complete copy of the web capture I made of this article is attached hereto and
 6
     marked as Attachment P.
 7

 8          29.     On July 16, 2020, I logged into my FTC-issued computer, initiated the Mozilla

 9 Firefox browser, and used the screen-capture program Snagit to screen-capture a July 14, 2020

10 press release published on the United States Department of Justice’s official website at URL

11
     https://www.justice.gov/usao-edca/pr/tulare-county-man-indicted-falsely-marketing-herbal-
12
     mixtures-fda-approved-treatment. The press release was titled “Tulare County Man Indicted for
13
     Falsely Marketing Herbal Mixtures as FDA-Approved Treatment for COVID-19” and related to the
14

15 indictment of Tieu. A true, correct, and complete copy of the screen-capture I made of this press

16 release is attached hereto and marked as Attachment Q.

17          30.     The press release marked as Attachment Q included a link to a PDF version of the
18 indictment against Tieu, available on the Department of Justice’s official website at URL

19
     https://www.justice.gov/usao-edca/press-release/file/1294066/download. The indictment is a copy
20
     of the court record on file in the United States District Court for the Eastern District of California,
21
     Case No. 1:20-cr-00109-DAD-BAM, and includes the name of the court, the filing date, and the
22

23 docket number. Using my FTC-issued computer, I clicked on the link and downloaded a copy of the

24 PDF of the indictment. A true, correct, and complete copy of the indictment is attached hereto and

25 marked as Attachment R.

26
                                               COMMUNICATIONS
27          31.     Attachment S is a true, correct, and complete copy of an email FTC staff attorney
28
     Zachary Keller sent on April 29, 2020, from an email address known to me to be used by Mr. Keller

                                                       - 10 -                       App. 000010
 1 in the course of his work at the FTC, zkeller@ftc.gov, delivering a warning letter to Defendant

 2 Golden Sunrise Pharmaceutical at the email address info@goldensunrisepharmaceutical.com, which

 3
     is the email address listed on its website. See supra at ¶ 17; App. at 21, 208. That email contained a
 4
     warning letter from the FTC to Golden Sunrise Pharmaceutical as a PDF attachment. A true,
 5
     correct, and complete copy of this PDF is attached hereto and marked as Attachment S.1.
 6
            32.     Attachment T is a true, correct, and complete copy of an email FTC staff attorney
 7

 8 Zachary Keller received on May 11, 2020, at an email address known to me to be used by Mr.

 9 Keller in the course of his work at the FTC, zkeller@ftc.gov, from the email address

10 htieu@goldensunrisenutraceutical.com, which contains the domain of the website used by Golden

11
     Sunrise Nutraceutical, Inc. (goldensunrisenutraceutical.com). See supra at ¶ 18. The signature line
12
     in the email identifies it as coming from “Huu S. TIEU, President Golden Sunrise Nutraceutical,
13
     Inc.” The subject line of the email states “Golden Sunrise Nutraceutical/Pharmaceutical
14

15 Information,” and the content of the email acknowledges that Tieu and Keller had a “telephone

16 conversation” earlier that day. I accessed this email through an FTC shared drive as part of my

17 duties in this investigation.

18          33.     The email attached to this declaration as Attachment T contained nine PDF files as
19
     attachments. However, the body of Tieu’s email identified only eight of these attachments: 1)
20
     Golden Sunrise Nutraceutical letter to James E. Elliott, 2) Emergency Use of Test Article, 3)
21
     Golden Sunrise Nutraceutical letter to FDA & Protocol Plan of Care, 4) Golden Sunrise
22

23 Nutraceutical letter to FDA & Patient Results, 5) D         M           Medical Report, 6) G

24 T          Medical Report, 7) N        M          Medical Report, 8) R         H          Medical

25 Report. An additional document, which was attached to this email but not identified in the body of

26
     the email, is identified in the header of the document as “G      V        Medical Report.”
27
     Attachments T.1 through T.9 are true, correct, and complete copies of the attachments to the
28
     email attached to this declaration as Attachment T.

                                                      - 11 -                       App. 000011
 1          34.     Attachment U is a true, correct, and complete copy of an email FTC staff attorney

 2 Zachary Keller sent from his zkeller@ftc.gov email address to

 3
     htieu@goldensunrisenutraceutical.com, which contains the domain of the website used by Golden
 4
     Sunrise Nutraceutical, Inc. (goldensunrisenutraceutical.com). See supra at ¶ 18. The signature line
 5
     in the email identifies it as coming from “Huu S. TIEU, President Golden Sunrise Nutraceutical,
 6
     Inc.” The timestamp on the email indicates that Tieu sent it to Mr. Keller on May 12, 2020, in
 7

 8 response to the May 11, 2020 email marked as Attachment T.

 9          35.     Attachment V is a true, correct, and complete copy of an email FTC staff attorney
10 Zachary Keller received on May 15, 2020, at his email address zkeller@ftc.gov from

11
     htieu@goldensunrisenutraceutical.com in reply to the May 12 email marked as Attachment U. I
12
     accessed this email through an FTC shared drive as part of my duties in this investigation.
13
            36.     The email attached to this declaration as Attachment V contained one PDF file as an
14

15 attachment, which was a letter addressed to FTC staff attorney Zachary Keller. According to the

16 letterhead and signature lines, the letter was sent by Tieu and Meis. The letter contains the heading

17 “Golden Sunrise Nutraceutical / Pharmaceutical: EMERGENCY D-Virus Plan of Care,” and the

18 signatories are Tieu in his capacity as “President / CEO” of the enterprise and Meis as the “Medical

19
     Director” of the enterprise. Attachment V.1 is a true, correct, and complete copy of the attachment
20
     to the email attached to this declaration as Attachment V.
21
            37.     Attachment W is a true, correct, and complete copy of an email FTC staff attorney
22

23 Zachary Keller sent from his zkeller@ftc.gov email address to

24 htieu@goldensunrisenutraceutical.com on May 18, 2020, in response to the May 15, 2020 email

25 marked as Attachment V.

26
            38.     Attachment BB is a true, correct, and complete copy of an email FTC staff attorney
27
     Zachary Keller received on May 31, 2020, at his email address zkeller@ftc.gov from
28
     htieu@goldensunrisenutraceutical.com in reply to the May 18 email marked as Attachment W. I

                                                     - 12 -                      App. 000012
 1 accessed this email through an FTC shared drive as part of my duties in this investigation.

 2                                            MISCELLANEOUS
 3          39.     Attachment Z is a true, correct, and complete copy of the Ex Parte Temporary

 4 Restraining Order with Asset Freeze, Appointment Of a Temporary Receiver, and Other Equitable

 5
     Relief, and Order to Show Cause Why A Preliminary Injunction Should Not Issue (“TRO”) issued
 6
     by the court in FTC v. Jason Cardiff, et al., Case. No. 18-cv-2104 (C.D. Cal., Oct. 10, 2018) against
 7
     defendants Jason Cardiff, Eunjung Cardiff, Danielle Cadiz, and seven corporate defendants. I
 8
     downloaded this document from my FTC-issued computer using the Mozilla Firefox browser at the
 9

10 URL https://www.ftc.gov/system/files/documents/cases/redwood_scientific_tro.pdf.

11          40.     On June 8, 2020, I logged into my FTC-issued computer, initiated the Mozilla
12 Firefox browser, and used the screen-capture program Snagit to screen-capture YouTube videos that

13
     are available under an account named “Golden Sunrise Nutraceutical” that maintains a “Golden
14
     Sunrise Pharmaceutical, Inc.” banner. I have attached a true, correct, and complete copy of this
15
     screen-capture as Attachment AA.
16

17 I declare under penalty of perjury that the foregoing statement is true and correct.
                                                                                             Digitally signed by Kelle A.
                                                                  Kelle A. Slaughter Slaughter
18 Executed in Dallas, Texas on July  2020.                   ____________________________
                                                                                     Date: 2020.07.28 14:38:05 -05'00'




19                                                               Kelle A. Slaughter
20

21

22

23

24

25

26

27

28


                                                     - 13 -                                 App. 000013
 1

 2

 3

 4

 5

 6

 7

 8

 9

10   [Page Intentionally Left Blank]
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                  - 14 -               App. 000014
ATTACHMENT A




               App. 000015
                                                                  ATTACHMENT B

                                State of California                                                   S
                                    Secretary of State
                              Statement of Information                                                                         GD18079
             (Domestic Stock and Agricultural Cooperative Corporations)
                           FEES (Filing and Disclosure): $25.00.
                        If this is an amendment, see instructions.
                                                                                                                               FILED
      IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                   In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
GOLDEN SUNRISE PHARMACEUTICAL, INC.

                                                                                                                              FEB-14 2020


2. CALIFORNIA CORPORATE NUMBER
                                               C3410217                                                                   This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.   If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
     of State, or no statement of information has been previously filed, this form must be completed in its entirety.
      ✔    If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
           of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.   STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                 CITY                            STATE        ZIP CODE


5.   STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                            CITY                            STATE        ZIP CODE


6.   MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                     CITY                            STATE        ZIP CODE


7.   EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.   CHIEF EXECUTIVE OFFICER/                  ADDRESS                                            CITY                            STATE        ZIP CODE


8.   SECRETARY                                 ADDRESS                                            CITY                            STATE        ZIP CODE


9.   CHIEF FINANCIAL OFFICER/                  ADDRESS                                            CITY                            STATE        ZIP CODE


Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


11. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


12. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]


15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                           STATE        ZIP CODE


Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION


17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
02/14/2020             HUU TIEU                                                    PRESIDENT

                                                                                                                            App. BY000016
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE                                SIGNATURE
SI-200 (REV 01/2013)                                                                                                       APPROVED SECRETARY OF STATE
ATTACHMENT C




               App. 000017
App. 000018
                                                                 ATTACHMENT D

                                                                                                         F
                              State of California
                                  Secretary of State
                              Statement of Information                                                                   FY91979
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       AUG-22 2018
     GOLDEN SUNRISE NUTRACEUTICAL, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4128919                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
673 BLUEROCK RD, GARDNERVILLE, NV 89460-4601
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE
219 NORTH E STREET, PORTERVILLE, CA 93257
6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE
PO BOX 6094, GARDERVILLE, NV 89460-4601
6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 HUU S TIEU        1400 N HIGHLAND, PORTERVILLE, CA 93257
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
MARTIN F LOEFFLER             20900 AVENUE 200, LINDSAY, CA 93247
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
DENNIS LEE HYLTON             202 S MIRAGE AVE, LINDSAY, CA 93247
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 DENNIS LEE HYLTON
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE

202 S MIRAGE AVE, LINDSAY, CA 93247

Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
WHOLESALE OF BOT. HEALTH PRODC
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 08/22/2018            DENNIS L HYLTON                                          CFO
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                     App. 000019
                                                                  ATTACHMENT E

                                                                                                         F
                              State of California
                                  Secretary of State
                              Statement of Information                                                                   GC27643
                                      (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                          FILED
                         If this is an amendment, see instructions.                                          In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                    of the State of California
1. CORPORATE NAME
                                                                                                                       JAN-16 2020
     GOLDEN SUNRISE NUTRACEUTICAL, INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                   C4128919                                         This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                       STATE       ZIP CODE
219 N. E. STREET, PORTERVILLE, CA 93257
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                       STATE       ZIP CODE
219 N. E. STREET, PORTERVILLE, CA 93257
6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                CITY                       STATE       ZIP CODE
219 N. E. STREET, PORTERVILLE, CA 93247
6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
 HUU TIEU         1400 N. HIGHLAND, PORTERVILLE, CA 93257
8.    SECRETARY                               ADDRESS                                             CITY                       STATE       ZIP CODE
MARTIN LOEFFLER              20900 AVENUE 200, LINDSAY, CA 93247
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                             CITY                       STATE       ZIP CODE
DENNIS HYLTON            202 S. MIRAGE AVE., LINDSAY, CA 93247
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS

 DENNIS HYLTON
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                      STATE       ZIP CODE

202 S. MIRAGE AVE., LINDSAY, CA 93247

Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
WHOLESALE OF BOT. HEALTH PRODU
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 01/16/2020            DENNIS HYLTON                                            CFO
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                        TITLE                           SIGNATURE
SI-350 (REV 01/2013)                                                                                                 APPROVED BY SECRETARY OF STATE

                                                                                                                     App. 000020
ATTACHMENT F




               App. 000021
App. 000022
ATTACHMENT G




               App. 000023
     EMERGENCY D-Virus
        Plan of Care
          CELLULAR THERAPY


       DIETARY SUPPLEMENT PRODUCTS

AnterFerron-1, AnterFerron-2, ImunStem, and Aktiffvate


                     COMPANY

           Golden Sunrise Nutraceutical, Inc.
                   219 North E Street
           PORTERVILLE, CA 93257 * U.S.A.
               Phone No.: 1.559.781.0658
                Fax No.: 1.559.615.1268


             PLEASE DOWNLOAD AT
           www.goldensunrisenutraceutical.com
                  “TREATMENT”




                                                App. 000024
                                 EMERGENCY D-Virus Plan of Care
                                                   CELLULAR THERAPY

                         TABLE OF CONTENTS
SECTION                                                      PAGE NUMBER
Cover Sheet ………………………………………………………………... Title Page
Table of Contents ………………………………………………………………                           1
1.0 Introduction ……………………………………………………………..                           2
2.0 Instruction for the Treatment ………………………………………….                  2
     2.1 Administration and Dosage of ImunStem and Aktiffvate …….    3
     2.2 Administration and Dosage of AnterFeerons ……………….…          3
     2.3 Ongoing Treatment ………………………………………………                        3
3.0 Warning and Precautions ………………………………………………                       4
4.0 Drug Interactions ……………………………………………………….                         4
5.0 Therapeutic Response …………………………………………………..                       4
     5.1 Adverse Sensitivity Response of ImunStem and Aktiffvate ….. 4
6.0 Clinical Pharmacology …………….……………………………………                       4
     6.1 Mechanism of Action …………………………………………….                      4
     6.2 Pharmacokinetics ………………………………………………… 5
7.0 Results of Patients After Treatment …………………………………… 5
8.0 Storage, Handling, and Products ………………………………………. 9
     8.1 Storage and Stability ……………………………………………..                   9
     8.2 Product Classification ……………………………………………                    9
9.0 Attachment Labels ……………………………………………………… 9
10.0 How Supplies ……………………………………………………………. 9
     10.1 Packaging …………………………………………………………. 9




Emergency D-Virus Plan of Care                     Page 1 of 9
                                                       App. 000025
                                                 EMERGENCY D-Virus Plan of Care
                                                                                   CELLULAR THERAPY
1.0   INTRODUCTION
      Stephen R. MEIS, M.D., Board Certified (Dr. Meis), I strongly recommend Golden Sunrise
      Nutraceutical Incorporation herbal products ImunStem and Aktiffvate, along with their AnterFeerons
      product, as uniquely qualified to treat and modify the course of the virus epidemic in CHINA and other
      countries. Patients with late stages of Hepatitis C, and AIDS / HIV have responded with greatly
      improved quality-of-life and extending their lives when treated with ImunStem and Aktiffvate. For
      viral colds, Aktiffvate, when given in frequent dosing, as frequent as every one half (½) hour to one (1)
      hour, will not only alleviate the symptoms quickly, but stop the cold virus itself, usually in less than 2 –
      3 days. Now AnterFeerons has been added to the ImunStem and Aktiffvate and shown added
      improvement for a variety of infections associated with cancer patients and the chronically ill, whether it
      be viral or bacterial.

      ImunStem, Aktiffvate, and AnterFeerons herbs are the basis of the whole cellular therapy developed by
      Golden Sunrise Nutraceutical. They have proven themselves to the United States Food & Drug
      Administration (FDA). ImunStem, an herbal product, was the first dietary supplement in the United
      States to be approved as a prescription medicine and also for the indication to treat Serious or Life-
      threatening conditions. It qualified for both of these under the Regenerative Medicine Advance
      Therapy (RMAT) designation in the 2016 Cures Act, enacted by the 114th United States Congress. This
      designation acknowledges not only the effectiveness of these herbs, usually only associated with
      pharmaceutical drugs, but also causing no side effects, a quality of dietary supplements.

      Golden Sunrise Nutraceutical metabolic therapies will treat Serious or Life-threatening conditions.
      These conditions result from an accumulation of toxins in the body from food additives, preservatives,
      pesticides, prescription drugs, and industrial pollution that disrupt the immune system and cell
      metabolism. Regenerating the cellular metabolic abnormalities with plant based botanicals found in the
      EMERGENCY D-Virus Plan of Care is the basis for the remarkable improvement for human health.

      The technology developed by Golden Sunrise Nutraceutical is the key for the effectiveness of the herbs
      on the immune system and cellular metabolism. They have immune stimulating properties. In-vivo
      studies on treated patients demonstrate increasing phagocytic activity and synthesis of helper cell
      function. The cells possess a bipolarity and lipophilicity that facilitates molecular diffusion through
      permeable and selective membranes, including crossing the blood / brain barrier. Golden Sunrise
      Nutraceutical herbal supplements are able to penetrate the cells at the cellular level without any
      disruption or damage to the cells because they are recognized as food. This food provides the cells with
      the necessary building blocks for the cells to repair and rejuvenate themselves and flush out the
      accumulated toxins in the cells.

      Golden Sunrise Nutraceutical products and treatments improve genetic Telomeres for cellular
      regeneration which increases the overall-health of the body and can increase human longevity.

2.0   INSTRUCTIONS FOR THE TREATMENT
      General dosing recommendations: ImunStem and Aktiffvate should be taken throughout the course of
      the illness. Recommended starting dose for those without any viral symptoms would be twice a day
      administration. But for with symptoms or with chronic health issues three (3) or four (4) times a day is
      advised. For someone who is exhibiting symptoms, after three (3) days of the ImunStem and

      Emergency D-Virus Plan of Care                                               Page 2 of 9
                                                                                        App. 000026
                                           EMERGENCY D-Virus Plan of Care
                                                                              CELLULAR THERAPY
Aktiffvate, the Aktiffvate alone should be increased to a quarter dropperful every thirty (30) to sixty (60)
minutes in addition to be ImunStem / Aktiffvate combination already being taken by the patient. With
this increased dosing of Aktiffvate, disappearance of viral symptoms is expected within two (2) to four
(4) days. If symptoms however do not resolve with this regimen or the person is steadily worsening, the
AnterFeerons should be used as directed. For the infirmed or elderly, the AnterFeerons must be
administered under direct observation of health professionals, because it will bring on nausea and or
vomiting as part of utilizing the body’s natural shedding mechanism of the illness / virus. It will cause
some dehydration which must be compensated either by an electrolyte solution (Pedialyte, Gatorade,
etc.) or IV fluids.

2.1 Administration and Dosage of IMUNSTEM and AKTIFFVATE
    Upon the first visit it is suggested that once the medical evaluation of the patient is completed
    and the medical staff deems it appropriate, then patients will receive ½ – ¾ of a dropperful of
    ImunStem and Aktiffvate 1–4 times a day. The medical staff should monitor the patient for at least
    ten (10) minutes to help with any effects that might need other medical attention. For example,
    ImunStem can open and improve blood flow throughout the body and the patient might experience
    a feeling of warmth and begin having nasal mucus discharge. After ten (10) minutes if the patient is
    stable, the ½–¾ dropperful of Aktiffvate should be administered with similar monitoring.
    ImunStem and Aktiffvate are liquid form:
       Product      Dose            Dose Size           Dose
                                  of a Dropper        Per day
     ImunStem        1 ml             ½-¾               1–4
     Aktiffvate      1 ml             ½-¾               1–4

2.2 Administration and Dosage of ANTERFEERONS
    Take one (1 fl.oz.) fluid ounce of AnterFeeron–1. Then in forty-five (45) minutes to one (1) hour
    following ingestion of AnterFeeron–1, take one (1 fl.oz.) fluid ounce of AnterFeeron–2,
    administered in the same dose. Each bottle must be emptied into a small glass and swallowed
    quickly all at once (not sipped or sniffed), followed by water to wash it down.
    AnterFeeron–1 and AnterFeeron–2 are liquid form:
          Product                Dose
     AnterFeeron-1              1 fl.oz.
     AnterFeeron-2              1 fl.oz.

2.3 Ongoing Treatment
    ImunStem, Aktiffvate, and AnterFeerons are available now and once they are started, they will
    help alleviate the people immediately with the acute illness of the virus. But this treatment, which
    is tailored for this acute emergency, is the beginning of Golden Sunrise Nutraceutical’s
    METABOLIC Plan of Care. The METABOLIC Plan of Care is a carefully planned course of
    therapy with herbal treatments to treat at a cellular level chronic illnesses such as hypertension,
    diabetes, peripheral neuropathies, parkinsonism, multiple sclerosis, gastrointestinal conditions,
    schizophrenia, Lyme’s disease, to name a few. It is a preventative for cancer, which primarily is a
    metabolic problem like our other diseases. For those who start with the EMERGENCY D-Virus
    Plan of Care, it would be ideal to continue with Golden Sunrise’s METABOLIC Plan of Care.

Emergency D-Virus Plan of Care                                               Page 3 of 9
                                                                                  App. 000027
                                                EMERGENCY D-Virus Plan of Care
                                                                                  CELLULAR THERAPY
3.0   WARNING AND PRECAUTIONS
      ADMINISTRATION OF IMUNSTEM, AKTIFFVATE, ANTERFEERON-1, and ANTERFEERON-
      2, SHOULD ALWAYS BE UNDER THE SUPERVISION OF A PHYSICIAN.
      RECOMMENDATION FOR GOLDEN SUNRISE NUTRACEUTICAL EMERGENCY D-VIRUS
      PLAN OF CARE IS BASED ON MEDICAL EVALUATION OF THE PATIENT. THESE
      PRODUCTS CAN LOWER BLOOD SUGAR IN DIABETICS AND LOWER BLOOD PRESSURE IN
      HYPER-TENSIVE PATIENTS. BLOOD SUGAR AND BLOOD PRESSURE SHOULD BE
      MONITORED FOR THOSE WITH A HISTORY OF HIGH SENSIVITY TO MEDICATIONS. A
      LOWER STARTING DOSE MIGHT BE APPROPRIATE.

4.0   DRUG INTERACTIONS
      ImunStem, Aktiffvate, and AnterFeerons have not been reported, so far, to have had any interactions
      with single or multiple combination of prescription drugs. You should always read product labels. If
      you have a medical condition, or are taking other prescription drugs, herbs, or dietary supplements, you
      should speak with a qualified healthcare provider before starting a new therapy.

5.0   THERAPEUTIC RESPONSE

      5.1 Adverse Sensitivity Response of ImunStem and Aktiffvate
           ImunStem and Aktiffvate can cause severe allergic skin rashes.
           Vomiting.
           In rare circumstances an adverse sensitivity response in the mouth, such as mild blisters, have
          occurred.
           A burning sensation in the throat in the beginning of oral treatment may occur, but it subsides.
          If the burning sensation persists, gelatin capsules used for administration, may be substituted as
          an alternative.

6.0   CLINICAL PHARMACOLOGY

      6.1 Mechanism of Action
          EMERGENGY D-Virus Plan of Care are herbal (botanical) products which help to regenerate the
          cell and promote the cellular metabolism to return to homeostasis in the human body.

          It is postulated that in arresting abnormal cellular mutation, the precursors for normal and enhanced
          cellular regeneration and cellular division can be accelerated in relation to the selective existing
          disease pathology. It is therefore theorized that the combination of the body’s thermal energy,
          particularly during variance mutation and inflammatory processes, potentiates the self-propelling of
          molecules by possible passive membrane transportation or passive diffusion of the EMERGENCY
          D-Virus Plan of Care intact across all cell membranes, including the blood-brain barrier, which
          allows its efficacy for the central nervous system.

          EMERGENCY D-Virus Plan of Care possess a bipolarity and a lipophilicity that facilitates
          molecular diffusion through various permeable and selective membranes. In–vivo studies on test
          subjects have indicated that the cell membrane integrity remains intact and is not disrupted or
          destroyed in the process of assimilating into the cell, thus ensuring long-term effectiveness.

      Emergency D-Virus Plan of Care                                             Page 4 of 9
                                                                                      App. 000028
                                                EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY
          EMERGENCY D-Virus Plan of Care are the key for the effectiveness of the products on the
          immune system and cellular metabolism. They have immune-stimulating properties. In–
          vivo studies on treated patients demonstrate increasing phagocytic activity and synthesis of
          helper cell function. EMERGENCY D-Virus Plan of Care have shown to transform
          Deoxyribonucleic Acid / Ribonucleic Acid (DNA / RNA) repair, before, during and after
          chemotherapy drugs, prescription drugs, toxic exposure and chemical induced damage.
          These herbals have a variety of effects including antioxidant activity and anti–inflammatory
          properties.

          EMERGENCY D-Virus Plan of Care can play an integral role in hypothalamic activity, easing
          both parasympathetic and sympathetic nervous systems towards a state of homeostasis. For
          example, blood pressure level is directly linked to the sympathetic nervous system and the
          normalizing of blood pressure levels exhibited following administration of EMERGENCY D-Virus
          Plan of Care are compatible with the stabilization of the sympathetic nervous system activity.
          EMERGENCY D-Virus Plan of Care reduce inflammation by affecting immune responsiveness
          through neuroendocrine factors. Improvement of balance problems, a side–effect of some
          chemotherapies, by Golden Sunrise Nutraceutical products is thought to be from improvement of
          vestibular function.

      6.2 Pharmacokinetics
          EMERGENCY D-Virus Plan of Care are readily absorbed into soft tissue when taken as an oral
          dose. This is accomplished because EMERGENCY D-Virus Plan of Care readily passes through
          membrane tissue by passive diffusion.

          The EMERGENCY D-Virus Plan of Care dietary supplements are metabolized by the body to
          more hydrophilic products that are excreted in the urine and feces.

7.0   RESULTS OF PATIENTS AFTER TREATMENT
      The group of patient with the virus found that EMERGENCY D-Virus Plan of Care improved the
      immune system and alertness immediately. Physicians have observed that using EMERGENCY D-
      Virus Plan of Care provokes a significant response, i.e., a reduction in symptoms in patients with the
      virus.

      On April 2020, six (6) patients administered EMEMRGENCY D-Virus Plan of Care over the course of
      time from 1 – 2 weeks, controlled under supervision of a physician “Clinical Assessment and Progress
      Note” included observations by Golden Sunrise Nutraceutical medical staff.

      Safety was monitored and throughout these six (6) patients no adverse side-effects were noticed. A total
      of six (6) patients were diagnosed with the virus that required close monitoring by both the attending
      physician, specialist of that field and by Golden Sunrise Nutraceutical medical staff.

      Six (6) PATIENTS’ Histories and EMERGENCY D-Virus Plan of Care Treatment of the virus.

      Four (4) patients who were confirmed with the virus illness, were treated with the EMERGENCY D-
      VIRUS Plan of Care. They were all treated in their homes. They showed improvement by day number


      Emergency D-Virus Plan of Care                                             Page 5 of 9
                                                                                      App. 000029
                                          EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
two (#2) or day number three (#3) of the treatment. All were asymptomatic by day number seven (#7) to
day number nine (#9) of treatment.

a) M.T. is a 49-year-old female Caucasian nurse with heart arrhythmia. Her symptoms first began on
   Thursday, 04/02/2020 with ninety-nine point six (99.6°F) degrees Fahrenheit fever, some body aches
   and bad headaches. She quickly progressed to fevers, tightness in her chest, shortness of breath,
   severe fatigue, generalized muscle aches and pains, no appetite, headaches, sore throat, and severe
   dry cough.

   She started EMERGENCY D-Virus Plan of Care treatment on Saturday, 04/04/2020 (her virus test
   resulted positive on Sunday, 04/05/2020). The next day she ‘sensed’ improvement, but uncertain of
   any improvement. By day number five (#5), on Wednesday, 04/08/2020, she exclaimed “I can take
   a deep breath” and she “slept like a baby”. By Sunday, 04/12/2020, day number nine (#9), she was
   completely asymptomatic of all of her symptoms, and repeat virus test was done on Friday,
   04/17/2020. It was positive. The next day, day number fifteen (#15) on Saturday, 04/18/2020, she
   had a fever of ninety-nine point nine (99.9°F) degrees Fahrenheit and increasing cough, no other
   symptoms, energy level was still good. She proceeded to the METABOLIC Plan of Care that
   evening. On day number sixteen (#16) and day number seventeen (#17), on Sunday, 04/19/2020 and
   Monday, 04/20/2020, no fevers and the cough continues improvement on the METABOLIC Plan of
   Care.

b) R.H. is a 50-year-old male Hispanic insulin-using diabetic and asthmatic. He was confirmed the
   virus positive on Thursday, 04/02/2020. He failed a five (5) days course of Hydroxychloroquine
   and Azithromycin. He was still experiencing fevers up to one hundred and three point five (103.5°F)
   degrees Fahrenheit, chills, extreme fatigue, severe generalized muscle achiness and pain, severe
   headaches, tightness in chest, frequent dry coughing, throat irritation, poor appetite with loss of
   about five (5 lbs) pounds, shortness of breath, bad dry cough, chest tightness, severe generalized
   muscle pains, extreme fatigue, and insomnia, and some diarrhea (from the Hydroxychloroquine
   most likely per patient).

   Patient underlying condition of Diabetes Mellitus Type II was diagnosed fifteen (15) years
   earlier and treated with Insulin. As a result of this underlying condition, patient suffers from
   peripheral neuropathy, chronic tinnitus, and balance problems. Patient also suffers from
   Asthma, for which he treats with a Symbicort inhaler, twice a day. There were no other
   underlying conditions.

   Following testing, his reported to his physician, who started the patient on a five (5) day
   course of treatment with Hydroxychloroquine and Azithromycin. Upon completion of the
   five (5) day course of treatment, patient’s symptoms had not improved. His physician
   proceeded to refer the patient to Dr. Meis on Wednesday, 04/08/2020.

   On Wednesday, 04/08/2020, Dr. Meis commenced treating the patient with EMERGENCY
   D-Virus Plan of Care. By the next day his fever was coming down. By day number six (#6)
   the patient no longer suffered with fever. On day number eight (#8) AnterFeerons was
   added to the patient’s treatment regimen, after which (approximately two (2) days later) the
   patient was essentially asymptomatic, with the exception of a persistent cough and chest

Emergency D-Virus Plan of Care                                              Page 6 of 9
                                                                                 App. 000030
                                           EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
   tightness. Five (5) days following the introduction of AnterFeerons, the patient continued to
   be asymptomatic and still positive with the virus. However, the patient was able to jog two
   (2) miles by Saturday, 04/18/2020.

   On Saturday, 04/18/2020 the patient started treatment with METABOLIC Plan of Care,
   including LunCov and Gordon-PXL products. On Wednesday, 04/22/2020 DetoxHerb-1 and
   DetoxHerb-2 were introduced. By Friday, 04/24/2020 the patient had virus (not detected)
   negative, was asymptomatic, feeling very good, with no fever. There was only a slight
   tightness of chest consistent with his underlying Asthma.

   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, as well
   as negative (not detected) for virus.

c) D.M. is a 64-year-old healthy male Caucasian who had persisting symptoms for three (3) weeks,.
   He returned with his wife, from NETHERLANDS Holland on Tuesday, 03/17/2020. He was in bed
   for two (2) days with fever, chills, a cough – dry and also productive at times, chest tightness, loss of
   his sense of taste and smell, no appetite, slight headaches, burning in his nasal / sinus areas, and mild
   muscle aches. He was not able to completely recover. He continued to suffer from low energy, poor
   sense of taste and smell, mild dry cough, some tightness in his chest and inability to take a deep
   breath, and recurrent mild headaches. He could become winded and light-headed doing outdoor
   chores. He was virus confirmed on Thursday, 04/09/2020.

   On Thursday, 04/09/2020 he started the EMERGENCY D-Virus Plan of Care. Steadily his
   symptoms improved until he was asymptomatic by day number seven (#7) of treatment, on
   Wednesday, 04/15/2020. By Thursday, 04/30/2020 the patient had virus (not detected) negative,
   was asymptomatic, feeling very good, with no fever, and no cough.

   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, as well
   as negative (not detected) for virus.

d) N.M. is a 62-year-old healthy female Caucasian who returned from her trip with her husband form
   NETHERLANDS Holland on Tuesday, 03/17/2020. She similarly like her husband battled with
   persisting symptoms for about three (3) weeks. About on Thursday, 03/19/2020 she was in bed for
   two (2) days. She had a low-grade fever, mild headaches, generalized muscle achiness, bad dry
   cough, tightness in the chest, shortness of breath, fatigue, poor appetite, and poor sense of taste and
   smell. She slowly improved, but she had persisting mild / moderate dry and productive cough, chest
   tightness, fatigue, and some improved appetite. She was having periodic fever as well, none of them
   ever higher than one hundred (100°F) degrees Fahrenheit. She failed a course of Ciprofloxacin and
   then had tested positive for the virus on Saturday, 04/04/2020. On Wednesday, 04/08/2020, she
   took only one (1) dose each of Hydroxychloroquine and Azithromycin, then chose the
   EMERGENCY D-Virus Plan of Care.

   On Wednesday, 04/08/2020 she started EMERGENCY D-Virus Plan of Care (day number one (#1)
   of treatment). By the next day, on Thursday, 04/09/2020, day number two (#2) of treatment, she
   already had improved energy and ability to concentrate. Her symptoms steadily improved until she
   was symptom-free by Wednesday, 04/15/2020, day number eight (#8) of treatment.

Emergency D-Virus Plan of Care                                               Page 7 of 9
                                                                                  App. 000031
                                           EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, COVID-19
   test, on Monday, 04/27/2020, was inconclusive.

e) A fifth virus positive patient on Saturday, 04/11/2020, started receiving the EMERGENCY D-Virus
   Plan of Care on Wednesday, 04/15/2020.

   N.R. is a 28-year-old, healthy Hispanic male, who started symptoms on Friday, 04/10/2020 with
   fevers up to one hundred and two (102°F) degrees Fahrenheit, shortness of breath, sinus / nasal
   congestion and pressure, “non-stop” phlegm production, no appetite, extreme fatigue, generalized
   muscle pain, insomnia, and poor taste and smell.

   On Wednesday, 04/15/2020 he started EMERGENCY D-Virus Plan of Care. By the next day, day
   number two (#2) of treatment, on Thursday, 04/16/2020, the patient was already noticing
   improvement in his taste and smell, and most of his other symptoms, i.e. muscle pain etc. He has
   been afebrile since day number four (#4), on Saturday, 04/18/2020. Follow up in coming.

f) A sixth virus positive on Tuesday, 04/14/2020, started receiving EMERGENCY D-Virus Plan of
   Care on Tuesday, 04/28/2020.

   S.R. is an 86-year-old. Hispanic male who was admitted to the hospital from a nursing home with
   the virus on Tuesday, 04/14/2020. He was in the Intensive Care Unit (ICU) and required the
   ventilator for eight (8) days until Wednesday, 04/22/2020.

   He was started on the EMERGENCY D-Virus Plan of Care in the hospital on Tuesday,
   04/28/2020 and discharged to home twenty-four (24) hours later. He is gaining strength and he
   regained his appetite. The family members are amazed with his quick improvement once he started
   the EMERGENCY D-Virus Plan of Care. He is currently on day number three (#3) of treatment.

Summary:
All patients have become completely asymptomatic by day number seven (#7) to day number
nine (#9) of treatment with the EMERGENCY D-Virus Plan of Care. Once people are afebrile
for three (3) days and with improved cough, current policy allows discontinuation of self-
quarantine measures. Up until now, because there has been no effective treatment, the effort of
controlling the viral pandemic has necessitated a preventative approach, utilizing social isolation
measures and testing. Success with these measures come at great cost both socially and
economically. Now with the EMERGENCY D-Virus Plan of Care showing effective treatment
for the virus, the focus can change, at it should, from prevention to treatment. Social isolation
and viral testing can be significantly adjusted with treatment taking the primary approach of
controlling the virus. Prompt administration of this treatment will significantly diminish the
occurrence of serious cases and need for hospitalization. Confidence can be restored and people
can return much more quickly, more likely in a matter of seven (7) to nine (9) days instead of
weeks, to a more normal life style.




Emergency D-Virus Plan of Care                                              Page 8 of 9
                                                                                 App. 000032
                                              EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
8.0    STORAGE, HANDLING, AND PRODUCTS

       8.1 Storage and Stability
           STORAGE: Store materials at controlled room temperature 20°C (68°F).

           STABILITY: EMERGENCY D-Virus Plan of Care is chemically stable for two (2) years
           at room temperature. Do not freeze.

       8.2 Product Classification
           Dietary Supplement.

9.0    ATTACHMENT LABELS
       ImunStem, Aktiffvate, AnterFerron-1, and AnterFerron-2

10.0   HOW SUPPLIED

       10.1 Packaging
               PRODUCT              CONTAINER                   NET
                                     CONTENT               CONTENT
             AnterFerron-1            1 bottle            1 fl.oz. Liquid
             AnterFerron-2            1 bottle            1 fl.oz. Liquid
             ImunStem                 2 bottle            1 fl.oz. Liquid
             Aktiffvate               2 bottle            1 fl.oz. Liquid




       Emergency D-Virus Plan of Care                                       Page 9 of 9
                                                                                  App. 000033
                                              EMERGENCY D-Virus Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–1
                                      Dietary Supplement
                                               WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Bilberry leaf              40mg            **
Graviola                  120mg            **
Goldenseal                 80mg            **
 ** Daily Value (DV) not established.
Other Ingredients: solvents, organic compounds, Chuchuhuasi, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The AnterFeeron–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–1 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–1 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000034
                                              EMERGENCY D-Virus Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Astragalus               20mg              **
Reishi                   95mg              **
Mistletoe                45mg              **
 ** Daily Value (DV) not established.
Other Ingredients: Cat’s claw, organic compounds, Echinacea, and Cordyceps.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The AnterFeeron–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–2 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–2 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000035
                                               EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY

                                     ImunStem                         ®

                                       Dietary Supplement
                                                 WARNING
                                       Keep out of reach of children
                               do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Olive Leaf extract         260mg             **
Yarrow extract              52mg             **
Rosemary extract            63mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Organic compounds and solvents, monoterpene, Cassia oil, and Yucca.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.
* Yarrow flowers can cause severe allergic skin rashes.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of ImunStem under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ dropperful, 1–4 times a day, as frequently as every 1–3 hours.

ImunStem dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of ImunStem, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                     App. 000036
                                               EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY

                                            Aktiffvate                     ®

                                             Dietary Supplement
                                                       WARNING
                                             Keep out of reach of children
                                     do not use if safety seal is damaged or missing

          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Turmeric extract           175mg             **
Cayenne extract             40mg             **
Eucalyptus extract          20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Wintergreen, solvents, organic compounds, Yucca, and Olive leaf.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”
“Reduces Stress and Frustration”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of Aktiffvate under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ of a dropperful, 1–4 times a day, as frequently as every 1–3 hours.

Aktiffvate dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of Aktiffvate, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                       App. 000037
App. 000038
App. 000039
App. 000040
App. 000041
App. 000042
App. 000043
App. 000044
App. 000045
App. 000046
                     ATTACHMENT H




     EMERGENCY D-Virus
        Plan of Care
          CELLULAR THERAPY


       DIETARY SUPPLEMENT PRODUCTS

AnterFerron-1, AnterFerron-2, ImunStem, and Aktiffvate


                     COMPANY

           Golden Sunrise Nutraceutical, Inc.
                   219 North E Street
           PORTERVILLE, CA 93257 * U.S.A.
               Phone No.: 1.559.781.0658
                Fax No.: 1.559.615.1268


             PLEASE DOWNLOAD AT
           www.goldensunrisenutraceutical.com
                  “TREATMENT”




                                                App. 000047
                                 EMERGENCY D-Virus Plan of Care
                                                   CELLULAR THERAPY

                         TABLE OF CONTENTS
SECTION                                                      PAGE NUMBER
Cover Sheet ………………………………………………………………... Title Page
Table of Contents ………………………………………………………………                           1
1.0 Introduction ……………………………………………………………..                           2
2.0 Instruction for the Treatment ………………………………………….                  2
     2.1 Administration and Dosage of ImunStem and Aktiffvate …….    3
     2.2 Administration and Dosage of AnterFeerons ……………….…          3
     2.3 Ongoing Treatment ………………………………………………                        3
3.0 Warning and Precautions ………………………………………………                       4
4.0 Drug Interactions ……………………………………………………….                         4
5.0 Therapeutic Response …………………………………………………..                       4
     5.1 Adverse Sensitivity Response of ImunStem and Aktiffvate ….. 4
6.0 Clinical Pharmacology …………….……………………………………                       4
     6.1 Mechanism of Action …………………………………………….                      4
     6.2 Pharmacokinetics ………………………………………………… 5
7.0 Results of Patients After Treatment …………………………………… 5
8.0 Storage, Handling, and Products ………………………………………. 9
     8.1 Storage and Stability ……………………………………………..                   9
     8.2 Product Classification ……………………………………………                    9
9.0 Attachment Labels ……………………………………………………… 9
10.0 How Supplies ……………………………………………………………. 9
     10.1 Packaging …………………………………………………………. 9




Emergency D-Virus Plan of Care                     Page 1 of 9
                                                       App. 000048
                                                 EMERGENCY D-Virus Plan of Care
                                                                                   CELLULAR THERAPY
1.0   INTRODUCTION
      Stephen R. MEIS, M.D., Board Certified (Dr. Meis), I strongly recommend Golden Sunrise
      Nutraceutical Incorporation herbal products ImunStem and Aktiffvate, along with their AnterFeerons
      product, as uniquely qualified to treat and modify the course of the virus epidemic in CHINA and other
      countries. Patients with late stages of Hepatitis C, and AIDS / HIV have responded with greatly
      improved quality-of-life and extending their lives when treated with ImunStem and Aktiffvate. For
      viral colds, Aktiffvate, when given in frequent dosing, as frequent as every one half (½) hour to one (1)
      hour, will not only alleviate the symptoms quickly, but stop the cold virus itself, usually in less than 2 –
      3 days. Now AnterFeerons has been added to the ImunStem and Aktiffvate and shown added
      improvement for a variety of infections associated with cancer patients and the chronically ill, whether it
      be viral or bacterial.

      ImunStem, Aktiffvate, and AnterFeerons herbs are the basis of the whole cellular therapy developed by
      Golden Sunrise Nutraceutical. They have proven themselves to the United States Food & Drug
      Administration (FDA). ImunStem, an herbal product, was the first dietary supplement in the United
      States to be approved as a prescription medicine and also for the indication to treat Serious or Life-
      threatening conditions. It qualified for both of these under the Regenerative Medicine Advance
      Therapy (RMAT) designation in the 2016 Cures Act, enacted by the 114th United States Congress. This
      designation acknowledges not only the effectiveness of these herbs, usually only associated with
      pharmaceutical drugs, but also causing no side effects, a quality of dietary supplements.

      Golden Sunrise Nutraceutical metabolic therapies will treat Serious or Life-threatening conditions.
      These conditions result from an accumulation of toxins in the body from food additives, preservatives,
      pesticides, prescription drugs, and industrial pollution that disrupt the immune system and cell
      metabolism. Regenerating the cellular metabolic abnormalities with plant based botanicals found in the
      EMERGENCY D-Virus Plan of Care is the basis for the remarkable improvement for human health.

      The technology developed by Golden Sunrise Nutraceutical is the key for the effectiveness of the herbs
      on the immune system and cellular metabolism. They have immune stimulating properties. In-vivo
      studies on treated patients demonstrate increasing phagocytic activity and synthesis of helper cell
      function. The cells possess a bipolarity and lipophilicity that facilitates molecular diffusion through
      permeable and selective membranes, including crossing the blood / brain barrier. Golden Sunrise
      Nutraceutical herbal supplements are able to penetrate the cells at the cellular level without any
      disruption or damage to the cells because they are recognized as food. This food provides the cells with
      the necessary building blocks for the cells to repair and rejuvenate themselves and flush out the
      accumulated toxins in the cells.

      Golden Sunrise Nutraceutical products and treatments improve genetic Telomeres for cellular
      regeneration which increases the overall-health of the body and can increase human longevity.

2.0   INSTRUCTIONS FOR THE TREATMENT
      General dosing recommendations: ImunStem and Aktiffvate should be taken throughout the course of
      the illness. Recommended starting dose for those without any viral symptoms would be twice a day
      administration. But for with symptoms or with chronic health issues three (3) or four (4) times a day is
      advised. For someone who is exhibiting symptoms, after three (3) days of the ImunStem and

      Emergency D-Virus Plan of Care                                               Page 2 of 9
                                                                                        App. 000049
                                           EMERGENCY D-Virus Plan of Care
                                                                              CELLULAR THERAPY
Aktiffvate, the Aktiffvate alone should be increased to a quarter dropperful every thirty (30) to sixty (60)
minutes in addition to be ImunStem / Aktiffvate combination already being taken by the patient. With
this increased dosing of Aktiffvate, disappearance of viral symptoms is expected within two (2) to four
(4) days. If symptoms however do not resolve with this regimen or the person is steadily worsening, the
AnterFeerons should be used as directed. For the infirmed or elderly, the AnterFeerons must be
administered under direct observation of health professionals, because it will bring on nausea and or
vomiting as part of utilizing the body’s natural shedding mechanism of the illness / virus. It will cause
some dehydration which must be compensated either by an electrolyte solution (Pedialyte, Gatorade,
etc.) or IV fluids.

2.1 Administration and Dosage of IMUNSTEM and AKTIFFVATE
    Upon the first visit it is suggested that once the medical evaluation of the patient is completed
    and the medical staff deems it appropriate, then patients will receive ½ – ¾ of a dropperful of
    ImunStem and Aktiffvate 1–4 times a day. The medical staff should monitor the patient for at least
    ten (10) minutes to help with any effects that might need other medical attention. For example,
    ImunStem can open and improve blood flow throughout the body and the patient might experience
    a feeling of warmth and begin having nasal mucus discharge. After ten (10) minutes if the patient is
    stable, the ½–¾ dropperful of Aktiffvate should be administered with similar monitoring.
    ImunStem and Aktiffvate are liquid form:
       Product      Dose            Dose Size           Dose
                                  of a Dropper        Per day
     ImunStem        1 ml             ½-¾               1–4
     Aktiffvate      1 ml             ½-¾               1–4

2.2 Administration and Dosage of ANTERFEERONS
    Take one (1 fl.oz.) fluid ounce of AnterFeeron–1. Then in forty-five (45) minutes to one (1) hour
    following ingestion of AnterFeeron–1, take one (1 fl.oz.) fluid ounce of AnterFeeron–2,
    administered in the same dose. Each bottle must be emptied into a small glass and swallowed
    quickly all at once (not sipped or sniffed), followed by water to wash it down.
    AnterFeeron–1 and AnterFeeron–2 are liquid form:
          Product                Dose
     AnterFeeron-1              1 fl.oz.
     AnterFeeron-2              1 fl.oz.

2.3 Ongoing Treatment
    ImunStem, Aktiffvate, and AnterFeerons are available now and once they are started, they will
    help alleviate the people immediately with the acute illness of the virus. But this treatment, which
    is tailored for this acute emergency, is the beginning of Golden Sunrise Nutraceutical’s
    METABOLIC Plan of Care. The METABOLIC Plan of Care is a carefully planned course of
    therapy with herbal treatments to treat at a cellular level chronic illnesses such as hypertension,
    diabetes, peripheral neuropathies, parkinsonism, multiple sclerosis, gastrointestinal conditions,
    schizophrenia, Lyme’s disease, to name a few. It is a preventative for cancer, which primarily is a
    metabolic problem like our other diseases. For those who start with the EMERGENCY D-Virus
    Plan of Care, it would be ideal to continue with Golden Sunrise’s METABOLIC Plan of Care.

Emergency D-Virus Plan of Care                                               Page 3 of 9
                                                                                  App. 000050
                                                EMERGENCY D-Virus Plan of Care
                                                                                  CELLULAR THERAPY
3.0   WARNING AND PRECAUTIONS
      ADMINISTRATION OF IMUNSTEM, AKTIFFVATE, ANTERFEERON-1, and ANTERFEERON-
      2, SHOULD ALWAYS BE UNDER THE SUPERVISION OF A PHYSICIAN.
      RECOMMENDATION FOR GOLDEN SUNRISE NUTRACEUTICAL EMERGENCY D-VIRUS
      PLAN OF CARE IS BASED ON MEDICAL EVALUATION OF THE PATIENT. THESE
      PRODUCTS CAN LOWER BLOOD SUGAR IN DIABETICS AND LOWER BLOOD PRESSURE IN
      HYPER-TENSIVE PATIENTS. BLOOD SUGAR AND BLOOD PRESSURE SHOULD BE
      MONITORED FOR THOSE WITH A HISTORY OF HIGH SENSIVITY TO MEDICATIONS. A
      LOWER STARTING DOSE MIGHT BE APPROPRIATE.

4.0   DRUG INTERACTIONS
      ImunStem, Aktiffvate, and AnterFeerons have not been reported, so far, to have had any interactions
      with single or multiple combination of prescription drugs. You should always read product labels. If
      you have a medical condition, or are taking other prescription drugs, herbs, or dietary supplements, you
      should speak with a qualified healthcare provider before starting a new therapy.

5.0   THERAPEUTIC RESPONSE

      5.1 Adverse Sensitivity Response of ImunStem and Aktiffvate
           ImunStem and Aktiffvate can cause severe allergic skin rashes.
           Vomiting.
           In rare circumstances an adverse sensitivity response in the mouth, such as mild blisters, have
          occurred.
           A burning sensation in the throat in the beginning of oral treatment may occur, but it subsides.
          If the burning sensation persists, gelatin capsules used for administration, may be substituted as
          an alternative.

6.0   CLINICAL PHARMACOLOGY

      6.1 Mechanism of Action
          EMERGENGY D-Virus Plan of Care are herbal (botanical) products which help to regenerate the
          cell and promote the cellular metabolism to return to homeostasis in the human body.

          It is postulated that in arresting abnormal cellular mutation, the precursors for normal and enhanced
          cellular regeneration and cellular division can be accelerated in relation to the selective existing
          disease pathology. It is therefore theorized that the combination of the body’s thermal energy,
          particularly during variance mutation and inflammatory processes, potentiates the self-propelling of
          molecules by possible passive membrane transportation or passive diffusion of the EMERGENCY
          D-Virus Plan of Care intact across all cell membranes, including the blood-brain barrier, which
          allows its efficacy for the central nervous system.

          EMERGENCY D-Virus Plan of Care possess a bipolarity and a lipophilicity that facilitates
          molecular diffusion through various permeable and selective membranes. In–vivo studies on test
          subjects have indicated that the cell membrane integrity remains intact and is not disrupted or
          destroyed in the process of assimilating into the cell, thus ensuring long-term effectiveness.

      Emergency D-Virus Plan of Care                                             Page 4 of 9
                                                                                      App. 000051
                                                EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY
          EMERGENCY D-Virus Plan of Care are the key for the effectiveness of the products on the
          immune system and cellular metabolism. They have immune-stimulating properties. In–
          vivo studies on treated patients demonstrate increasing phagocytic activity and synthesis of
          helper cell function. EMERGENCY D-Virus Plan of Care have shown to transform
          Deoxyribonucleic Acid / Ribonucleic Acid (DNA / RNA) repair, before, during and after
          chemotherapy drugs, prescription drugs, toxic exposure and chemical induced damage.
          These herbals have a variety of effects including antioxidant activity and anti–inflammatory
          properties.

          EMERGENCY D-Virus Plan of Care can play an integral role in hypothalamic activity, easing
          both parasympathetic and sympathetic nervous systems towards a state of homeostasis. For
          example, blood pressure level is directly linked to the sympathetic nervous system and the
          normalizing of blood pressure levels exhibited following administration of EMERGENCY D-Virus
          Plan of Care are compatible with the stabilization of the sympathetic nervous system activity.
          EMERGENCY D-Virus Plan of Care reduce inflammation by affecting immune responsiveness
          through neuroendocrine factors. Improvement of balance problems, a side–effect of some
          chemotherapies, by Golden Sunrise Nutraceutical products is thought to be from improvement of
          vestibular function.

      6.2 Pharmacokinetics
          EMERGENCY D-Virus Plan of Care are readily absorbed into soft tissue when taken as an oral
          dose. This is accomplished because EMERGENCY D-Virus Plan of Care readily passes through
          membrane tissue by passive diffusion.

          The EMERGENCY D-Virus Plan of Care dietary supplements are metabolized by the body to
          more hydrophilic products that are excreted in the urine and feces.

7.0   RESULTS OF PATIENTS AFTER TREATMENT
      The group of patient with the virus found that EMERGENCY D-Virus Plan of Care improved the
      immune system and alertness immediately. Physicians have observed that using EMERGENCY D-
      Virus Plan of Care provokes a significant response, i.e., a reduction in symptoms in patients with the
      virus.

      On April 2020, six (6) patients administered EMEMRGENCY D-Virus Plan of Care over the course of
      time from 1 – 2 weeks, controlled under supervision of a physician “Clinical Assessment and Progress
      Note” included observations by Golden Sunrise Nutraceutical medical staff.

      Safety was monitored and throughout these six (6) patients no adverse side-effects were noticed. A total
      of six (6) patients were diagnosed with the virus that required close monitoring by both the attending
      physician, specialist of that field and by Golden Sunrise Nutraceutical medical staff.

      Six (6) PATIENTS’ Histories and EMERGENCY D-Virus Plan of Care Treatment of the virus.

      Four (4) patients who were confirmed with the virus illness, were treated with the EMERGENCY D-
      VIRUS Plan of Care. They were all treated in their homes. They showed improvement by day number


      Emergency D-Virus Plan of Care                                             Page 5 of 9
                                                                                      App. 000052
                                          EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
two (#2) or day number three (#3) of the treatment. All were asymptomatic by day number seven (#7) to
day number nine (#9) of treatment.

a) M.T. is a 49-year-old female Caucasian nurse with heart arrhythmia. Her symptoms first began on
   Thursday, 04/02/2020 with ninety-nine point six (99.6°F) degrees Fahrenheit fever, some body aches
   and bad headaches. She quickly progressed to fevers, tightness in her chest, shortness of breath,
   severe fatigue, generalized muscle aches and pains, no appetite, headaches, sore throat, and severe
   dry cough.

   She started EMERGENCY D-Virus Plan of Care treatment on Saturday, 04/04/2020 (her virus test
   resulted positive on Sunday, 04/05/2020). The next day she ‘sensed’ improvement, but uncertain of
   any improvement. By day number five (#5), on Wednesday, 04/08/2020, she exclaimed “I can take
   a deep breath” and she “slept like a baby”. By Sunday, 04/12/2020, day number nine (#9), she was
   completely asymptomatic of all of her symptoms, and repeat virus test was done on Friday,
   04/17/2020. It was positive. The next day, day number fifteen (#15) on Saturday, 04/18/2020, she
   had a fever of ninety-nine point nine (99.9°F) degrees Fahrenheit and increasing cough, no other
   symptoms, energy level was still good. She proceeded to the METABOLIC Plan of Care that
   evening. On day number sixteen (#16) and day number seventeen (#17), on Sunday, 04/19/2020 and
   Monday, 04/20/2020, no fevers and the cough continues improvement on the METABOLIC Plan of
   Care.

b) R.H. is a 50-year-old male Hispanic insulin-using diabetic and asthmatic. He was confirmed the
   virus positive on Thursday, 04/02/2020. He failed a five (5) days course of Hydroxychloroquine
   and Azithromycin. He was still experiencing fevers up to one hundred and three point five (103.5°F)
   degrees Fahrenheit, chills, extreme fatigue, severe generalized muscle achiness and pain, severe
   headaches, tightness in chest, frequent dry coughing, throat irritation, poor appetite with loss of
   about five (5 lbs) pounds, shortness of breath, bad dry cough, chest tightness, severe generalized
   muscle pains, extreme fatigue, and insomnia, and some diarrhea (from the Hydroxychloroquine
   most likely per patient).

   Patient underlying condition of Diabetes Mellitus Type II was diagnosed fifteen (15) years
   earlier and treated with Insulin. As a result of this underlying condition, patient suffers from
   peripheral neuropathy, chronic tinnitus, and balance problems. Patient also suffers from
   Asthma, for which he treats with a Symbicort inhaler, twice a day. There were no other
   underlying conditions.

   Following testing, his reported to his physician, who started the patient on a five (5) day
   course of treatment with Hydroxychloroquine and Azithromycin. Upon completion of the
   five (5) day course of treatment, patient’s symptoms had not improved. His physician
   proceeded to refer the patient to Dr. Meis on Wednesday, 04/08/2020.

   On Wednesday, 04/08/2020, Dr. Meis commenced treating the patient with EMERGENCY
   D-Virus Plan of Care. By the next day his fever was coming down. By day number six (#6)
   the patient no longer suffered with fever. On day number eight (#8) AnterFeerons was
   added to the patient’s treatment regimen, after which (approximately two (2) days later) the
   patient was essentially asymptomatic, with the exception of a persistent cough and chest

Emergency D-Virus Plan of Care                                              Page 6 of 9
                                                                                 App. 000053
                                           EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
   tightness. Five (5) days following the introduction of AnterFeerons, the patient continued to
   be asymptomatic and still positive with the virus. However, the patient was able to jog two
   (2) miles by Saturday, 04/18/2020.

   On Saturday, 04/18/2020 the patient started treatment with METABOLIC Plan of Care,
   including LunCov and Gordon-PXL products. On Wednesday, 04/22/2020 DetoxHerb-1 and
   DetoxHerb-2 were introduced. By Friday, 04/24/2020 the patient had virus (not detected)
   negative, was asymptomatic, feeling very good, with no fever. There was only a slight
   tightness of chest consistent with his underlying Asthma.

   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, as well
   as negative (not detected) for virus.

c) D.M. is a 64-year-old healthy male Caucasian who had persisting symptoms for three (3) weeks,.
   He returned with his wife, from NETHERLANDS Holland on Tuesday, 03/17/2020. He was in bed
   for two (2) days with fever, chills, a cough – dry and also productive at times, chest tightness, loss of
   his sense of taste and smell, no appetite, slight headaches, burning in his nasal / sinus areas, and mild
   muscle aches. He was not able to completely recover. He continued to suffer from low energy, poor
   sense of taste and smell, mild dry cough, some tightness in his chest and inability to take a deep
   breath, and recurrent mild headaches. He could become winded and light-headed doing outdoor
   chores. He was virus confirmed on Thursday, 04/09/2020.

   On Thursday, 04/09/2020 he started the EMERGENCY D-Virus Plan of Care. Steadily his
   symptoms improved until he was asymptomatic by day number seven (#7) of treatment, on
   Wednesday, 04/15/2020. By Thursday, 04/30/2020 the patient had virus (not detected) negative,
   was asymptomatic, feeling very good, with no fever, and no cough.

   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, as well
   as negative (not detected) for virus.

d) N.M. is a 62-year-old healthy female Caucasian who returned from her trip with her husband form
   NETHERLANDS Holland on Tuesday, 03/17/2020. She similarly like her husband battled with
   persisting symptoms for about three (3) weeks. About on Thursday, 03/19/2020 she was in bed for
   two (2) days. She had a low-grade fever, mild headaches, generalized muscle achiness, bad dry
   cough, tightness in the chest, shortness of breath, fatigue, poor appetite, and poor sense of taste and
   smell. She slowly improved, but she had persisting mild / moderate dry and productive cough, chest
   tightness, fatigue, and some improved appetite. She was having periodic fever as well, none of them
   ever higher than one hundred (100°F) degrees Fahrenheit. She failed a course of Ciprofloxacin and
   then had tested positive for the virus on Saturday, 04/04/2020. On Wednesday, 04/08/2020, she
   took only one (1) dose each of Hydroxychloroquine and Azithromycin, then chose the
   EMERGENCY D-Virus Plan of Care.

   On Wednesday, 04/08/2020 she started EMERGENCY D-Virus Plan of Care (day number one (#1)
   of treatment). By the next day, on Thursday, 04/09/2020, day number two (#2) of treatment, she
   already had improved energy and ability to concentrate. Her symptoms steadily improved until she
   was symptom-free by Wednesday, 04/15/2020, day number eight (#8) of treatment.

Emergency D-Virus Plan of Care                                               Page 7 of 9
                                                                                  App. 000054
                                           EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, COVID-19
   test, on Monday, 04/27/2020, was inconclusive.

e) A fifth virus positive patient on Saturday, 04/11/2020, started receiving the EMERGENCY D-Virus
   Plan of Care on Wednesday, 04/15/2020.

   N.R. is a 28-year-old, healthy Hispanic male, who started symptoms on Friday, 04/10/2020 with
   fevers up to one hundred and two (102°F) degrees Fahrenheit, shortness of breath, sinus / nasal
   congestion and pressure, “non-stop” phlegm production, no appetite, extreme fatigue, generalized
   muscle pain, insomnia, and poor taste and smell.

   On Wednesday, 04/15/2020 he started EMERGENCY D-Virus Plan of Care. By the next day, day
   number two (#2) of treatment, on Thursday, 04/16/2020, the patient was already noticing
   improvement in his taste and smell, and most of his other symptoms, i.e. muscle pain etc. He has
   been afebrile since day number four (#4), on Saturday, 04/18/2020. Follow up in coming.

f) A sixth virus positive on Tuesday, 04/14/2020, started receiving EMERGENCY D-Virus Plan of
   Care on Tuesday, 04/28/2020.

   S.R. is an 86-year-old. Hispanic male who was admitted to the hospital from a nursing home with
   the virus on Tuesday, 04/14/2020. He was in the Intensive Care Unit (ICU) and required the
   ventilator for eight (8) days until Wednesday, 04/22/2020.

   He was started on the EMERGENCY D-Virus Plan of Care in the hospital on Tuesday,
   04/28/2020 and discharged to home twenty-four (24) hours later. He is gaining strength and he
   regained his appetite. The family members are amazed with his quick improvement once he started
   the EMERGENCY D-Virus Plan of Care. He is currently on day number three (#3) of treatment.

Summary:
All patients have become completely asymptomatic by day number seven (#7) to day number
nine (#9) of treatment with the EMERGENCY D-Virus Plan of Care. Once people are afebrile
for three (3) days and with improved cough, current policy allows discontinuation of self-
quarantine measures. Up until now, because there has been no effective treatment, the effort of
controlling the viral pandemic has necessitated a preventative approach, utilizing social isolation
measures and testing. Success with these measures come at great cost both socially and
economically. Now with the EMERGENCY D-Virus Plan of Care showing effective treatment
for the virus, the focus can change, at it should, from prevention to treatment. Social isolation
and viral testing can be significantly adjusted with treatment taking the primary approach of
controlling the virus. Prompt administration of this treatment will significantly diminish the
occurrence of serious cases and need for hospitalization. Confidence can be restored and people
can return much more quickly, more likely in a matter of seven (7) to nine (9) days instead of
weeks, to a more normal life style.




Emergency D-Virus Plan of Care                                              Page 8 of 9
                                                                                 App. 000055
                                              EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
8.0    STORAGE, HANDLING, AND PRODUCTS

       8.1 Storage and Stability
           STORAGE: Store materials at controlled room temperature 20°C (68°F).

           STABILITY: EMERGENCY D-Virus Plan of Care is chemically stable for two (2) years
           at room temperature. Do not freeze.

       8.2 Product Classification
           Dietary Supplement.

9.0    ATTACHMENT LABELS
       ImunStem, Aktiffvate, AnterFerron-1, and AnterFerron-2

10.0   HOW SUPPLIED

       10.1 Packaging
               PRODUCT              CONTAINER                   NET
                                     CONTENT               CONTENT
             AnterFerron-1            1 bottle            1 fl.oz. Liquid
             AnterFerron-2            1 bottle            1 fl.oz. Liquid
             ImunStem                 2 bottle            1 fl.oz. Liquid
             Aktiffvate               2 bottle            1 fl.oz. Liquid




       Emergency D-Virus Plan of Care                                       Page 9 of 9
                                                                                  App. 000056
                                              EMERGENCY D-Virus Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–1
                                      Dietary Supplement
                                               WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Bilberry leaf              40mg            **
Graviola                  120mg            **
Goldenseal                 80mg            **
 ** Daily Value (DV) not established.
Other Ingredients: solvents, organic compounds, Chuchuhuasi, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The AnterFeeron–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–1 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–1 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000057
                                              EMERGENCY D-Virus Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Astragalus               20mg              **
Reishi                   95mg              **
Mistletoe                45mg              **
 ** Daily Value (DV) not established.
Other Ingredients: Cat’s claw, organic compounds, Echinacea, and Cordyceps.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The AnterFeeron–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–2 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–2 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000058
                                               EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY

                                     ImunStem                         ®

                                       Dietary Supplement
                                                 WARNING
                                       Keep out of reach of children
                               do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Olive Leaf extract         260mg             **
Yarrow extract              52mg             **
Rosemary extract            63mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Organic compounds and solvents, monoterpene, Cassia oil, and Yucca.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.
* Yarrow flowers can cause severe allergic skin rashes.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of ImunStem under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ dropperful, 1–4 times a day, as frequently as every 1–3 hours.

ImunStem dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of ImunStem, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                     App. 000059
                                               EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY

                                            Aktiffvate                     ®

                                             Dietary Supplement
                                                       WARNING
                                             Keep out of reach of children
                                     do not use if safety seal is damaged or missing

          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Turmeric extract           175mg             **
Cayenne extract             40mg             **
Eucalyptus extract          20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Wintergreen, solvents, organic compounds, Yucca, and Olive leaf.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”
“Reduces Stress and Frustration”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of Aktiffvate under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ of a dropperful, 1–4 times a day, as frequently as every 1–3 hours.

Aktiffvate dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of Aktiffvate, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                       App. 000060
ATTACHMENT I




               App. 000061
App. 000062
                                     GOLDEN SUNRISE NUTRACEUTICAL, INC.
                                     219 North E Street * PORTERVILLE, CA 93257                                        Page 1 of 5
                                   Phone No.: 1.559.781.0658 * Fax No.: 1.559.615.1268
                           SKILLED INTAKE CLINICAL ASSESSMENT DATA
                                                                                          Age:
PATIENT NAME:
                                                                                          DOB:
NAME of PHYSICIAN:                                                                        Gender:
                                                                                          Ethnicity:
ALLERGIES:                                                                                Height:                 Weight:

DIAGNOSIS:
                          BP:                     ()L       ()R         ( ) sitting      ( ) lying down      ( ) stable V/S
                          HR:                    ( ) regular      ( ) irregular
                          RR:                    ( ) regular     ( ) irregular
                          Temp:                  ( ) oral    ( ) axillary         ( ) temporal      ( ) Other:
VITAL                     PAIN STATUS:
SIGNS                     Pain Location:
                          Pain Frequency: ( ) constant      ( ) on/oﬀ
                          Pain Characteristics: ( ) sharp ( ) stabbing             ( ) vague     ( ) gnawing     ( ) other:
                          Pain worsened by: ( ) rest      ( ) activity
                          Pain relieved by: ( ) rest     ( )movement               ( ) pain Meds:

                          ( ) alert    ( ) oriented        ( ) disoriented             ( ) time       ( ) person       ( ) place
                          ( ) confused       ( ) forgetful       ( ) occasional confusion       ( ) occasional disorientation
GENERAL                   ( ) dementia       ( ) alzheimer’s         ( ) lethargic  ( ) vegetative state       ( ) fatigue/lethargic
CONDITION                 ( ) non-verbal         ( ) other:


HOMEBOUND                 ( ) Needs assistance for all ADL? ( ) Yes        ( ) No
REASON
                          ( ) poor balance          ( ) unsteady gait         ( ) BKA / AKA / amputed toes
MOBILITY                  ( ) with assistive device         ( ) chair / wheelchair bound       ( ) bed bound
STATUS                    ( ) other:


                          ( ) lives alone ( ) with spouse      ( ) with family member:                         ( ) other:
LIVING                    ( ) lives at own house     ( ) apartment       ( ) assisted living           ( ) senior apartment
SITUATION                 ( ) other:


                          ( ) on CG      ( ) spouse     ( ) family member:                         ( ) neighbor      ( ) paid help
CAREGIVING                ( ) limited availability     ( ) available as needed         ( ) overwhelmed          ( ) poor health
SITUATION                 ( ) other:


               ( ) palpitations                ( ) w / activity      ( ) at rest       ( ) dizziness / vertigo       ( ) pacemaker
CARDIOVASCULAR ( ) chest pain                 ( ) w / activity    ( ) at rest       ( ) hx of cardiac surgery       ( ) no problem
STATUS         ( ) other:




Patient Name / Signature / Date:   Staﬀ Name / Title / Signature / Date:                                 Date:
                                                                                                         Time In:
                                                                                                       App.
                                                                                                         Time000063
                                                                                                               Out:
                     SKILLED INTAKE CLINICAL ASSESSMENT DATA                                              Page 2 of 4
                     ( ) pedal pulse dim ( ) R ( ) L      ( ) leg pain ( ) R ( ) L          ( ) swelling ( ) R ( ) L
                     ( ) pedal pulse absent ( ) R ( ) L                  ( ) numbness ( ) R ( ) L
                     ( ) discoloration ( ) R ( ) L         ( ) tingling ( ) R ( ) L         ( ) no problem
PERIPHERAL           ( ) gangrene ( ) R ( ) L                         ( ) redness / bluish ( ) R ( ) L
CIRCULATION          ( ) pitting edema ( ) R ( ) L ( ) +1 ( ) +2 ( ) +3 ( ) +4
                     ( ) other:



                     ( ) clear breath sounds          ( ) SOB / DOE            ( ) uses nebulizer
                     ( ) rales / wheezing             ( ) orthopnea            ( ) tracheostomy
PULMONARY            ( ) cough                        ( ) uses oxygen          ( ) pulse oxi reading:
STATUS               ( ) other:



                     ( ) R/L sided weakness / paralysis           ( ) paraplegic       ( ) quadriplegic
                     ( ) headache          ( ) aphasia       ( ) facial asymmetry          ( ) seizure disorder
                     ( ) tremors at rest / activity              ( ) no problem
NEUROLOGIC
                     ( ) other:
STATUS



                     ( ) FBS:                   ( ) BG checked by: ( ) PT ( ) CG ( ) SN         ( ) unable to check BS
ENDOCRINE            ( ) other:
STATUS


                 ( ) good / poor appetite               ( ) dehydrated              ( ) Jackson - Pratt
                 ( ) nausea / vomiting                  ( ) distended abdomen              ( ) bowel incontinence
                 ( ) diarrhea                                            ( ) epigastric discomfort
GASTROINTESTINAL ( ) constipated: Last BM                                        ( ) GT / JT with or without feed
NUTRITIONAL      ( ) weight loss:                             ( ) colostomy / other drainage          ( ) no problems
STATUS           ( ) other:




                     ( ) burning       ( ) dribbling      ( ) stress / urge incontinent   ( ) frequency:
                     ( ) foley catheter      ( ) urostomy       ( ) condom catheter     ( ) suprapubic catheter
                     ( ) recurrent UTI ( ) hematuria ( ) cloudy urine ( ) urine sediment ( ) dark / blackkish urine
GENITO - URINARY     ( ) peritoneal / hemodialysis        ( ) frequency                           ( ) no problem
STATUS               ( ) other:



                     ( ) surgical wound ( ) open wound        ( ) pressure ulcer ( ) diabetic ulcer ( ) stasis ulcer
                     ( ) rash           ( ) cellulitis                  ( ) see wound description on wound sheet
INTEGUMENTARY        ( ) other:
STATUS


Patient Name:                                                Staﬀ Name:
                                                                                         App. 000064
                     SKILLED INTAKE CLINICAL ASSESSMENT DATA                                          Page 3 of 4
                 ( ) joint swelling             ( ) BKA / AKA / amputated toes           ( ) S/P surgery
                 ( ) fracture                  ( ) weakness of UE / LE                 ( ) hip
                 ( ) deformity                   ( ) leg cramps                    ( ) knee
MUSCULO-SKELETAL ( ) Hx of fall               ( ) no problem                   ( ) other surgeries:
STATUS           ( ) others:




                      ( ) head to toe assessment
                      ( ) assessed pain status            ( ) assessed knowledge of blood sugar monitoring
                      ( ) assessed safety                 ( ) assessed knowledge of insulin administration
                      ( ) assessed knowledge of prior teaching ( ) assessed blood sugar logs taken by patient / CG
                      ( ) assessed Meds compliance         ( ) assessed knowledge of diabetic regimen
                      ( ) assessed diet and compliance         ( ) assessed S / SX of hyper / hypoglycemia
ASSESSMENT            ( ) assessed caregiving status         ( ) assessed wound care techniques
PERFORMED             ( ) assessed infection control measures         ( ) assessed colostomy status
                      ( ) assessed wound healing / complications
                      ( ) assessed foley / urostomy drainage and maintenance
                      ( ) other assessment ﬁndings:




OTHER
PERTINENT
FINDINGS / NOTES



                      ( ) medications                                        ( ) ﬁngerstick blood sugar monitoring
                      ( ) disease process of :                               ( ) administration of insulin
                      ( ) complications of:                                  ( ) S / SX of hyper / hypoglycemia
                      ( ) S / SX to observe and report:                         ( ) pain management techniques
                      ( ) ER / 911 protocol                                   ( ) pacemaker protocol
                      ( ) infection control measures                          ( ) coumadin precaution
                      ( ) proper disposal of sharps                            ( ) energy conservation technique
TEACHINGS /           ( ) proper disposal of solid dressing                ( ) colostomy / ileostomy management
INSTRUCTIONS          ( ) skin care / foot care regimen                    ( ) catheter / urostomy management
PERFORMED             ( ) prevention of decubitus ulcers                    ( ) incontinent care
                      ( ) how to perform wound care                         ( ) GT / JT ﬂushing and site care
                      ( ) diabetic diet                                     ( ) traceheostomy care
                      ( ) diabetic sick day rules                           ( ) oxygen use and care
                      ( ) S / SX of heart attack                             ( ) measures to prevent falls
                      ( ) S / SX of impending CVA
                      ( ) S / SX of GI bleeding
                      ( ) other:



Patient Name:                                                 Staﬀ Name:
                                                                                      App. 000065
                         SKILLED INTAKE CLINICAL ASSESSMENT DATA                                             Page 4 of 4
                         ( ) patient                    ( ) caregiver:
TEACHINGS                METHODS:
GIVEN TO:                ( ) verbal           ( ) demonstration           ( ) hands out            ( ) video tape
                         ( ) other:

                         ( ) verbalized full understanding                           ( ) good return demonstration
OUTCOME OF               ( ) verbalized partial understanding
TEACHINGS:               ( ) other:

                         ( ) medical condition stable                              ( ) pain not yet resolved
                         ( ) foley catheter assessment still needed                ( ) still with open wound
PROGRESS                 ( ) GT / JT assessment still needed                       ( ) wounds resolved
TOWARDS                  ( ) colostomy assessment still needed               ( ) compliance improved through teachings
ACHIEVEMENT              ( ) pain not yet resolved                            ( ) UNSTABLE (see assessment ﬁndings)
OF GOALS                 ( ) pain / CG still needs instructions            ( ) vital signs           ( ) GI status
(done at least weekly)   ( ) SN supervision needed for Meds management               ( ) cardiac status        ( ) GU status
                         ( ) PT / CG unable to perform procedure without SN             ( ) neuro status ( ) diabetic status
                         ( ) new / recent change in Meds        ( ) respiratory status          ( ) musculoskeletal status
                         ( ) other:


CURRENT
MEDICATIONS


PAST MEDICAL
HISTORY


                                                  PROGRESS NOTES




Patient Name:                                                     Staﬀ Name:
                                                                                            App. 000066
                                  GOLDEN SUNRISE NUTRACEUTICAL, INC.
                                  219 North E Street * PORTERVILLE, CA 93257                        Page 1 of 1
                                Phone No.: 1.559.781.0658 * Fax No.: 1.559.615.1268
                                              PROGRESS NOTE
                                                                           Age:
PATIENT NAME:
                                                                           DOB:
NAME of PHYSICIAN:                                                         Gender:
                                                                           Ethnicity:
ALLERGIES:                                                                 Height:               Weight:




Staﬀ Name / Title / Signature / Date                                              Date:

                                                                                  Time In:

                                                                                  Time Out:

                                                                                          App. 000067
                                    GOLDEN SUNRISE NUTRACEUTICAL, INC.
                                     219 North E Street * PORTERVILLE, CA 93257                               Page 1 of 1
                                  Phone No.: 1.559.781.0658 * Fax No.: 1.559.615.1268

                                LIFESTYLE ASSESSMENT FORM
Name:

Date:                                             Age:                                      Sex:

Please answer each of the following questions. Please use the back of the page for additional space.

What is your purpose in coming here today?
                                                                                                   For oﬃce use only:
What are your main health concerns / complaints?



Have you ever been diagnosed with an ailment related to your main health
concern(s)?


Any trauma or loss in the last ﬁve (5) years?
What level of stress do you are experiencing at this time?
Minimal          Average         Considerable          Unbearable

What are the major causes or factors of your stress? (check all that apply)
  Financial         Career              Personal        Marriage      Health
  Family            Spiritual           Unfulﬁlled Expectation
  Other (please elaborate)

How does your stress manifest itself?



Do you use any coping mechanisms?

What do you do for exercise? (indicate type, frequency and time)



How many hours on average do you sleep daily? (include naps)

What time do you go to sleep?                             Awaken?
Do you awaken feeling rested?     Yes           No

What is your occupation?
Do you enjoy your work?      Yes        No               Sometimes
How many hours each day do you work?
At what times do you start and end work?

Do you smoke? Yes        No      If yes, how much and for how long?
If no, does anyone in your household or workplace smoke? Yes             No
Do you wish to gain weight?           Lose weight?       How much?
How many hours do you spend daily, on average:
Driving         Watching television         Reading        In front of computer
What are your interest and hobbies?

                                                                                               App. 000068
                                 GOLDEN SUNRISE NUTRACEUTICAL, INC.
                                  219 North E Street * PORTERVILLE, CA 93257                       Page 1 of 1
                                Phone No.: 1.559.781.0658 Fax No.: 1.559.615.1268
                              Follow-up and Survivorship Care
                                                                          Age:
PATIENT NAME:
                                                                          DOB:
NAME of PHYSICIAN:                                                        Gender:
                                                                          Ethnicity:
                                                                          Height:               Weight:


            Follow Up Care                   When / How Often?                    Coordinating Provider
Medical Oncology Visits
Lab Test
Imaging



Potential late eﬀects of treatments(s):


Call your doctor if you have any of these signs and symptoms:


           History of Previous Medications           Date               Reduce Medications                Date




Comments:




Staﬀ Name / Title / Signature / Date                                             Date:

                                                                                 Time In:

                                                                                 Time Out:

                                                                                         App. 000069
     EMERGENCY D-Virus
        Plan of Care
          CELLULAR THERAPY


       DIETARY SUPPLEMENT PRODUCTS

AnterFerron-1, AnterFerron-2, ImunStem, and Aktiffvate


                     COMPANY

           Golden Sunrise Nutraceutical, Inc.
                   219 North E Street
           PORTERVILLE, CA 93257 * U.S.A.
               Phone No.: 1.559.781.0658
                Fax No.: 1.559.615.1268


             PLEASE DOWNLOAD AT
           www.goldensunrisenutraceutical.com
                  “TREATMENT”




                                                App. 000070
                                 EMERGENCY D-Virus Plan of Care
                                                   CELLULAR THERAPY

                         TABLE OF CONTENTS
SECTION                                                      PAGE NUMBER
Cover Sheet ………………………………………………………………... Title Page
Table of Contents ………………………………………………………………                           1
1.0 Introduction ……………………………………………………………..                           2
2.0 Instruction for the Treatment ………………………………………….                  2
     2.1 Administration and Dosage of ImunStem and Aktiffvate …….    3
     2.2 Administration and Dosage of AnterFeerons ……………….…          3
     2.3 Ongoing Treatment ………………………………………………                        3
3.0 Warning and Precautions ………………………………………………                       4
4.0 Drug Interactions ……………………………………………………….                         4
5.0 Therapeutic Response …………………………………………………..                       4
     5.1 Adverse Sensitivity Response of ImunStem and Aktiffvate ….. 4
6.0 Clinical Pharmacology …………….……………………………………                       4
     6.1 Mechanism of Action …………………………………………….                      4
     6.2 Pharmacokinetics ………………………………………………… 5
7.0 Results of Patients After Treatment …………………………………… 5
8.0 Storage, Handling, and Products ………………………………………. 9
     8.1 Storage and Stability ……………………………………………..                   9
     8.2 Product Classification ……………………………………………                    9
9.0 Attachment Labels ……………………………………………………… 9
10.0 How Supplies ……………………………………………………………. 9
     10.1 Packaging …………………………………………………………. 9




Emergency D-Virus Plan of Care                     Page 1 of 9
                                                       App. 000071
                                                 EMERGENCY D-Virus Plan of Care
                                                                                   CELLULAR THERAPY
1.0   INTRODUCTION
      Stephen R. MEIS, M.D., Board Certified (Dr. Meis), I strongly recommend Golden Sunrise
      Nutraceutical Incorporation herbal products ImunStem and Aktiffvate, along with their AnterFeerons
      product, as uniquely qualified to treat and modify the course of the virus epidemic in CHINA and other
      countries. Patients with late stages of Hepatitis C, and AIDS / HIV have responded with greatly
      improved quality-of-life and extending their lives when treated with ImunStem and Aktiffvate. For
      viral colds, Aktiffvate, when given in frequent dosing, as frequent as every one half (½) hour to one (1)
      hour, will not only alleviate the symptoms quickly, but stop the cold virus itself, usually in less than 2 –
      3 days. Now AnterFeerons has been added to the ImunStem and Aktiffvate and shown added
      improvement for a variety of infections associated with cancer patients and the chronically ill, whether it
      be viral or bacterial.

      ImunStem, Aktiffvate, and AnterFeerons herbs are the basis of the whole cellular therapy developed by
      Golden Sunrise Nutraceutical. They have proven themselves to the United States Food & Drug
      Administration (FDA). ImunStem, an herbal product, was the first dietary supplement in the United
      States to be approved as a prescription medicine and also for the indication to treat Serious or Life-
      threatening conditions. It qualified for both of these under the Regenerative Medicine Advance
      Therapy (RMAT) designation in the 2016 Cures Act, enacted by the 114th United States Congress. This
      designation acknowledges not only the effectiveness of these herbs, usually only associated with
      pharmaceutical drugs, but also causing no side effects, a quality of dietary supplements.

      Golden Sunrise Nutraceutical metabolic therapies will treat Serious or Life-threatening conditions.
      These conditions result from an accumulation of toxins in the body from food additives, preservatives,
      pesticides, prescription drugs, and industrial pollution that disrupt the immune system and cell
      metabolism. Regenerating the cellular metabolic abnormalities with plant based botanicals found in the
      EMERGENCY D-Virus Plan of Care is the basis for the remarkable improvement for human health.

      The technology developed by Golden Sunrise Nutraceutical is the key for the effectiveness of the herbs
      on the immune system and cellular metabolism. They have immune stimulating properties. In-vivo
      studies on treated patients demonstrate increasing phagocytic activity and synthesis of helper cell
      function. The cells possess a bipolarity and lipophilicity that facilitates molecular diffusion through
      permeable and selective membranes, including crossing the blood / brain barrier. Golden Sunrise
      Nutraceutical herbal supplements are able to penetrate the cells at the cellular level without any
      disruption or damage to the cells because they are recognized as food. This food provides the cells with
      the necessary building blocks for the cells to repair and rejuvenate themselves and flush out the
      accumulated toxins in the cells.

      Golden Sunrise Nutraceutical products and treatments improve genetic Telomeres for cellular
      regeneration which increases the overall-health of the body and can increase human longevity.

2.0   INSTRUCTIONS FOR THE TREATMENT
      General dosing recommendations: ImunStem and Aktiffvate should be taken throughout the course of
      the illness. Recommended starting dose for those without any viral symptoms would be twice a day
      administration. But for with symptoms or with chronic health issues three (3) or four (4) times a day is
      advised. For someone who is exhibiting symptoms, after three (3) days of the ImunStem and

      Emergency D-Virus Plan of Care                                               Page 2 of 9
                                                                                        App. 000072
                                           EMERGENCY D-Virus Plan of Care
                                                                              CELLULAR THERAPY
Aktiffvate, the Aktiffvate alone should be increased to a quarter dropperful every thirty (30) to sixty (60)
minutes in addition to be ImunStem / Aktiffvate combination already being taken by the patient. With
this increased dosing of Aktiffvate, disappearance of viral symptoms is expected within two (2) to four
(4) days. If symptoms however do not resolve with this regimen or the person is steadily worsening, the
AnterFeerons should be used as directed. For the infirmed or elderly, the AnterFeerons must be
administered under direct observation of health professionals, because it will bring on nausea and or
vomiting as part of utilizing the body’s natural shedding mechanism of the illness / virus. It will cause
some dehydration which must be compensated either by an electrolyte solution (Pedialyte, Gatorade,
etc.) or IV fluids.

2.1 Administration and Dosage of IMUNSTEM and AKTIFFVATE
    Upon the first visit it is suggested that once the medical evaluation of the patient is completed
    and the medical staff deems it appropriate, then patients will receive ½ – ¾ of a dropperful of
    ImunStem and Aktiffvate 1–4 times a day. The medical staff should monitor the patient for at least
    ten (10) minutes to help with any effects that might need other medical attention. For example,
    ImunStem can open and improve blood flow throughout the body and the patient might experience
    a feeling of warmth and begin having nasal mucus discharge. After ten (10) minutes if the patient is
    stable, the ½–¾ dropperful of Aktiffvate should be administered with similar monitoring.
    ImunStem and Aktiffvate are liquid form:
       Product      Dose            Dose Size           Dose
                                  of a Dropper        Per day
     ImunStem        1 ml             ½-¾               1–4
     Aktiffvate      1 ml             ½-¾               1–4

2.2 Administration and Dosage of ANTERFEERONS
    Take one (1 fl.oz.) fluid ounce of AnterFeeron–1. Then in forty-five (45) minutes to one (1) hour
    following ingestion of AnterFeeron–1, take one (1 fl.oz.) fluid ounce of AnterFeeron–2,
    administered in the same dose. Each bottle must be emptied into a small glass and swallowed
    quickly all at once (not sipped or sniffed), followed by water to wash it down.
    AnterFeeron–1 and AnterFeeron–2 are liquid form:
          Product                Dose
     AnterFeeron-1              1 fl.oz.
     AnterFeeron-2              1 fl.oz.

2.3 Ongoing Treatment
    ImunStem, Aktiffvate, and AnterFeerons are available now and once they are started, they will
    help alleviate the people immediately with the acute illness of the virus. But this treatment, which
    is tailored for this acute emergency, is the beginning of Golden Sunrise Nutraceutical’s
    METABOLIC Plan of Care. The METABOLIC Plan of Care is a carefully planned course of
    therapy with herbal treatments to treat at a cellular level chronic illnesses such as hypertension,
    diabetes, peripheral neuropathies, parkinsonism, multiple sclerosis, gastrointestinal conditions,
    schizophrenia, Lyme’s disease, to name a few. It is a preventative for cancer, which primarily is a
    metabolic problem like our other diseases. For those who start with the EMERGENCY D-Virus
    Plan of Care, it would be ideal to continue with Golden Sunrise’s METABOLIC Plan of Care.

Emergency D-Virus Plan of Care                                               Page 3 of 9
                                                                                  App. 000073
                                                EMERGENCY D-Virus Plan of Care
                                                                                  CELLULAR THERAPY
3.0   WARNING AND PRECAUTIONS
      ADMINISTRATION OF IMUNSTEM, AKTIFFVATE, ANTERFEERON-1, and ANTERFEERON-
      2, SHOULD ALWAYS BE UNDER THE SUPERVISION OF A PHYSICIAN.
      RECOMMENDATION FOR GOLDEN SUNRISE NUTRACEUTICAL EMERGENCY D-VIRUS
      PLAN OF CARE IS BASED ON MEDICAL EVALUATION OF THE PATIENT. THESE
      PRODUCTS CAN LOWER BLOOD SUGAR IN DIABETICS AND LOWER BLOOD PRESSURE IN
      HYPER-TENSIVE PATIENTS. BLOOD SUGAR AND BLOOD PRESSURE SHOULD BE
      MONITORED FOR THOSE WITH A HISTORY OF HIGH SENSIVITY TO MEDICATIONS. A
      LOWER STARTING DOSE MIGHT BE APPROPRIATE.

4.0   DRUG INTERACTIONS
      ImunStem, Aktiffvate, and AnterFeerons have not been reported, so far, to have had any interactions
      with single or multiple combination of prescription drugs. You should always read product labels. If
      you have a medical condition, or are taking other prescription drugs, herbs, or dietary supplements, you
      should speak with a qualified healthcare provider before starting a new therapy.

5.0   THERAPEUTIC RESPONSE

      5.1 Adverse Sensitivity Response of ImunStem and Aktiffvate
           ImunStem and Aktiffvate can cause severe allergic skin rashes.
           Vomiting.
           In rare circumstances an adverse sensitivity response in the mouth, such as mild blisters, have
          occurred.
           A burning sensation in the throat in the beginning of oral treatment may occur, but it subsides.
          If the burning sensation persists, gelatin capsules used for administration, may be substituted as
          an alternative.

6.0   CLINICAL PHARMACOLOGY

      6.1 Mechanism of Action
          EMERGENGY D-Virus Plan of Care are herbal (botanical) products which help to regenerate the
          cell and promote the cellular metabolism to return to homeostasis in the human body.

          It is postulated that in arresting abnormal cellular mutation, the precursors for normal and enhanced
          cellular regeneration and cellular division can be accelerated in relation to the selective existing
          disease pathology. It is therefore theorized that the combination of the body’s thermal energy,
          particularly during variance mutation and inflammatory processes, potentiates the self-propelling of
          molecules by possible passive membrane transportation or passive diffusion of the EMERGENCY
          D-Virus Plan of Care intact across all cell membranes, including the blood-brain barrier, which
          allows its efficacy for the central nervous system.

          EMERGENCY D-Virus Plan of Care possess a bipolarity and a lipophilicity that facilitates
          molecular diffusion through various permeable and selective membranes. In–vivo studies on test
          subjects have indicated that the cell membrane integrity remains intact and is not disrupted or
          destroyed in the process of assimilating into the cell, thus ensuring long-term effectiveness.

      Emergency D-Virus Plan of Care                                             Page 4 of 9
                                                                                      App. 000074
                                                EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY
          EMERGENCY D-Virus Plan of Care are the key for the effectiveness of the products on the
          immune system and cellular metabolism. They have immune-stimulating properties. In–
          vivo studies on treated patients demonstrate increasing phagocytic activity and synthesis of
          helper cell function. EMERGENCY D-Virus Plan of Care have shown to transform
          Deoxyribonucleic Acid / Ribonucleic Acid (DNA / RNA) repair, before, during and after
          chemotherapy drugs, prescription drugs, toxic exposure and chemical induced damage.
          These herbals have a variety of effects including antioxidant activity and anti–inflammatory
          properties.

          EMERGENCY D-Virus Plan of Care can play an integral role in hypothalamic activity, easing
          both parasympathetic and sympathetic nervous systems towards a state of homeostasis. For
          example, blood pressure level is directly linked to the sympathetic nervous system and the
          normalizing of blood pressure levels exhibited following administration of EMERGENCY D-Virus
          Plan of Care are compatible with the stabilization of the sympathetic nervous system activity.
          EMERGENCY D-Virus Plan of Care reduce inflammation by affecting immune responsiveness
          through neuroendocrine factors. Improvement of balance problems, a side–effect of some
          chemotherapies, by Golden Sunrise Nutraceutical products is thought to be from improvement of
          vestibular function.

      6.2 Pharmacokinetics
          EMERGENCY D-Virus Plan of Care are readily absorbed into soft tissue when taken as an oral
          dose. This is accomplished because EMERGENCY D-Virus Plan of Care readily passes through
          membrane tissue by passive diffusion.

          The EMERGENCY D-Virus Plan of Care dietary supplements are metabolized by the body to
          more hydrophilic products that are excreted in the urine and feces.

7.0   RESULTS OF PATIENTS AFTER TREATMENT
      The group of patient with the virus found that EMERGENCY D-Virus Plan of Care improved the
      immune system and alertness immediately. Physicians have observed that using EMERGENCY D-
      Virus Plan of Care provokes a significant response, i.e., a reduction in symptoms in patients with the
      virus.

      On April 2020, six (6) patients administered EMEMRGENCY D-Virus Plan of Care over the course of
      time from 1 – 2 weeks, controlled under supervision of a physician “Clinical Assessment and Progress
      Note” included observations by Golden Sunrise Nutraceutical medical staff.

      Safety was monitored and throughout these six (6) patients no adverse side-effects were noticed. A total
      of six (6) patients were diagnosed with the virus that required close monitoring by both the attending
      physician, specialist of that field and by Golden Sunrise Nutraceutical medical staff.

      Six (6) PATIENTS’ Histories and EMERGENCY D-Virus Plan of Care Treatment of the virus.

      Four (4) patients who were confirmed with the virus illness, were treated with the EMERGENCY D-
      VIRUS Plan of Care. They were all treated in their homes. They showed improvement by day number


      Emergency D-Virus Plan of Care                                             Page 5 of 9
                                                                                      App. 000075
                                          EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
two (#2) or day number three (#3) of the treatment. All were asymptomatic by day number seven (#7) to
day number nine (#9) of treatment.

a) M.T. is a 49-year-old female Caucasian nurse with heart arrhythmia. Her symptoms first began on
   Thursday, 04/02/2020 with ninety-nine point six (99.6°F) degrees Fahrenheit fever, some body aches
   and bad headaches. She quickly progressed to fevers, tightness in her chest, shortness of breath,
   severe fatigue, generalized muscle aches and pains, no appetite, headaches, sore throat, and severe
   dry cough.

   She started EMERGENCY D-Virus Plan of Care treatment on Saturday, 04/04/2020 (her virus test
   resulted positive on Sunday, 04/05/2020). The next day she ‘sensed’ improvement, but uncertain of
   any improvement. By day number five (#5), on Wednesday, 04/08/2020, she exclaimed “I can take
   a deep breath” and she “slept like a baby”. By Sunday, 04/12/2020, day number nine (#9), she was
   completely asymptomatic of all of her symptoms, and repeat virus test was done on Friday,
   04/17/2020. It was positive. The next day, day number fifteen (#15) on Saturday, 04/18/2020, she
   had a fever of ninety-nine point nine (99.9°F) degrees Fahrenheit and increasing cough, no other
   symptoms, energy level was still good. She proceeded to the METABOLIC Plan of Care that
   evening. On day number sixteen (#16) and day number seventeen (#17), on Sunday, 04/19/2020 and
   Monday, 04/20/2020, no fevers and the cough continues improvement on the METABOLIC Plan of
   Care.

b) R.H. is a 50-year-old male Hispanic insulin-using diabetic and asthmatic. He was confirmed the
   virus positive on Thursday, 04/02/2020. He failed a five (5) days course of Hydroxychloroquine
   and Azithromycin. He was still experiencing fevers up to one hundred and three point five (103.5°F)
   degrees Fahrenheit, chills, extreme fatigue, severe generalized muscle achiness and pain, severe
   headaches, tightness in chest, frequent dry coughing, throat irritation, poor appetite with loss of
   about five (5 lbs) pounds, shortness of breath, bad dry cough, chest tightness, severe generalized
   muscle pains, extreme fatigue, and insomnia, and some diarrhea (from the Hydroxychloroquine
   most likely per patient).

   Patient underlying condition of Diabetes Mellitus Type II was diagnosed fifteen (15) years
   earlier and treated with Insulin. As a result of this underlying condition, patient suffers from
   peripheral neuropathy, chronic tinnitus, and balance problems. Patient also suffers from
   Asthma, for which he treats with a Symbicort inhaler, twice a day. There were no other
   underlying conditions.

   Following testing, his reported to his physician, who started the patient on a five (5) day
   course of treatment with Hydroxychloroquine and Azithromycin. Upon completion of the
   five (5) day course of treatment, patient’s symptoms had not improved. His physician
   proceeded to refer the patient to Dr. Meis on Wednesday, 04/08/2020.

   On Wednesday, 04/08/2020, Dr. Meis commenced treating the patient with EMERGENCY
   D-Virus Plan of Care. By the next day his fever was coming down. By day number six (#6)
   the patient no longer suffered with fever. On day number eight (#8) AnterFeerons was
   added to the patient’s treatment regimen, after which (approximately two (2) days later) the
   patient was essentially asymptomatic, with the exception of a persistent cough and chest

Emergency D-Virus Plan of Care                                              Page 6 of 9
                                                                                 App. 000076
                                           EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
   tightness. Five (5) days following the introduction of AnterFeerons, the patient continued to
   be asymptomatic and still positive with the virus. However, the patient was able to jog two
   (2) miles by Saturday, 04/18/2020.

   On Saturday, 04/18/2020 the patient started treatment with METABOLIC Plan of Care,
   including LunCov and Gordon-PXL products. On Wednesday, 04/22/2020 DetoxHerb-1 and
   DetoxHerb-2 were introduced. By Friday, 04/24/2020 the patient had virus (not detected)
   negative, was asymptomatic, feeling very good, with no fever. There was only a slight
   tightness of chest consistent with his underlying Asthma.

   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, as well
   as negative (not detected) for virus.

c) D.M. is a 64-year-old healthy male Caucasian who had persisting symptoms for three (3) weeks,.
   He returned with his wife, from NETHERLANDS Holland on Tuesday, 03/17/2020. He was in bed
   for two (2) days with fever, chills, a cough – dry and also productive at times, chest tightness, loss of
   his sense of taste and smell, no appetite, slight headaches, burning in his nasal / sinus areas, and mild
   muscle aches. He was not able to completely recover. He continued to suffer from low energy, poor
   sense of taste and smell, mild dry cough, some tightness in his chest and inability to take a deep
   breath, and recurrent mild headaches. He could become winded and light-headed doing outdoor
   chores. He was virus confirmed on Thursday, 04/09/2020.

   On Thursday, 04/09/2020 he started the EMERGENCY D-Virus Plan of Care. Steadily his
   symptoms improved until he was asymptomatic by day number seven (#7) of treatment, on
   Wednesday, 04/15/2020. By Thursday, 04/30/2020 the patient had virus (not detected) negative,
   was asymptomatic, feeling very good, with no fever, and no cough.

   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, as well
   as negative (not detected) for virus.

d) N.M. is a 62-year-old healthy female Caucasian who returned from her trip with her husband form
   NETHERLANDS Holland on Tuesday, 03/17/2020. She similarly like her husband battled with
   persisting symptoms for about three (3) weeks. About on Thursday, 03/19/2020 she was in bed for
   two (2) days. She had a low-grade fever, mild headaches, generalized muscle achiness, bad dry
   cough, tightness in the chest, shortness of breath, fatigue, poor appetite, and poor sense of taste and
   smell. She slowly improved, but she had persisting mild / moderate dry and productive cough, chest
   tightness, fatigue, and some improved appetite. She was having periodic fever as well, none of them
   ever higher than one hundred (100°F) degrees Fahrenheit. She failed a course of Ciprofloxacin and
   then had tested positive for the virus on Saturday, 04/04/2020. On Wednesday, 04/08/2020, she
   took only one (1) dose each of Hydroxychloroquine and Azithromycin, then chose the
   EMERGENCY D-Virus Plan of Care.

   On Wednesday, 04/08/2020 she started EMERGENCY D-Virus Plan of Care (day number one (#1)
   of treatment). By the next day, on Thursday, 04/09/2020, day number two (#2) of treatment, she
   already had improved energy and ability to concentrate. Her symptoms steadily improved until she
   was symptom-free by Wednesday, 04/15/2020, day number eight (#8) of treatment.

Emergency D-Virus Plan of Care                                               Page 7 of 9
                                                                                  App. 000077
                                           EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
   Patient has continued treatment with ImunStem and Aktiffvate, and is symptom free, COVID-19
   test, on Monday, 04/27/2020, was inconclusive.

e) A fifth virus positive patient on Saturday, 04/11/2020, started receiving the EMERGENCY D-Virus
   Plan of Care on Wednesday, 04/15/2020.

   N.R. is a 28-year-old, healthy Hispanic male, who started symptoms on Friday, 04/10/2020 with
   fevers up to one hundred and two (102°F) degrees Fahrenheit, shortness of breath, sinus / nasal
   congestion and pressure, “non-stop” phlegm production, no appetite, extreme fatigue, generalized
   muscle pain, insomnia, and poor taste and smell.

   On Wednesday, 04/15/2020 he started EMERGENCY D-Virus Plan of Care. By the next day, day
   number two (#2) of treatment, on Thursday, 04/16/2020, the patient was already noticing
   improvement in his taste and smell, and most of his other symptoms, i.e. muscle pain etc. He has
   been afebrile since day number four (#4), on Saturday, 04/18/2020. Follow up in coming.

f) A sixth virus positive on Tuesday, 04/14/2020, started receiving EMERGENCY D-Virus Plan of
   Care on Tuesday, 04/28/2020.

   S.R. is an 86-year-old. Hispanic male who was admitted to the hospital from a nursing home with
   the virus on Tuesday, 04/14/2020. He was in the Intensive Care Unit (ICU) and required the
   ventilator for eight (8) days until Wednesday, 04/22/2020.

   He was started on the EMERGENCY D-Virus Plan of Care in the hospital on Tuesday,
   04/28/2020 and discharged to home twenty-four (24) hours later. He is gaining strength and he
   regained his appetite. The family members are amazed with his quick improvement once he started
   the EMERGENCY D-Virus Plan of Care. He is currently on day number three (#3) of treatment.

Summary:
All patients have become completely asymptomatic by day number seven (#7) to day number
nine (#9) of treatment with the EMERGENCY D-Virus Plan of Care. Once people are afebrile
for three (3) days and with improved cough, current policy allows discontinuation of self-
quarantine measures. Up until now, because there has been no effective treatment, the effort of
controlling the viral pandemic has necessitated a preventative approach, utilizing social isolation
measures and testing. Success with these measures come at great cost both socially and
economically. Now with the EMERGENCY D-Virus Plan of Care showing effective treatment
for the virus, the focus can change, at it should, from prevention to treatment. Social isolation
and viral testing can be significantly adjusted with treatment taking the primary approach of
controlling the virus. Prompt administration of this treatment will significantly diminish the
occurrence of serious cases and need for hospitalization. Confidence can be restored and people
can return much more quickly, more likely in a matter of seven (7) to nine (9) days instead of
weeks, to a more normal life style.




Emergency D-Virus Plan of Care                                              Page 8 of 9
                                                                                 App. 000078
                                              EMERGENCY D-Virus Plan of Care
                                                                             CELLULAR THERAPY
8.0    STORAGE, HANDLING, AND PRODUCTS

       8.1 Storage and Stability
           STORAGE: Store materials at controlled room temperature 20°C (68°F).

           STABILITY: EMERGENCY D-Virus Plan of Care is chemically stable for two (2) years
           at room temperature. Do not freeze.

       8.2 Product Classification
           Dietary Supplement.

9.0    ATTACHMENT LABELS
       ImunStem, Aktiffvate, AnterFerron-1, and AnterFerron-2

10.0   HOW SUPPLIED

       10.1 Packaging
               PRODUCT              CONTAINER                   NET
                                     CONTENT               CONTENT
             AnterFerron-1            1 bottle            1 fl.oz. Liquid
             AnterFerron-2            1 bottle            1 fl.oz. Liquid
             ImunStem                 2 bottle            1 fl.oz. Liquid
             Aktiffvate               2 bottle            1 fl.oz. Liquid




       Emergency D-Virus Plan of Care                                       Page 9 of 9
                                                                                  App. 000079
                                              EMERGENCY D-Virus Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–1
                                      Dietary Supplement
                                               WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Bilberry leaf              40mg            **
Graviola                  120mg            **
Goldenseal                 80mg            **
 ** Daily Value (DV) not established.
Other Ingredients: solvents, organic compounds, Chuchuhuasi, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The AnterFeeron–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–1 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–1 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000080
                                              EMERGENCY D-Virus Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Astragalus               20mg              **
Reishi                   95mg              **
Mistletoe                45mg              **
 ** Daily Value (DV) not established.
Other Ingredients: Cat’s claw, organic compounds, Echinacea, and Cordyceps.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The AnterFeeron–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–2 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–2 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000081
                                               EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY

                                     ImunStem                         ®

                                       Dietary Supplement
                                                 WARNING
                                       Keep out of reach of children
                               do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Olive Leaf extract         260mg             **
Yarrow extract              52mg             **
Rosemary extract            63mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Organic compounds and solvents, monoterpene, Cassia oil, and Yucca.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.
* Yarrow flowers can cause severe allergic skin rashes.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of ImunStem under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ dropperful, 1–4 times a day, as frequently as every 1–3 hours.

ImunStem dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of ImunStem, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                     App. 000082
                                               EMERGENCY D-Virus Plan of Care
                                                                                 CELLULAR THERAPY

                                            Aktiffvate                     ®

                                             Dietary Supplement
                                                       WARNING
                                             Keep out of reach of children
                                     do not use if safety seal is damaged or missing

          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Turmeric extract           175mg             **
Cayenne extract             40mg             **
Eucalyptus extract          20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Wintergreen, solvents, organic compounds, Yucca, and Olive leaf.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”
“Reduces Stress and Frustration”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of Aktiffvate under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ of a dropperful, 1–4 times a day, as frequently as every 1–3 hours.

Aktiffvate dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of Aktiffvate, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                       App. 000083
PRIMARY Plan of Care
    CELLULAR THERAPY


  DIETARY SUPPLEMENT PRODUCTS

        ImunStem and Aktiffvate


               COMPANY

     Golden Sunrise Nutraceutical, Inc.
             219 North E Street
     PORTERVILLE, CA 93257 * U.S.A.
         Phone No.: 1.559.781.0658
          Fax No.: 1.559.615.1268


       PLEASE DOWNLOAD AT
     www.goldensunrisenutraceutical.com
            “TREATMENT”




                                          App. 000084
                                                  PRIMARY Plan of Care
                                                        CELLULAR THERAPY

                            TABLE OF CONTENTS
SECTION                                                           PAGE NUMBER
Cover Sheet ………………………………………………………………………... Title Page
Table of Contents ……………………………………………………………………… 1
1.0 Introduction …………………………………………………………………….. 2
2.0 Indications and Usage ………………………………………………………….. 2
3.0 Instruction for the Treatment …………………………………………………. 2
4.0 Treatment, Dosage, and Administration ……………………………………… 3
     4.1 Administration and Dosage of ImunStem and Aktiffvate …………….. 3
     4.2 Ongoing Treatment ……………………………………………………… 4
5.0 Warning and Precautions ……………………………………………………… 4
6.0 Drug Interactions ………………………………………………………………. 4
7.0 Therapeutic Response ………………………………………………………….. 4
     7.1 Adverse Sensitivity Response of ImunStem and Aktiffvate …………… 4
8.0 Clinical Pharmacology ………………………………………………………….. 4
     8.1 Mechanism of Action …………………………………………………….. 4
     8.2 Pharmacokinetics ………………………………………………………… 5
9.0 Nonclinical Toxicology ……………………………………………….…………. 5
     9.1 Genotoxicity of ImunStem ………………………………………………. 5
     9.2 Genotoxicity of Aktiffvate ………………………………………………. 6
10.0 Results of Patients after Treatment ……………………………………………. 6
11.0 Storage, Handling, and Products ………………………………………………. 11
     11.1 Storage and Stability …………………………………………………….. 11
     11.2 Product Classification ……………………………………………………. 11
12.0 Attachment Labels ……………………………………………………………… 11
13.0 How Supplies ……………………………………………………………………. 11
     13.1 Packaging …………………………………………………………………. 11




     PRIMARY Plan of Care                               Page 1 of 11
                                                            App. 000085
                                                                      PRIMARY Plan of Care
                                                                               CELLULAR THERAPY
1.0   INTRODUCTION
      Golden Sunrise Nutraceutical metabolic therapies will treat Serious or Life-threatening
      conditions. These conditions result from an accumulation of toxins in the body from food
      additives, preservatives, pesticides, prescription drugs, and industrial pollution that disrupt the
      immune system and cell metabolism. Regenerating the cellular metabolic abnormalities with
      plant based botanicals found in the PRIMARY Plan of Care is the basis for the remarkable
      improvement for human health.

      The herbal supplements created by Golden Sunrise Nutraceutical are designated as a
      Regenerative Medicine Advance Therapy (RMAT) by the Food & Drug Administration (FDA).
      The FDA formed a new department called Regenerative Medicine Advance Therapy because of
      the law enacted by the 114th United States Congress in December 2016 called the 21st Century
      Cures Act. These herbal supplements are able to penetrate the cells at the cellular level without
      any disruption or damage to the cells because they are recognized as food. This food provides
      the cells with the necessary building blocks for the cells to repair and rejuvenate themselves and
      flush out the accumulated toxins in the cells. They provide the building blocks for the cells to
      transform the crippled metabolic pathways back to the normal condition and allow the cells to
      perform the normal functions which they were designed to perform. Serious or Life-
      threatening conditions are either modified, reversed or cured (Cures Act p.180).

      Golden Sunrise Nutraceutical products and treatments improve genetic Telomeres for cellular
      regeneration which increases the overall-health of the body and can increase human longevity.

2.0   INDICATIONS AND USAGE
      This guidance is designed as the first use PRIMARY Plan of Care for all conditions or diseases and is
      used to stabilize the patient. ImunStem and Aktiffvate stimulates the immune system throughout the
      body. ImunStem and Aktiffvate aids the cellular regeneration of damaged areas of the body by diseases
      and injuries. ImunStem and Aktiffvate also helps blood flow through the system especially in difficult
      regions such as body capillaries. ImunStem and Aktiffvate are a highly mobile compounds that have
      been shown as a central nervous system and immune system stimulant.

      FIRST AND FOREMOST, PRIMARY Plan of Care, MUST BE ADMINISTERED UNDER
      THE SUPERVISION OF A PHYSICIAN’S CARE.

      Once a medical evaluation of the patient has been completed and reviewed, those patients whose
      medical history and current medical condition is appropriate for treatment with PRIMARY Plan
      of Care will receive the product as follows:

3.0   INSTRUCTIONS FOR THE TREATMENT
      Before starting the ImunStem and Aktiffvate the patient must be in stable condition and the
      diagnosis must be established as thoroughly as possible. This prepares the treating health
      professional, and the patient as well, for expected changes that can occur because of the disease

      PRIMARY Plan of Care                                                     Page 2 of 11
                                                                                   App. 000086
                                                                         PRIMARY Plan of Care
                                                                                   CELLULAR THERAPY
      process, thus avoiding possible confusion which might erroneously be attributed to the Golden
      Sunrise Nutraceutical herbal / botanical products. A thorough history (and physical exam as
      well) is necessary because the health professional can often appreciate improvement in areas
      that are ignored by the patient. For example, the patient may be discouraged by little
      improvement in their hand arthritis but when asked, they may acknowledge improvement in
      their back pain, or energy level or insomnia, etc.

      Noticeable changes will occur when using ImunStem and Aktiffvate, whether it be increased
      energy, better ability to focus and concentrate, better sleep, improved joint pain, etc. In perhaps
      2–3% of patients starting the ImunStem and Aktiffvate, the detoxification process may be more
      profound and may cause symptoms consisting of mild skin rashes, swelling in the face, hands or
      legs, headaches, poor energy, diarrhea, etc. These should be recognized not as a side-effect, but
      actually, the beginning of the healing process in the cells. This is caused by the release of
      toxins. These symptoms may last 2–7 days. Depending on the vigor of these symptoms, the
      dose may need to be reduced, or stopped altogether, for varying lengths of time. When
      resuming the ImunStem and the Aktiffvate, the dose usually needs to be started at a reduced
      dose.

4.0   TREATMENT, DOSAGE, AND ADMINISTRATION
      Take ½ – ¾ of a dropper of ImunStem and Aktiffvate under the tongue 1–4 times daily. Leave under
      the tongue for approximately forty (40) seconds and then drink water.

      If the patient has a sensitivity of the mouth and/or throat then an administration orally mixed with one
      (1) teaspoonful of yogurt or capsules can be administered.

      4.1 Administration and Dosage of IMUNSTEM and AKTIFFVATE
          Upon the first visit it is suggested that once the medical evaluation of the patient is
          completed and the medical staff deems it appropriate, then patients will receive ½ – ¾ of a
          dropperful of ImunStem and Aktiffvate 1–4 times a day. The medical staff should monitor
          the patient for at least ten (10) minutes to help with any effects that might need other
          medical attention. For example, ImunStem can open and improve blood flow throughout
          the body and the patient might experience a feeling of warmth and begin having nasal
          mucus discharge. After ten (10) minutes if the patient is stable, the ¾ dropperful of
          Aktiffvate should be administered with similar monitoring.
          ImunStem and Aktiffvate are liquid form:
              Product            Dose          Dose Size           Dose
                                             of a Dropper         Per day
           ImunStem              1 ml            ½-¾                1–4
           Aktiffvate            1 ml            ½-¾                1–4

          If the patient has a sensitivity of the mouth and / or throat, then the administration in one (1)
          teaspoonful of yogurt or filling empty gelatin capsules and swallowing them can be done.

      PRIMARY Plan of Care                                                        Page 3 of 11
                                                                                       App. 000087
                                                                        PRIMARY Plan of Care
                                                                                  CELLULAR THERAPY
      4.2 Ongoing Treatment
          The patient should receive ½ – ¾ of a dropperful of ImunStem and Aktiffvate between 1–4 times
          daily for the first two (2) weeks. Then another medical evaluation should be performed to evaluate
          their effectiveness and to determine if reduction in dose to 2–3 times daily is appropriate. Blood
          test before treatment, and at 2–4 weeks can be helpful to evaluate effectiveness. If the patient
          appears to be stable, then other Golden Sunrise Nutraceutical product supplementation should be
          added to specific conditions or diseases of the patient. All future treatments should take into
          account any physicians evaluations, blood reports or other information pertinent to the treatment of
          the patient.

5.0   WARNING AND PRECAUTIONS
      ADMINISTRATION OF IMUNSTEM AND AKTIFFVATE, SHOULD ALWAYS BE
      UNDER THE SUPERVISION OF A PHYSICIAN. RECOMMENDATION FOR GOLDEN
      SUNRISE NUTRACEUTICAL PRIMARY PLAN OF CARE IS BASED ON MEDICAL
      EVALUATION OF THE PATIENT, AND LABORATORY RESULTS. ONLY USE UNDER
      THE SUPERVISION OF A PHYSICIAN’S CARE.

6.0   DRUG INTERACTIONS
      ImunStem and Aktiffvate has been combined with other drugs, but has not been thoroughly tested with
      significant combinations yet to show interactions with multiple combinations. You should always read
      product labels. If you have a medical condition, or are taking other drugs, herbs, or dietary supplements,
      you should speak with a qualified healthcare provider before starting a new therapy.

7.0   THERAPEUTIC RESPONSE

      7.1 Adverse Sensitivity Response of ImunStem and Aktiffvate
           ImunStem and Aktiffvate can cause severe allergic skin rashes.
           Vomiting.
           In rare circumstances an adverse sensitivity response in the mouth, such as mild blisters,
          have occurred.
           A burning sensation in the throat in the beginning of oral treatment may occur, but it
          subsides. If the burning sensation persists, gelatin capsules used for administration, may be
          substituted as an alternative.

8.0   CLINICAL PHARMACOLOGY

      8.1 Mechanism of Action
          ImunStem and Aktiffvate are herbal (botanical) products which help to regenerate the cell and
          promote the cellular metabolism to return to homeostasis in the human body.

          It is postulated that in arresting abnormal cellular mutation, the precursors for normal and enhanced
          cellular regeneration and cellular division can be accelerated in relation to the selective existing
          disease pathology. It is therefore theorized that the combination of the body’s thermal energy,
          particularly during variance mutation and inflammatory processes, potentiates the self-propelling of

      PRIMARY Plan of Care                                                       PageApp.   000088
                                                                                      4 of 11
                                                                       PRIMARY Plan of Care
                                                                                CELLULAR THERAPY
         molecules by possible passive membrane transportation or passive diffusion of the ImunStem and
         Aktiffvate intact across all cell membranes, including the blood-brain barrier, which allows its
         efficacy for the central nervous system.

         ImunStem and Aktiffvate possess a bipolarity and a lipophilicity that facilitates molecular diffusion
         through various permeable and selective membranes. In–vivo studies on test subjects have
         indicated that the cell membrane integrity remains intact and is not disrupted or destroyed in the
         process of assimilating into the cell, thus ensuring long-term effectiveness.

         ImunStem and Aktiffvate are the key for the effectiveness of the products on the immune system
         and cellular metabolism. They have immune-stimulating properties. In–vivo studies on treated
         patients demonstrate increasing phagocytic activity and synthesis of helper cell function.
         ImunStem and Aktiffvate have shown to transform Deoxyribonucleic Acid / Ribonucleic Acid
         (DNA / RNA) repair, before, during and after chemotherapy drugs, prescription drugs, toxic
         exposure and chemical induced damage. These herbals have a variety of effects including
         antioxidant activity and anti–inflammatory properties.

         ImunStem and Aktiffvate can play an integral role in hypothalamic activity, easing both
         parasympathetic and sympathetic nervous systems towards a state of homeostasis. For example,
         blood pressure level is directly linked to the sympathetic nervous system and the normalizing of
         blood pressure levels exhibited following administration of ImunStem and Aktiffvate are
         compatible with the stabilization of the sympathetic nervous system activity. ImunStem and
         Aktiffvate reduce inflammation by affecting immune responsiveness through neuroendocrine
         factors. Improvement of balance problems, a side–effect of some chemotherapies, by Golden
         Sunrise Nutraceutical products is thought to be from improvement of vestibular function.

      8.2 Pharmacokinetics
         ImunStem and Aktiffvate are readily absorbed into soft tissue when taken as an oral dose. This is
         accomplished because ImunStem and Aktiffvate readily passes through membrane tissue by passive
         diffusion.

         The ImunStem and Aktiffvate dietary supplements are metabolized by the body to more hydrophilic
         products that are excreted in the urine and feces.

9.0   NONCLINICAL TOXICOLOGY

      9.1 Genotoxicity of ImunStem
         PURPOSE: The purpose of this study is to evaluate ImunStem for its ability to induce reverse
         mutation at the histidine locus in Salmonella typhimurium tester trains both in the presence and
         absence of an exogenous mammalian metabolic system (S9) containing microsomal enzyme.

         CONCLUSION: Under the test conditions in this study, ImunStem was not mutagenic in the tested
         strains of the Salmonella typhimurium, histidine auxotroph TA97, TA98, TA100, TA102 and
         TA1535 both in the presence and absence of metabolic activation system. The results indicated


      PRIMARY Plan of Care                                                      Page 5 of 11
                                                                                     App. 000089
                                                                           PRIMARY Plan of Care
                                                                                    CELLULAR THERAPY
           that, at the dose concentration of a 25–fold dilution to a 15,625–fold dilution of original liquid, 100-
           µl/plate, ImunStem did not induce point mutations by base substitutions and/or frame shifts in the
           genome of these tested strains.

       9.2 Genotoxicity of Aktiffvate
           PURPOSE: The Salmonella typhimurium reverse mutation assay (Ames test) is used to determine
           the potential mutagenic activity of the test article by exposing a large number of the test organism to
           the test article in agar plates. The agar plates are monitored for growth of revertants (organism
           mutating to the wild type) which are counted and used to estimate the mutagenic potential of the test
           article.

           The Ames test employs several histidine dependent (His-) strains of Salmonella typhimurium which
           require the amino acid histidine for growth. The test detects mutations which cause the bacterial
           strains to revert to histidine independent (His+) bacteria which are capable of synthesizing histidine
           and can grow in the absence of histidine. The assay uses tester strains TA97a, TA98, TA100,
           TA102 and TA1535 which were selected to detect various types of mutagens. The test is performed
           both with and without metabolic activation using an S–9 activation system. The S–9 activation
           system is designed to simulate mammalian liver enzyme systems and is used to detect substances
           which undergo metabolic activation from non-mutagenic forms.

           All test method acceptance criteria were met. The test procedure(s) listed above were followed
           without deviation.

           CONCLUSION: The results are calculated using a validated computer program. Manual
           calculations may differ slightly due to rounding. All results greater than three hundred (300)
           Colony Forming Units (CFU) are considered estimates.

           Doses 5-µl/plate and 1.6-µl/plate showed toxicity; therefore, two (2) additional lower
           concentrations were tested to complete the dose range. The test article concentrations did not
           produce a 2–fold or 3–fold increase in the number of revertants or produce a clear dose related
           response in any of the five (5) tester strains. The spot tests of dose 5-µl/plate showed no zone of
           increased reversion, but did show toxicity. In PURPOSE, the test article concentrations tested
           against the 5–strains did not meet the criteria for a potential mutagen.

10.0   RESULTS OF PATIENTS AFTER TREATMENT
       A small group of patients with Serious or Life-threatening diseases or conditions found that ImunStem
       and Aktiffvate dietary supplement improved the immune system and alertness immediately.

       Physicians have observed that using ImunStem and Aktiffvate provokes a significant response, i.e., a
       reduction in symptoms in patients with these diseases: Autism, Alzheimer’s, Neuropathy, Chronic
       Lymphocytic Leukemia, Multiple Sclerosis, Parkinson’s, Schizoaffective disorder, Fragile-X syndrome,
       and a significant decrease of side-effects to chemotherapy for cancer. ImunStem and Aktiffvate has
       been shown to help reduce loss of blood from surgical wound and menstrual periods (shorter and lighter
       periods).


       PRIMARY Plan of Care                                                         Page 6 of 11
                                                                                         App. 000090
                                                                   PRIMARY Plan of Care
                                                                             CELLULAR THERAPY
Fifty (50) patients administered ImunStem and Aktiffvate dietary supplement over the course of time
from a few weeks up to three (3) years were made and included observations from attending physicians,
nursing staff, care givers and Golden Sunrise Nutraceutical medical personnel. Blood reports were also
included and medications (if any) were documented. The observations compiled from family physicians
and specialists were entered and compared with observations by Golden Sunrise Nutraceutical medical
staff.

Safety was monitored and throughout these studies no adverse side-effects were noticed. A
representative number of patients were diagnosed with Serious or Life-threatening diseases or
conditions that required close monitoring by both the attending physician, specialist of that field and by
Golden Sunrise Nutraceutical medical staff.

a) J.W. is a 10-years-old white male who began treatment with physician psychiatrist in VISALIA
   California when he was 6-years-old. He has been diagnosed with fragile-X syndrome. He was
   diagnosed as Attention Deficit Hyperactivity Disorder (ADHD) (F90.1), and Intermittent Explosive
   Disorder (IED) (F63.81). He has been treated over the years with Tegretol, Vyvanse, Zoloft,
   Risperdal; he had a trial at another medical center of R Baclofen. Psychiatrist have also treated him
   with Gabitril, and Nudexta. He was taking Zoloft 150-mg in the morning, Risperdal 1-mg at
   bedtime and Vyvanse 40-mg in the morning.

   On July 07, 2016 he was started on ImunStem and Aktiffvate at twenty (20) drops twice a day. On
   July 25, 2016 his mother reports as of this date that he is more focused and calmer. His level of
   perseveration has decreased dramatically. His mother stated that the other day he was organizing the
   DVDs player in their home and "that's not like him.”

b) S.W. is a 64 year old, white male, who began treatment with the psychiatrist when he was 57 years
   old. He was initially diagnosed as anxiety disorder Not Otherwise Specified (NOS) (F41.9) and
   ADHD without hyperactivity (F90.0). Stimulant medication was not effective in treating his
   focusing problems so Wellbutrin was used. Chlorazepate was used to help with his anxiety. He did
   well on this combination of medicines until November 2014. He was diagnosed at that point in time
   as having diabetic neuropathy and was treated with Lyrica. He complained at that point in time that
   the medicine made him feel "fuzzy" and he was unable to be productive at work. In February 2015
   he stopped the Chlorazepate because he was afraid of having Alzheimer's disease and decreased the
   Wellbutrin on his own to decrease the fuzziness. He did restart the Chlorazepate eventually. In
   April 2016 he was taking Cymbalta 60-mg in the morning and Ambien 10-mg at bedtime. His
   family doctor had stopped the Wellbutrin and Chlorazepate. He was being treated at that point in
   time with methadone and Lyrica. He complained again of feeling fuzzy, tired, and unable to do his
   work.

   In July 2016 he was started with ImunStem and Aktiffvate twenty (20) drops twice a day. He
   reported two and a half (2½) weeks later that he had more energy and motivation. He was more
   productive and able to do his work and his pain had been reduced by thirty (30%) percent.




PRIMARY Plan of Care                                                        Page 7 of 11
                                                                                 App. 000091
                                                                    PRIMARY Plan of Care
                                                                              CELLULAR THERAPY
c) S.R. is a 39 year old white male, who was first seen when he was 28 years old. He was transferred
   from another physician and was taking Wellbutrin-SR 100-mg three (3) times a day, Clozaril 600-
   mg at bedtime, Zoloft 200-mg in the morning, Topamax 100-mg at bedtime, and Aricept 20-mg at
   bedtime. He had a significant history of substance abuse, including marijuana, crack cocaine,
   mushrooms, and acid between the ages of seventeen and twenty-one years old. He was diagnosed as
   schizoaffective disorder (F25.9) and Polysubstance abuse. He was treated with multiple medications
   over the years to try to help reduce his psychotic symptoms and increased his sociability. In June
   2016, he was taking Vraylar 6-mg in the morning, Fanapt 6-mg twice a day, Nudexta 20-10 twice a
   day, Chlorazepate 30-mg at bedtime, Prozac 40-mg in the morning, Clozaril 300-mg at bedtime,
   Abilify 30-mg in the morning, and Gabitril 4-mg at bedtime.

   On July 07, 2016, he was started on ImunStem and Aktiffvate at twenty (20) drops twice a day. He
   returned on July 21, 2016, reporting that he had decreased the Chlorazepate to 15-mg at bedtime, his
   Prozac had been increased to 60-mg in the morning and he had been on ImunStem and Aktiffvate
   for two (2) weeks as well as the other medications listed above. He reported "my brain can keep up
   with my mind". He stated "my brain is aware of my body". He reported increased energy, clearer
   thoughts, and non-racing thoughts. He also reported that he had a dry patch of skin on the back of
   his head that was now gone.

d) L.H. is an 86 year old, white female, who is diagnosed as having Alzheimer's disease and lives in a
   skilled nursing facility. She is on a liquid diet, sleeps most of the time, is confined to a wheelchair
   or a moving bed, and has intermittent episodes of agitation and flat facies. She was treated with
   ImunStem and Aktiffvate ten (10) drops twice a day for two and half (2½) weeks. Both staff and
   family report that she is less agitated, more alert and is smiling.

   After thirty (30) days on ImunStem and Aktiffvate the nurses’ report there are no longer any agitated
   episodes. Skilled nursing report that she spends more time awake. On exam, the patient opened her
   eyes and focused on my face. There was no facial expression, but patient appeared to try and move
   her lips as if she wanted to talk. (This was a new behavior). When I asked her to move her finger if
   she could understand me, she did.

e) M.B. is a 69 year old, white male, who has been treated for chronic Lymphocytic Leukemia for the
   last five (5) years. He started taking ImunStem and Aktiffvate twenty (20) drops twice a day in
   October 2015. This was because of the concern of falling Red Blood Cell (RBC) counts and platelet
   counts. His White Blood Cell (WBC) count, though elevated remained elevated and fluctuant. In
   October 2015, his RBC was 4.05-count and his platelet was ninety (90) count. On April 2016 his
   RBC was 4.19-count and his platelet was one hundred and five (105) count. It was felt that this was
   a significant increase in both his RBC count and platelet count. Please see table below as following:

   Comparison RBC Count and Platelet Count from October, 2015 through April, 2016
          DATE         RBC Count Platelet Count
    October, 2015         4.05              90       Before ImunStem

     April, 2016                  4.19              105          After ImunStem


PRIMARY Plan of Care                                                         Page 8 of 11
                                                                                  App. 000092
                                                                  PRIMARY Plan of Care
                                                                            CELLULAR THERAPY
f) R.B. is a 62 year old white male, who was first evaluated on August 19, 2016. He is taking Actos,
   Metformin, Lorstan, and Travastin for diabetes mellitus, high blood pressure, and glaucoma. There
   is no history of past substance abuse. He was interested in trying ImunStem and Aktiffvate to see if
   it would make any difference with his medical problems. He also complains of mild symptoms of
   depression including anergia, lack of motivation and feeling depressed about his physical problems.
   He was diagnosed as depressive disorder NOS and he was started on ImunStem and Aktiffvate
   twenty (20) drops twice a day.

   Patient reported after eight (8) weeks of ImunStem and Aktiffvate treatment that his energy and
   motivation have been increased. He also reported that he was feeling less depressed. He reported
   that he was able to tolerate higher loads of carbohydrates without changing his diabetes medications,
   which also directly affected his energy and motivation.

g) J.O. is a 45 year old white male diagnosed with advanced stage four colon cancer in January 2016.
   The attending physician did not think that he could have a positive outcome because the cancer had
   metastasized and had spread throughout his body. His symptoms included a damaged liver, renal
   obstruction, lung polyps, anxiety, depression, and severe lack of energy. The patient received first
   cycle of chemotherapy on March 2016.

   In April 2016 the patient received his first dose of ImunStem and Aktiffvate administered orally at
   forty (40) drops three (3) times daily. At this time the patient showed noticeable improvement of
   overall health in minutes. The patient showed an improvement in energy levels as the next day he
   was playing basketball, mental focus, depression and anxiety improved noticeably and his outlook
   on life is a positive hope. Since starting ImunStem and Aktiffvate his tumors have shrunk and he
   has had no major side-effects from his chemotherapy such as hair loss, debilitating constipation,
   depression, anxiety, weight loss, or nausea. He has not had to visit the emergency room for
   complications, except for a staphylococcus infection at his injection port. Patient is doing well and
   can function without interference to his normal lifestyle. The patient has been motivated to tell
   others of the benefits of taking ImunStem and Aktiffvate that it can help others in Serious or Life-
   threatening conditions.

h) J.A. is a 2½ year old male that was diagnosed with Autism/Seizure. His symptoms included,
   seizure, drooling, hyperactivity, disorientation, lack of pain stimuli, poor communication skills and
   uncontrollable outbursts. He was diagnosed in October 2016 and was considered near the highest
   level of Autism that required government programs to assist with his mental state. He has an
   unknown regimen of prescription medications and government assistance is provided for re-
   education of motor skills.

   In December 2016 he began oral administration of ImunStem and Aktiffvate at two (2) drops per
   twelve fluid ounce (12 fl.oz.) of milk. In about four (4) days he was noticed by the parents that he
   was aware of his surroundings and responded to the parents’ direction. He was also noticed to stop
   drooling and felt pain in normal situations (such as falling down while playing). He also began to
   have a reduction in seizures. He has improved where there are no known seizures being observed at
   this time and he is more responsive to direction. And his drooling has not returned and he is
   beginning to act as a normal two and a half (2½) year old.

PRIMARY Plan of Care                                                       Page 9 of 11
                                                                                App. 000093
                                                                     PRIMARY Plan of Care
                                                                              CELLULAR THERAPY
i) S.R. is a 62 year old black male that was diagnosed with advanced stage Parkinson’s disease. He
   was diagnosed 4-years-ago and has had a steady progression of the Parkinson’s disease. The
   symptoms include, slurred speech, an unsteady (uneven) gait, memory loss, depression, tremors and
   occasional falling. He has taken the prescribed medication which had only intermittent results.

   In April 2015 he began taking ImunStem and Aktiffvate oral administration at thirty (30) drops
   twice a day. He states that he feels more stable as he can walk on his own, has no more falling
   episodes, can focus better (clearer thought), has reduced tremors and has significantly reduced his
   depression. He has also returned to his previous employment.

j) R.W. is a 16 year old female that has excessive menstrual bleeding and long painful menstrual
   periods since 2013. She took Vicodin every month on the first day of her period. She had
   debilitating pain that interfered with her lifestyle and activities and kept her confined to her home.

   In October 2016 she began taking ImunStem and Aktiffvate oral administration at thirty (30) drops
   per day. After three (3) weeks her menstrual bleeding reduced greatly and her pain had been
   alleviated. Her period duration had dropped by half and she is able to function in public normally.

k) R.G. is a 60 year old male diagnosed with an enlarged prostate. He had been to multiple medical
   professionals that have treated him for everything from bleeding eye to heart attack. Physicians have
   recommended various surgeries for his prostate but the patient did not want to have these surgeries
   because of the possible adverse outcomes.

   In October 2017 he was administered ImunStem and Aktiffvate while in the hospital being treated,
   within three (3) minutes he felt an improved feeling to his prostate which felt like less pressure and
   less pain. He continued to improve over four (4) months and no longer requires invasive procedures
   to alleviate prostate swelling. Please see table below as following:

   Comparison eGFR, WBC and Platelet Count from October, 2017 through December, 2017
        DATE         eGFR    WBC Count        Platelet Count
    October, 2017     15          6.36              136           Before ImunStem

     December, 2017          40            8.00                332                After ImunStem

l) E.B. is a 46 year old white male was diagnosed with Multiple Sclerosis (MS) in November 2003.
   He was first suspect as having lime disease but upon further testing it was found to be MS. He
   experienced a continual degradation of motor function until he was bedridden, he had almost total
   immobility of his legs and arms. The caregiver would assist the patient for all movement including
   bathroom activities.

   Patient began taking ImunStem and Aktiffvate in October 04, 2017 and showed positive response
   for the first dose. Over the course of treatments the patient has experienced improved motor
   function to where he can sit in a wheelchair and move himself and can sit on the toilet without the
   aid of the caregiver. The patient continues to show marked improvement as the treatment
   progresses. The see table below as following:

PRIMARY Plan of Care                                                         Page 10 of 11
                                                                                  App. 000094
                                                                         PRIMARY Plan of Care
                                                                                  CELLULAR THERAPY
          Comparison WBC and Platelet Count from September, 2017 through December, 2017
                DATE       WBC Count        Platelet Count
           September, 2017     6.04               206          Before ImunStem

            December, 2017            9.60                254              After ImunStem

       m) R.H. is a 54 year old white male who was diagnosed in December 26, 2016 with stage II esophageal
          cancer after the collapsing without apparent reason and vomiting blood. The patient was rushed to
          the local emergency room where testing immediately began and the diagnosis was made. The
          patient refused standard medical cancer treatment (chemotherapies).

          The patient began taking ImunStem and Aktiffvate in February 20, 2017, and shown improvements
          in both reports the blood reports and medical scans. The physician at the hospital after reviewing the
          blood report and medical scans his recommendation “resume regular diet” and to receive another
          checkup in four (4) weeks. Please see table below as following:

          Comparison WBC, Mean Platelet Volume and Platelet from January 2017 through March 2017
               DATE       WBC      Mean Platelet Volume       Platelet
           January, 2017  6.40              6.90                375      Before ImunStem

           March, 2017         9.40                8.40                  332          After ImunStem

11.0   STORAGE, HANDLING, AND PRODUCTS

       11.1 Storage and Stability
            STORAGE: Store materials at controlled room temperature 20°C (68°F).

            STABILITY: PRIMARY Plan of Care is chemically stable for two (2) years at room
            temperature. Do not freeze.

       11.2 Product Classification
            Dietary Supplement.

12.0   ATTACHMENT LABELS
       ImunStem and Aktiffvate

13.0   HOW SUPPLIED

       13.1 Packaging
               PRODUCT                CONTAINER                       NET
                                       CONTENT                   CONTENT
              ImunStem                  1 bottle                1 fl.oz. Liquid
              Aktiffvate                1 bottle                1 fl.oz. Liquid

       PRIMARY Plan of Care                                                       Page 11 of 11
                                                                                      App. 000095
                                                                        PRIMARY Plan of Care
                                                                                 CELLULAR THERAPY

                                     ImunStem                         ®

                                       Dietary Supplement
                                                 WARNING
                                       Keep out of reach of children
                               do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Olive Leaf extract         260mg             **
Yarrow extract              52mg             **
Rosemary extract            63mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Organic compounds and solvents, monoterpene, Cassia oil, and Yucca.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.
* Yarrow flowers can cause severe allergic skin rashes.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of ImunStem under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ dropperful, 1–4 times a day, as frequently as every 1–3 hours.

ImunStem dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of ImunStem, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                     App. 000096
                                                                        PRIMARY Plan of Care
                                                                                 CELLULAR THERAPY

                                            Aktiffvate                     ®

                                             Dietary Supplement
                                                       WARNING
                                             Keep out of reach of children
                                     do not use if safety seal is damaged or missing

          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Turmeric extract           175mg             **
Cayenne extract             40mg             **
Eucalyptus extract          20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Wintergreen, solvents, organic compounds, Yucca, and Olive leaf.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”
“Reduces Stress and Frustration”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of Aktiffvate under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ of a dropperful, 1–4 times a day, as frequently as every 1–3 hours.

Aktiffvate dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of Aktiffvate, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                       App. 000097
                   ®




Cancer Survival Rate Results




With Our 100% Herbal Treatment
                       Golden Sunrise Nutraceutical, Inc.
                       P.O. Box 510
                       PORTERVILLE, CA 93258
                       Phone No.: 1.559.781.0658
                       Fax No.: 1.559.615.1268
                       www.goldensunrisenutraceutical.com
Revised: 03/2019
                                         App. 000098
                                    P.O. Box 510
                                    PORTERVILLE, CA 93258
                                    Phone No.: 1.559.781.0658
                                    Fax No.: 1.559.615.1268




                      TITLE

        Cancer Survival Rate Results


                    PRODUCT

KemoHerb-1, KemoHerb-2, KemoHerb-PI, KemoHerb-NR,
 AnterFeeron-1, AnterFeeron-2, CRProtein, HyProtein-1,
   HyProtein-2, HyProtein-3, HyProtein-4, LyProtein,
              ImunStem, and Aktiffvate



                       DATE

                   March 25, 2019




                                              App. 000099
                                                                                             P.O. Box 510
                                                                                             PORTERVILLE, CA 93258 * U.S.A.
                                                                                             Phone No.: 1.559.781.0658 Fax No.: 1.559.615.1268


                                     CANCER SURVIVAL RATE RESULTS
  THERAPIES                 SIDE-EFFECTS           QUALITY OF LIFE               RECOMMENDED TREATMENT                            COST (US$)

CANCER Plan of Care                                   Good well-being             Golden Sunrise Nutraceutical
                                   None                                                                                         170,000 - 200,000
                                                                                    CANCER Plan of Care

Chemotherapies            Multiple toxic-eﬀects
                                                     Poor overall-health             Radiation and Surgery                  400,000 - 1,500,000
                          and Hospitalization


  THERAPIES                      BENEFITS/PATIENT EXPERIENCE & RESULTS                                            LIFE-EXPECTANCY
   CANCER            Patients have good results with CANCER Plan of Care treatment. Patients raise
  Plan of Care       awareness to other cancer patients.                                                     Prolong-life by months and years

                     Required high-quality cancer care professionals. Patients concern over pain
Chemotherapies                                                                                               Prolong-life by months and years
                     management and quality-of-life.


                          CANCER Plan of Care STAGE-0, I, II, III, AND IV FOR ALL TYPE OF CANCER
                    PATIENT POPULATIONS                    PATIENT STILL-ALIVE                     PERCENTAGE WITHIN 2-YEAR
Stage-0                     ---------                                ---------                                      ---------
Stage-I                        1                                           1                                         100%
Stage-II                       7                                           6                                          86%
Stage-III                      2                                           2                                         100%
Stage-IV                       5                                           3                                          60%
                 Total:       15                                        12

NOTE: A total of 27-patients have been treated for various cancer after chemotherapy, radiation and surgery had been treated
with poor outcomes. Golden Sunrise Nutraceutical provided CANCER Plan of Care to these patients that improved their
quality-of-life.

                                                                                                                                     March 07, 2019
                                                                                                                           App. 000100
Golden Sunrise Nutraceutical Therapy




                                   App. 000101
                               GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                             Page: 1 of 10
(#)    NAME, DOB, and AGE     DIANOSIS (DX)        DATE OF (DX)          COVENTIONAL                    GOLDEN SUNRISE
                                   STAGE                                 TREATMENTS                      TREATMENTS
(1)   A. M.,                Prostate Gleeson 6.   November 16, 2017
      DOB:
      (61-years-old)
(2)   A. L.,                Cervical cancer        September 2018     Only alternative treatment   ImunStem and Aktiffvate started
      DOB:                  stage-2A in lymph           MRI                                        about 10/20/2018,
      (39-years-old)        nodes.                                                                 3-treatments: KemoHerb-1&2,
                            Stage II                                                               12/26/2018 – 01/23/2019
                                                                                                   KemoHerb-PI&NR, 01/23/2019
                                                                                                   stopped KemoHerbs, cervical
                                                                                                   tumor increase.
(3)   M. A.,                Metastatic breast         May 2017        (L) Mastectomy               ImunStem and Aktiffvate since
      DOB:                  (Seizures).                               chemotherapy up to           09/01/2018 KemoHerb-1&2,
      (38-years-old)        Stage IV                                  08/2018.                     09/2018 – 01/04/2019. Patient
                                                                      (R) Cranial surgery          not following recommendation.
                                                                      08/16/18, Temporal lobe.
                                                                      (R) Breast mas found.
(4)   J. A.,                Lymphoma.               October 2017      Chemotherapy                 ImunStem and Aktiffvate started
      DOB:                  Stage IV                                  6 X’s                        03/2018,
      (81-years-old)                                                  radiation X5                 1)KemoHerb-1&2, 04/05/2018,
                                                                      Gastric tube, 12/2017        2)KemoHerb-1&2, 04/20/2018,
                                                                      on hospice 02/21/2018        3)KemoHerb-PI&NR 05/02/18,
                                                                      Tracheostomy end is          4)KemoHerb-PIRNR 05/16/18,
                                                                      cussed(??)                   5)KemoHerb-PI&NR 05/31/18,
                                                                                                   6)LyProtein, 06/15/2018,
                                                                                                   7)CRProtein, 07/06/2018,
                                                                                                   8)Vietneze-40, 07/24/2018,
                                                                                                   Passed away on August, 2018.
(5)   R. A.,                Breast Cancer.            June 2017       Surgery on 06/17/2017        ImunStem and Aktiffvate started
      DOB:                  Stage II                                  and 06/23/2017               02/2016,
      (66-years-old)                                                                               1)KemoHerb-1&2, early 06/17,
                                                                                                   2)KemoHerb-1&2, late 06/17,
                                                                                                   3)KemoHerb-PI&NR, 11/2017.
(6)   R. B.,                Prostate & Bone         January 2016      “Cancer medication” once     ImunStem and Aktiffvate started
      DOB:                  cancer (20-year                           but caused to be             01/07/2019
      (88-years-old)        history of Bladder                                                     1)KemoHerb-1&2, 01/22/2019.

                                                                                                           App. 000102
                               GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                               Page: 2 of 10
(#)    NAME, DOB, and AGE     DIANOSIS (DX)        DATE OF (DX)         COVENTIONAL                  GOLDEN SUNRISE
                                   STAGE                                 TREATMENTS                    TREATMENTS
                            cancer with many                        bedridden, per patient      Decides no more treatments
                            surgeries).                             unable to walk.             02/04/2019 (too costly).
                            Stage IV                                Xtandi 10-months, no help
                                                                    PSA & S.E.
                                                                    PSA-16.9 recently(?)
                                                                    01/22/2019
(7)   B. B.,                Prostate                   2014         Prostatectomy 2014          ImunStem and Aktiffvate started
      DOB:                  PSA-3.0, 03/16/2017,                    No chemotherapy,            08/2018,
      (83-years-old)        PSA-4.9, 11/22/2017,                    radiation, and surgery.     1)KemoHerb-1&2, 10/06/2018,
                            PSA-5.6, 04/12/2018,                    Refused Chemotherapy        2)KemoHerb-1&2, 10/22/2018,
                            PSA-7.6, 07/12/2018,                    and radiation.              3)KemoHerb-PI&NR 11/05/18,
                            PSA-10.7, 09/28/18,                                                 4)HyProtein, 11/19/2018,
                            PSA-11.1, 11/26/18,                                                 5)KemoHerb-1&2, 12/03/18,
                            PSA-13.4, 03/11/19.                                                 6)CRProtein, 01/04/2019,
                            Stage III                                                           7)LyProtein, 01/18/2019,
                                                                                                8)HyProtein-1,2,3&4, 02/02/19.
(8)   S. B.,                Breast with bone           2012         Mastectomy and              ImunStem and Aktiffvate started
                            Mets.                                   chemotherapy.               11/16/18
                            Stage IV                                                            1)KemoHerb-1&2, 11/23/2018,
                                                                                                Too weak to continue
                                                                                                Weight 120-lbs to 100-lbs?
(9)   E. C.,                Large B-cell            May 16, 2018    Refused any treatments,     Taking ImunStem and Aktiffvate
      DOB:                  lymphoma.                               hospice recommended.        since 06/01/2018.
      (97-years-old)        Stage IV                                Stated only 4-6 months to   Refused any KemoHerbs,
                                                                    live.                       currently walking around &
                                                                                                active as of 30/01/2019.
(10) J. C.,                 Esophageal with        April 09, 2018   Refused chemotherapy        ImunStem and Aktiffvate started
     DOB:                   metastasis to lung.                     Esophageal stent            04/24/2018,
     (85-years-old)         Stage IV                                04/09/2018.                 1)KemoHerb-1&2, 05/10/2018,
                                                                                                2)KemoHerb-1&2, 05/24/2018,
                                                                                                3)KemoHerb-PI&NR 06/09/18,
                                                                                                4)KemoHerb-PI&NR 06/22/18,
                                                                                                5KemoHerb-PI&NR, 07/07/18.
                                                                                                Deceased end of 07/2018 or
                                                                                                early 08/2018.

                                                                                                        App. 000103
                              GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                                    Page: 3 of 10
(#)   NAME, DOB, and AGE     DIANOSIS (DX)            DATE OF (DX)           COVENTIONAL                 GOLDEN SUNRISE
                                  STAGE                                       TREATMENTS                    TREATMENTS
(11) J. A.,                Prostate                      May 2018        No chemotherapy,          ImunStem and Aktiffvate
     DOB:                  PSA-5.3, 06/22/2018,                          radiation and surgery.    started(?)
     (73-years-old)        PSA-4.9, 01/29/2018.                                                    1)KemoHerb-1&2, 06/05/2018,
                           Stage III                                                               2)KemoHerb-1&2, 06/19/2018,
                                                                                                   3)KemoHerb-PI&NR, 7/04/18,
                                                                                                   4) LyProtein, 07/18/2018,
                                                                                                   5) KemoHerb-1&2, 08/03/2018,
                                                                                                   *Verbal report no more cancer.
(12) E. C.,                Colon cancer              February 14, 2017   No chemotherapy,          ImunStem and Aktiffvate since
     DOB:                  rectosigmoid on                               radiation and surgery.    07/04/2018,
     (58-years-old)        02/14/2017, liver, and                                                  1)KemoHerb-1&2, 08/04/2018,
                           lymph.                                                                  2)KemoHerb-1&2, 08/18/2018,
                           Stage IV                                                                3)(?) No notes for #3,
                                                                                                   4)KemoHerb-1&2, 09/14/2018,
                                                                                                   5)AnterFeeron-1&2, 09/27/18,
                                                                                                   6)(??), 10/12/2018,
                                                                                                   7)HyProtein-1,2,3&4, 11/03/18
                                                                                                   Last seen 11/3/2018.
                                                                                                   Deceased 03/11/2019.
(13) H. D.,                Adenocarcinoma           November 15, 2018    No chemotherapy,          1)ImunStem and Aktiffvate
     DOB:                  stomach antrum           BX EGD Enlarged      radiation, and surgery.   started 11/19/2018,
     (62-years-old)        poorly differentiated.   Lymph nods           November 15, 2018 –       2)KemoHerb-1&2, 11/24/2018,
                           Stage III                                     CT Head (N)               3)AnterFeeron-1&2, 11/27/18,
                                                                         Chest N – also 12/23/2018
                                                                         CT
                                                                         Abdomen/Pelvis,11/14/18
                                                                         & 12/23/2018, + distal
                                                                         gastric wall thickening.
                                                                         Surgeon said would not
                                                                         live past December, 2018
                                                                         (per patient).
(14) A. E.,                Colon Cancer.                   2014          Colostomy 2016,           ImunStem and Aktiffvate started
     DOB:                  CEA-396.8 05/29/18,                           radiation, chemotherapy,  05/17/2018,
     (37-years-old)        CEA-455.2 08/31/18,                           eventually refuses        1)KemoHerb-1&2, 06/02/18,
                           CEA-271.7 11/19/18,                                                     2)KemoHerb-1&2, 07/14/18,

                                                                                                            App. 000104
                              GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                             Page: 4 of 10
(#)   NAME, DOB, and AGE     DIANOSIS (DX)      DATE OF (DX)         COVENTIONAL                  GOLDEN SUNRISE
                                  STAGE                               TREATMENTS                     TREATMENTS
                           repeat CEA by                         chemotherapy because of     3)KemoHerb-PI&NR 7/27/18
                           03/20/2019(?).                        side-effects.               4)KemoHerb-PI&NR 8/10/18
                           Stage IV                                                          5)AnterFeeron-1&2, 9/15/18,
                                                                                             6)CRProtein, 10/06/2018,
                                                                                             7)LyProtein, 10/22/2018,
                                                                                             8)HyProtein-1,2,3&4,
                                                                                             11/21/2018.
(15) R. E.,                Endometrial Cancer    June 17, 2015   3-years of chemotherapy     ImunStem and Aktiffvate started
     DOB:                  (DVT(L) leg,                          and surgery (TAH, BSO).     05/15/2018,
     (54-years-old)        05/2018.                                                          1)KemoHerb-1&2, 06/02/18,
                           Stage IV                                                          2)KemoHerb-1&2, 06/15/18,
                                                                                             3)KemoHerb-PI&NR 06/29/18,
                                                                                             4)KemoHerb-PI&NR 07/31/18,
(16) G. E.,                Multiple Myeloma.         2016        (1) Chemotherapy started    ImunStem and Aktiffvate started
     DOB:                  Stage IV                              2017.                       08/27/2018,
     (51-years-old)                                              (2) Stem cell transplant.   1)KemoHerb-1&2, 09/17/2018,
                                                                                             2)KemoHerb-1&2, 10/02/2018,
                                                                                             3)KemoHerb-PI&NR, 10/19/18
                                                                                             4)KemoHerb-PI&NR, 11/5/18,
                                                                                             5)HyProtein, 11/23/2018,
                                                                                             6)CRProtein, 12/10/2018,
                                                                                             7)HyProtein, 01/06/2019
(17) F. G.,                Sarcoma.                              Chemotherapy.               ImunStem and Aktiffvate started
     DOB:                  Stage(??)                                                         04/09/2018.
     (67-years-old)                                                                          No further appointment; Follow-
                                                                                             up.
(18) M. G.,                Bladder cancer.       October 2014    No chemotherapy,            ImunStem and Aktiffvate started
     DOB:                  Stage IV                              radiation, and surgery.     10/23/2018,
     (92-years-old)                                                                          1)KemoHerb-1&2, 11/08/2018,
                                                                                             2)KemoHerb-1&2, 11/20/2018,
                                                                                             3)KemoHerb-1&2(??),
                                                                                             4)KemoHerb-1&2, 12/27/2018,
                                                                                             5)KemoHerb-1&2, 01/03/2019,
                                                                                             6)CRProtein, 02/2019


                                                                                                     App. 000105
                              GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                                     Page: 5 of 10
(#)   NAME, DOB, and AGE     DIANOSIS (DX)           DATE OF (DX)            COVENTIONAL                  GOLDEN SUNRISE
                                  STAGE                                      TREATMENTS                      TREATMENTS
(19) T. G.,                Kidney metastasis to       February 2017     Initially started            ImunStem and Aktiffvate Started
     DOB:                  along spine (Note:                           chemotherapy                 08/28/2017
     (79-years-old)        03/13/2018).                                 hospitalized on              1)KemoHerb-1&2, 09/30/2017,
                           Stage III-IV                                 02/21/2018, after wards      2)KemoHerb-1&2, 10/17/2017,
                                                                        for sepsis w/u-fever, etc,   3)KemoHerb-1&2, 10/31/2017,
                                                                        but (-) sepsis.              4)KemoHerb-PI&NR, 11/14/17
                                                                        Had nephrectomy              5)KemoHerb-PI&NR, 11/29/17
                                                                        04/03/2018.                  6)KemoHerb-PI&NR, 12/20/17
                                                                        New metastasis to brain &    7)KemoHerb-PI&NR, 01/08/18
                                                                        lungs and chemotherapy       8)KemoHerb-PI&NR 02/09/18,
                                                                        X3 which required            never took. Deceased 10/2018
                                                                        hospitalization for side
                                                                        effects.
(20) R. G.,                Prostate cancer             March 2017       Chemotherapy and             ImunStem and Aktiffvate started
     DOB:                  metastasis to bone.                          radiation.                   05/03/2018,
     (65-years-old)        Stage IV                                                                  1)KemoHerb-1&2, 05/15/2018,
                                                                                                     2)KemoHerb-1&2, 06/05/2018,
                                                                                                     Inability to contact patient.
(21) R. H.,                Esophageal.              December 26, 2016   No chemotherapy,             ImunStem and Aktiffvate started
     DOB:                  Stages II/III                                radiation and surgery.       02/20/2017
     (54-years-old)                                                                                  Multiple KemoHerb products
                                                                                                     used 2017-2018
(22) V. I.,                Colon cancer                   2016          Surgery (ascending colon)    ImunStem and Aktiffvate started
     DOB:                  stage-IV metastasis to                       chemotherapy 4-5 X’s.        09/12/2018,
     (63-years-old)        liver and abdomen.                           Stop because of side-        1)KemoHerb-1&2, 09/26/2018,
                           Stage IV                                     effects, tingling            2)KemoHerb-1&2, 10/24/2018,
                                                                        extremities, worsened        3)KemoHerb-PI&NR, 11/10/18
                                                                        LFT’s platelet, naturopath   4)HyProtein, 12/02/2018,
                                                                        on going Vitamin-C and       5)KemoHerb-PI&NR, 12/15/18
                                                                        other treatment.             6)AnterFeeron-1&2, 01/12/19,
                                                                                                     7)LyProtein, 02/23/2019,
                                                                                                     8)CRProtein—Next
(23) C. K.,                Glioblastoma.             November 2017      Radiation only refused       ImunStem and Aktiffvate started
     DOB:                  Stage(?)                                     chemotherapy.                01/29/2019 (less headaches
     (61-years-old)                                                                                  5/2010-1-2(?)

                                                                                                             App. 000106
                              GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                                Page: 6 of 10
(#)   NAME, DOB, and AGE     DIANOSIS (DX)         DATE OF (DX)           COVENTIONAL                  GOLDEN SUNRISE
                                STAGE                                      TREATMENTS                    TREATMENTS
                                                                      Holistic: Essiac tea black   1)KemoHerb,1&2, 02/10/2019,
                                                                      seed oil, cottage cheese?    2)KemoHerb,1&2, 02/24/2019,
                                                                      Ricky simson-20% THC,        3)KemoHerb, PI&PI, 03/10/19
                                                                      80% CBD.
(24) M. L.,                Multiple Myeloma.         March 2017       Chemotherapy on              ImunStem and Aktiffvate started
     DOB:                  Stage(?)                                   06/01/2017 – 01/2018.        09/01/2018,
     (76-years-old)                                                   Stopped because too          1)KemoHerb-1&2, 09/19/2018,
                                                                      weak- unable to walk, bad    2)KemoHerb-1&2, 10/03/2018,
                                                                      pain & numbness in legs,     3)KemoHerb,PI&NR, 10/19/18,
                                                                      bad insomnia, muscle         4)AnterFeeron-1&2, 11/01/18,
                                                                      achiness all over, poor      5)KemoHerb-1&2, 11/16/2018,
                                                                      appetite. He was             6)HyProtein,1,2,3&4, 11/27/18,
                                                                      miserable with               7)CRProtein, 12/1120/18,
                                                                      chemotherapy, unable to      8)LyProtein, 12/25/2018,
                                                                      climb stairs, etc.           9)Nutra-1, 02/05/2019.
(25) J. M.,                Right laryngeal          February 2018     A diet, no sugar, low        ImunStem and Aktiffvate started
     DOB:                  (piriform) cancer                          carbs, dairy free, gluten    03/28/2018,
     (78-years-old)        stage-IV in lymph                          free, and soy free           1)KemoHerb-1&2, 04/17/2018,
                           node.                                      (hyperbaric chamber).        2)KemoHerb-1&2, 05/01/2018,
                           Stage IV                                   Refused chemotherapy         3)KemoHerb-PI&NR, 05/15/18
                                                                      and radiation.               4)KemoHerb-PI&NR, 05/29/18
                                                                                                   5)KemoHerb-PI&NR, 06/16/18
                                                                                                   6)LyProtein, 07/16/2018,
                                                                                                   7)AnterFeeron-1&2, 09/25/18,
                                                                                                   8)HyProtein-1,2,3&4, 11/13/18,
                                                                                                   9)Vietneze-40, 12/28/18
(26) C. M.,                Colon cancer            October 03, 2018   Surgical removal.            ImunStem and Aktiffvate started
     DOB:                  (contained within the                      (Refused recommended         11/16/2018,
     (73-years-old)        wall).                                     chemotherapy X6-months       1)KemoHerb-1&2, 12/03/2018,
                           Stage III                                  every 2-weeks).              2)KemoHerb-1&2, 12/18/2018,
                                                                                                   3)KemoHerb-PI&NR, 01/06/19
                                                                                                   4)AnterFeeron-1&2, 01/22/19,
                                                                                                   5)KemoHerb-PI&NR, 02/05/19
                                                                                                   6)LyProtein, 02/20/2019,
                                                                                                   7)CRProtein, 03/05/2019

                                                                                                           App. 000107
                              GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                               Page: 7 of 10
(#)   NAME, DOB, and AGE     DIANOSIS (DX)         DATE OF (DX)         COVENTIONAL                GOLDEN SUNRISE
                                  STAGE                                 TREATMENTS                    TREATMENTS
(27) T. M.,                Ovarian cancer.         September 2017   Surgery for feeding of   ImunStem and Aktiffvate started
     DOB:                  Stage IV                                 cancer diaphragm,        01/24/2019,
     (67-years-old)                                                 colon – peritoneum       1)KemoHerb-1&2, 01/29/2019,
                                                                    chemotherapy.            2)KemoHerb-1&2, 02/10/2019,
                                                                                             3)Vietneze-40, 02/13/2019,
(28) C. M.,                Uterine and lung            1998         No Chemotherapy and      ImunStem and Aktiffvate
     DOB:                  cancer (lung box)           2012         radiation.               start 09/11/2017.
     (75-years-old)        (at hip surgery                          Hysterectomy on 1998.    02/20/2018 patient very weak,
                           06/28/2018).                                                      very short of breath, holding
                           Stage IV                                                          ImunStem and Aktiffvate other
                                                                                             products, restart 02/23/2018
                                                                                             Refill ImunStem and Aktiffvate
                                                                                             03/02/2018,
                                                                                             1)KemoHerb-1&2, 03/17/2018,
                                                                                             2)KemoHerb-1&2, 04/02/2018,
                                                                                             3)AnterFeeron-1&2 (1/3-dose)
                                                                                             04/20/18,
                                                                                             4)KemoHerb-PI&NR, 04/26/18
                                                                                             5)LyProtein, 05/09/2018,
                                                                                             6)KemoHerb-PI&NR, 05/18/18
                                                                                             7)KemoHerb-PI&NR, 06/03/18
                                                                                             8)CRProtein, 06/17/2018,
                                                                                             9)Vietneze-40, 07/28/2018,
                                                                                             10)HyProtein-1,2,3&4, 1/15/18.
                                                                                             Passed away 12/01/2018.
(29) J. O.,                Colon cancer            March 24, 2016   Chemotherapy and         ImunStem and Aktiffvate started
     DOB:                  metastasis to lung                       surgery.                 04/30/2016, during traditional
     (44-years-old)        and liver, peritoneum                                             Chemotherapy at Cedar Sinai
                           retroperitoneum recto                    Death on 02/18/2018      Hospital. Sores in mouth and
                           sigmoid                                                           feet in 2-3-days. Started
                           colon/urinary bladder                                             KemoHerbs about 04/2017.
                           and small bowel                                                   Received about 10-KemoHerbs
                           resection + Cancer                                                treatments.
                           Pathology
                           12/30/2017-1st

                                                                                                      App. 000108
                              GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                                 Page: 8 of 10
(#)   NAME, DOB, and AGE     DIANOSIS (DX)           DATE OF (DX)             COVENTIONAL                  GOLDEN SUNRISE
                                  STAGE                                       TREATMENTS                    TREATMENTS
                           abdominal para-
                           centesis.
                           Stage IV
(30) L. M.,                Germ cell                 November 2017        (#1) Surgery 01/2018        ImunStem and Aktiffvate started
     DOB:                  Posterior Thoracic.                            (#2) Surgery 06/2018        08/2018,
     (13-years-old)        Stage II                                       (#3) Surgery 5-days later   1)KemoHerb-1&2, 09/11/2018.
                                                                          from 06/2018.
                                                                          Chemotherapy since
                                                                          04/20/2008.
                                                                          Repeat scans 09/24/18.
(31) D. P.,                Colon cancer                                   Chemotherapy and            ImunStem and Aktiffvate started
     DOB:                  liver multiple lymph.                          surgery.                    05/05/2018,
     (59-years-old)        Stage IV                                                                   1)KemoHerb-1&2, 05/18/2018,
                                                                          06/01/2018-surgery 2nd      2)KemoHerb-PI&NR, 06/22/18
                                                                          colostomy bag.              3)KemoHerb-PI&NR, 07/09/18
                                                                                                      4)AnterFeeron1&2, 07/21/18,
                                                                                                      5)Vietneze-40(?) 07/23/2018,
(32) J. P.,                Breast cancer.          December 07, 2018      No chemotherapy,            ImunStem and Aktiffvate started
     DOB:                  Stage I-II              Thermography           radiation, and surgery.     01/21/2019,
     (43-years-old)                                (felt lump May 2018)   Refused BX                  1)KemoHerb-1&2, 02/11/2019,
                                                                                                      2)KemoHerb-1&2, 03/04/2019,
(33) J. R.,                Chronic lymphocytic            2015            No chemotherapy,            ImunStem and Aktiffvate started
     DOB:                  leukemia in bone                               radiation and surgery.      06/2017,
     (59-years-old)        marrow and skin.                                                           1)KemoHerb-1&2, 08/24/2017,
                           Stage IV                                                                   2)KemoHerb-1&2, 09/08/2017,
                                                                                                      3)KemoHerb-1&2, 09/22/2017,
                                                                                                      4)KemoHerb-1&2, 10/05/2017,
                                                                                                      5)KemoHerb-3&4, 10/19/2017,
                                                                                                      6)KemoHerb-1&2, 12/06/2017
                                                                                                      7)KemoHerb-PI&NR, 12/16/17
                                                                                                      8)KemoHerb-PI&NR, 01/13/18
                                                                                                      9)04/11/2018 (Note: two more
                                                                                                      KemoHerbs & AnterFeeron-1&2
                                                                                                      one or two times
                                                                                                      10)Vietneze-40, 07/17/2018,

                                                                                                              App. 000109
                              GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                                    Page: 9 of 10
(#)   NAME, DOB, and AGE     DIANOSIS (DX)          DATE OF (DX)             COVENTIONAL                   GOLDEN SUNRISE
                                STAGE                                        TREATMENTS                      TREATMENTS
                                                                                                      11)AnterFeeron1&2, 07/23/18.
(34) H. R.,                Colon cancer                   2016           Chemotherapy X 2½-           New patient
     DOB:                  liver Mets.                                   years. Last one 02/2019.     ImunStem and Aktiffvate started
     (70-years-old)        Stage IV                                      Surgery-lesions on liver     02/17/2019,
                                                                         12/2018.                     1)KemoHerb-1&2, 03/05/2018
                                                                         No side-effects except
                                                                         loss of muscle mass X
                                                                         2½-years some
                                                                         neuropathy soles of feet
                                                                         but(?) from Diabetes.
(35) J. R.,                Pancreatic cancer        October 05, 2018     No chemotherapy,             ImunStem and Aktiffvate started
     DOB:                  expect 7-months                               radiation and surgery.       10/17/2018,
     (69-years-old)        without treatment(??)                                                      1)KemoHerb-1&2, 10/27/2018,
                           Stage(??)                                     Still take opiate pain       2)KemoHerb-1&2, 11/19/2018,
                                                                         medication, still not feel   11/24/2018 doesn’t want any
                                                                         well.                        more treatments.
(36) B. S.,                Lung cancer.            Diagnosed late 2018   Radiation on 2-spots on      ImunStem and Aktiffvate start?
     DOB:                  Stage I                                       lung.                        1)KemoHerb-1&2 – X2
     (78-years-old)                                                                                   2)KemoHerb-PI&NR – X2

(37) M. T.,                Intraductal breast         July 12, 2018      Lumpectomy 10/26/2018,       ImunStem and Aktiffvate started
     DOB:                  cancer.                         BX            chemotherapy (L) breast      09/07/2018,
     (67-years-old)        Stage II                                      cancer 20-years-ago,         1)KemoHerb-1&2, 10/01/2018,
                                                                         refused radiation.           only one treatment (too costly),
                                                                                                      (Stopped KemoHerbs 10/26/18)
                                                                                                      F/U 03/01/2019-doing well so
                                                                                                      far.
(38) J. S.,                Pancreatic cancer           May 2018          PET scan for colon cancer    ImunStem and Aktiffvate started
     DOB:                  Mets to liver.                                radiation 5-times on         10/12/2018,
     (82-years-old)        Stage IV                                      10/03/2018, hospice          1)KemoHerb-1&2, 10/24/2018,
                                                                         recommended.                 2)KemoHerb-1&2, 11/05/2018,
                                                                                                      3)HyProtein,1,2,3&4, 11/19/18
                                                                                                      Passed away about 11/22/2018.
(39) J. S.,                Pancreatic cancer.      November 21, 2017     No chemotherapy,             ImunStem and Aktiffvate
     DOB:                  Stage II/III                  BX              radiation, and surgery.      started(?),

                                                                                                              App. 000110
                               GOLDEN SUNRISE NUTRACEUTICAL THERAPY                                                      Page: 10 of 10
(#)    NAME, DOB, and AGE     DIANOSIS (DX)         DATE OF (DX)              COVENTIONAL                   GOLDEN SUNRISE
                                 STAGE                                        TREATMENTS                       TREATMENTS
      (75-years-old)                                                                                   1)KemoHerb-1&2, 12/13/2017,
                                                                                                       2)KemoHerb-1&2, 12/27/2017,
                                                                                                       3)KemoHerb-PI&NR, 01/25/18
                                                                                                       4)KemoHerb-PI&NR, 02/20/18
                                                                                                       5)KemoHerb-PI&NR, 03/27/18
                                                                                                       6)AnterFeeron-1&2, 04/17/18,
                                                                                                       Deceased 06/17/2018.
(40) L. S.,                 Laryngeal cancer          October 2017         Chemotherapy and            ImunStem and Aktiffvate started
     DOB:                   Metastasis to                                  radiation first round       October and November 2017,
     (59-years-old)         Pulmonary.                                     completed on November       1)KemoHerb-1&2, per G-tube,
                            Stage IV                                       27, 2017, repeated on       05/21/2018,
                                                                           February, 2018 and on       2)KemoHerb-1&2, 06/04/2018,
                                                                           April, 2018. Gastric Tube   3)KemoHerb-PI&NR, G-tube,
                                                                           on December 2017.           06/20/2018,
                                                                           Tracheostomy discussed.     Deceased around 07/5/2018.
(41) S. W.,                 High CEA uncertain.    February 01, 2018       No chemotherapy,            ImunStem and Aktiffvate started
     DOB:                   Stage??                                        radiation and surgery.      11/2018,
     (69-years-old)                                                                                    1)KemoHerb-1&2, 01/12/2019,
                                                                                                       2)KemoHerb-1&2, 02/04/2019,
                                                                                                       3)KemoHerb-PI&NR, 02/18/19
(42) J. W.,                 Pancreatic cancer.              (?)                                        ImunStem and Aktiffvate started
     DOB:                   Stage III             Told 2-3-years to live                               05/01/2018,
     (77-years-old)                               with chemotherapy.                                   1)KemoHerb-1&2, 05/08/2018,
                                                  If no chemotherapy,                                  2)KemoHerb-1&2, 05/22/2018,
                                                  only live 6-9-months                                 3)KemoHerb-PI&NR, 06/05/18
                                                                                                       4)LyProtein, 06/20/2018,
                                                                                                       AnterFeeron ½ dropper full BID
                                                                                                       06/29/2018. 07/01/2018 to
                                                                                                       hospital with Pulmonary
                                                                                                       Emboli.(?)
                                                                                                       No further F/U.




                                                                                                               App. 000111
Deceased with Combination of Conventional
& Golden Sunrise Nutraceutical Treatments




                                            App. 000112
                     DECEASED with Combination of Conventional & Golden Sunrise Nutraceutical                        Page: 1 of 1
(#)         NAME      CANCER         DATE                DATE START                  DATE OF           MONTHS     COMENTS
              &        STAGE      DIAGNOSED            GOLDEN SUNRISE                 DEATH             ALIVE
             AGE                                          PRODUCTS                                      AFTER
                                                                                                      DIAGNOSES
(1)   J. A.,         Lymphoma     October, 2017           March 18, 2018            August, 2018       10-months On Hospice
      81-years-old   Stage IV                                                                                    when started
                                                                                                                 Golden Sunrise
                                                                                                                 products
(2)   E. C.,         Colon       February 14, 2017         July, 04, 2018         December, 2018       22-months
      58-years-old   Stage IV
(3)   J. O.,         Colon        March 24, 2016     ImunStem and Aktiffvate      February 18, 2018    23-months
      44-years-old   Stage IV                        started on April 30, 2016,
                                                     KemoHerbs, April, 2017.
(4)   L. S.,         Laryngeal    October, 2017             October, 2017           July 05, 2018       9-months
      59-years-old   Stage IV




                                                                                                            App. 000113
          LONGEVITY, Combination of
Chemotherapy/Radiation/Golden Sunrise Nutraceutical




                                              App. 000114
                     LONGEVITY, Combination of Chemotherapy/Radiation/Golden Sunrise Nutraceutical           Page: 1 of 1
(#)         NAME           CANCER          DATE           DATE START            ALIVE   DURATION         STATUS
             AGE            STAGE       DIAGNOSED           GOLDEN            DECEASED FROM DATE
                                                            SUNRISE                       OF DX
                                                           PRODUCTS
(1)                      Colon              2014           May 17, 2018         Alive     5-year      Early remission
      37-years-old       Stage IV
(2)                      Multiple           2016          August 27, 2018       Alive    2½-year     Slow progression
      51-years-old       Myeloma
(3)                      Glioblastoma   November 2017     January 29, 2019      Alive    16-onths          New
      61-years-old       Stage IV
(4)                      Multiple        March 2017      September 01, 2018     Alive   24-months   Watching doing well
      76-years-old       Myeloma
                         Stage I-II
(5)                      Colon              2016         September 12, 2018     Alive   >2½-years   Watching doing well
      63-years-old       Stage IV
(6)                      Ovarian        September 2017    January 24, 2019      Alive   18-months          New
      67-years-old       Stage IV
(7)                      Colon              2016         February 17, 2019      Alive   >2½-years          New
      70-years-old       Stage IV




                                                                                                    App. 000115
LONGEVITY only Golden Sunrise Nutraceutical Therapy




                                             App. 000116
                           LONGEVITY only Golden Sunrise Nutraceutical Therapy                               Page: 1 of 2
(#)          NAME      CANCER            DATE            DATE START           ALIVE      DURATION           STATUS
              AGE       STAGE         DIAGNOSED          KEMOHERBS              or       From Date of
                                                                            DECEASED     DIAGNOSES
(1)   J. A.,         Prostate           May 2018            May 2018           Alive      10-months     Remission
      73-years-old   Stage II
(2)   R. A.,         Breast             June 2017           June 2017         Alive       21-months     Remission
      66-years-old   Stage II

(3)   B. B.,         Prostate             2014             August 2018        Alive                     Last PSA-13.4,
      83-years-old   State II                                                                           03/11/2019
(4)   J. C.,         Esophageal       April 09, 2018      April 24, 2018     Deceased      4-months     Deceased
      85-years-old   Stage IV                                                08/2018
(5)   E. C.,         Large B-Cell     May 16, 2018        June 01, 2018       Alive       10-months     Stabilized
      97-years-old   Lymphoma                                                                           *Hospice
                     Stage III
(6)   H. D.,         Stomach        November 15, 2018   November 19, 2018     Alive        4-months     Stabilized
      62-years-old   Stage IV                                                                           (told would die in
                                                                                                        12/2018)
(7)  R. H.,          Esophageal     December 26, 2016      March 2017         Alive       27-months     In Remission
     54-years-old    Stage II
 (8) J. M.,          Laryngeal       February, 2018      March 28, 2018       Alive       13-months     In Remission
     78-years-old    Stage IV
 (9) C. M.,          Colon           October 03, 2018   November 16, 2018     Alive        4-months     In Progress
     73-years-old    Stage III
(10) J. R.,          Chronic              2015              June 2018         Alive       48-months     In Progress
     59-years-old    Lymphocytic
                     Leukemia
                     Stage IV
(11) C. M.,          Lung                 2012          February 11, 2018    Deceased      8-months     Deceased
     75-years-old    Stage IV                                               12/01/2018                  (extended life for
                                                                                                        8-months)
(12) J. P.,          Breast         December 07, 2018    January 21, 2019     Alive       1½-months     In Progress
     43-years-old    Stage II
(13) B.S.,           Lung            November, 2018      January 30, 2019     Alive        4-months     New
     78-years-old    Stage I



                                                                                                  App. 000117
                          LONGEVITY only Golden Sunrise Nutraceutical Therapy                                 Page: 2 of 2
(#)         NAME      CANCER             DATE            DATE START           ALIVE       DURATION           STATUS
             AGE       STAGE          DIAGNOSED          KEMOHERBS               or       From Date of
                                                                            DECEASED      DIAGNOSES
(14) J. S.,         Pancreatic      November 21, 2017   December 01, 2017     Deceased      7-months     Deceased
     75-years-old   Stage II-III          (BX)                               06/17/2018
(15) M. G.,         Bladder           October 2014        August 2018           Alive       7-months     In progress
     92-years-old   Stage IV
(16) S. W.,         (?)Increasing   February 01, 2018    November, 2018        Alive       12-months     New
     69-years-old   CEA




                                                                                                   App. 000118
Remarkable Results on 10 of 42 Patients




                                  App. 000119
                         REMARKABLE RESULTS ON 10 OF 42-PATIENTS                                                        Page: 1 of 1
(#)      NAME & AGE      CANCER                   DATE                                          RESULTS
                          STAGE                DIAGNOSED
(1)   J. A.,          Prostate                   May 2018                 On KemoHerbs for 2-months.
      73-year-old     Stage II                                            Primary care doctor gave verbal report of no more
                                                                          prostate cancer.
(2)   J. A.,          Lymphoma                  October 2017              On Hospice since about February 2018, KemoHerbs
      81-years-old    Stage IV                                            March 18, 2018 – July 24, 2018
                                                                          Passed away August, 2018
                                                                          Extended life about 6 Months.
(3)   R. A.,          Breast cancer           September 2017              Remission.
      66-year-old     Stage II
(4)   E. C.,          Lymphoma                 May 16, 2018               Advised Hospice
      97-years-old    Large B-Cell        Given to live 4–6-months        On ImunStem and Aktiffvate alone from June 01, 2018
                      Stage III                                           – Current.
                                                                          Currently very vibrant and ambulatory woman.
(5)   A. E.,          Colon Cancer                  2014                  Early Remission June 02, 2018
      37-years-old    Stage IV                                            CEA dropping 455.2 (8/31/18) to 271.7 (11/19/18).
                                                                          On KemoHerbs June 02, 2018 to current.
(6)   H. D.,          Gastric                November 15, 2018            Surgeons said he would die December, 2018.
      62-years-old    Stage II-III                                        KemoHerbs November 19, 2018-currently
                                                                          Extend life 3+months
(7)   R. H.,          Esophageal             December 26, 2016            Only use KemoHerbs February 20, 2017 to current
      54-years-old    Stage II                                            date. In “Remission”
(8)   J. M.,          Laryngeal                February 2018              Only Use KemoHerbs March 28, 2018 to Currently. In
      78-years-old    Stage IV                                            “Remission”
(9)   C. M.,          Lung                          2012                  KemoHerbs February 11, 2018 – June 3, 2018. Would
      75-years-old    Stage IV                                            have passed away February, 2018 but extended life
                                                                          until December 01, 2018.
(10) J. O.,           Colon Cancer    March 24, 2016                      KemoHerbs April, 2017
     44-years-old     Stage IV        CEA started rising March, 2017 so   When started the I/A on April 30, 2016, literally within
                                      switched to KemoHerbs. Gave the     2-3 days the sores in his mouth and feet from the
                                      patient another year to live.       chemotherapy were healed. When he was told that the
                                                                          chemotherapy was no longer working, at Cedars-Sinai
                                                                          Hospital on March, 2017, the patient started Golden
                                                                          Sunrise Nutraceutical KemoHerbs in April, 2017.



                                                                                                           App. 000120
CANCER Plan of Care
            CELLULAR THERAPY

       DIETARY SUPPLEMENT PRODUCTS

KemoHerb-1, KemoHerb-2, KemoHerb-PI, KemoHerb-NR,
 AnterFeeron-1, AnterFeeron-2, CRProtein, HyProtein-1,
   Hyprotein-2, HyProtein-3, HyProtein-4, LyProtein,
               ImunStem, and Aktiffvate


                      COMPANY

            Golden Sunrise Nutraceutical, Inc.
                    219 North E Street
            PORTERVILLE, CA 93257 * U.S.A.
                Phone No.: 1.559.781.0658
                 Fax No.: 1.559.615.1268

              PLEASE DOWNLOAD AT
            www.goldensunrisenutraceutical.com
                   “TREATMENT”



                                                 App. 000121
                                                   CANCER Plan of Care
                                                        CELLULAR THERAPY

                           TABLE OF CONTENTS
SECTION                                                           PAGE NUMBER
Cover Sheet ………………………………………………………………………... Title Page
Table of Contents ……………………………………………………………………… 1
1.0 Introduction …………………………………………………………………….. 2
2.0 Indications and Usage ………………………………………………………….. 2
3.0 Instruction for the Treatment …………………………………………………. 2
4.0 Treatment, Dosage, and Administration ……………………………………… 3
     4.1 Administration and Dosage of ImunStem and Aktiffvate …………….. 6
     4.2 Administration and Dosage of KemoHerbs ……………………………. 6
     4.3 Administration and Dosage of AnterFeerons ………………………….. 7
     4.4 Administration and Dosage of CRProtein ………………………………. 7
     4.5 Administration and Dosage of HyProteins ……………………………... 7
     4.6 Administration and Dosage of LyProtein ………………………………. 8
     4.7 Treatment Interval and Duration of CANCER Plan of Care ………… 8
5.0 Warning and Precautions ……………………………………………………… 8
6.0 Therapeutic Response ………………………………………………………….. 8
     6.1 Expected Response KemoHerbs, AnterFeerons, CRProtein, …………..
           HyProteins, and LyProtein ……………………………………………… 8
     6.2 Adverse Sensitivity Response of ImunStem and Aktiffvate …………… 9
7.0 Clinical Pharmacology ………………………………………………………….. 9
     7.1 Mechanism of Action …………………………………………………….. 9
     7.2 Pharmacokinetics ………………………………………………………… 10
8.0   Results of Patients After Treatment …………………………………………… 10
9.0 Storage, Handling, and Products ………………………………………………. 10
     9.1 Storage and Stability …………………………………………………….. 10
     9.2 Product Classification …………………………………………………… 10
10.0 Attachment Labels ……………………………………………………………… 10
11.0 How Supplied ……………………………………………………………………. 11
     11.1 Packaging …………………………………………………………………. 11




     CANCER Plan of Care                                PageApp.   000122
                                                             1 of 11
                                                                     CANCER Plan of Care
                                                                             CELLULAR THERAPY
1.0   INTRODUCTION
      The herbal supplements created by Golden Sunrise Nutraceutical are designated as a
      Regenerative Medicine Advance Therapy (RMAT) by the Food & Drug Administration (FDA).
      The FDA formed a new department called Regenerative Medicine Advance Therapy because of
      the law enacted by the 114th United States Congress in December 2016 called the 21st Century
      Cures Act. These herbal supplements are able to penetrate the cells at the cellular level without
      any disruption or damage to the cells because they are recognized as food. This food provides
      the cells with the necessary building blocks for the cells to repair and rejuvenate themselves and
      flush out the accumulated toxins in the cells. They provide the building blocks for the cells to
      transform the crippled metabolic pathways back to the normal condition and allow the cells to
      perform the normal functions which they were designed to perform. Serious or Life-
      threatening conditions are either modified, reversed or cured (Cures Act p.180).

      Golden Sunrise Nutraceutical products and treatments improve genetic Telomeres for cellular
      regeneration which increases the overall-health of the body and can increase human longevity.

2.0   INDICATIONS AND USAGE
      The administration of herbal (botanical) CANCER Plan of Care treatments for human health
      has led to the benefit of cancer treatments from plant based materials. ImunStem, Aktiffvate,
      KemoHerbs, and AnterFeerons treatments have been of great value to patients that only use
      herbal / botanical products for overall health. This has led to improved outcomes for patients.

      CANCER Plan of Care treatment begins with the use of ImunStem and Aktiffvate to improve
      the immune system function. Then the administration of KemoHerbs are given to flush the
      system and attempt arresting the development of the cancer. The treatments are continued in
      order to support and attempt elimination of cancer cells.

      FIRST AND FOREMOST, IMUNSTEM, AKTIFFVATE, AND CANCER Plan of Care,
      MUST BE ADMINISTERED UNDER THE SUPERVISION OF A PHYSICIAN’S CARE.
      Once a medical evaluation of the patient has been completed and reviewed, those patients whose
      medical history and current medical condition is appropriate for treatment with CANCER Plan
      of Care will receive the product as follows:

3.0   INSTRUCTIONS FOR THE TREATMENT
      Before starting the ImunStem and Aktiffvate the patient must be in stable condition and the
      diagnosis must be established as thoroughly as possible. This prepares the treating health
      professional, and the patient as well, for expected changes that can occur because of the disease
      process, thus avoiding possible confusion which might erroneously be attributed to the Golden
      Sunrise Nutraceutical herbal / botanical products. A thorough history (and physical exam as
      well) is necessary because the health professional can often appreciate improvement in areas
      that are ignored by the patient. For example, the patient may be discouraged by little
      improvement in their hand arthritis but when asked, they may acknowledge improvement in

      CANCER Plan of Care                                                   Page 2 of 11
                                                                                 App. 000123
                                                                       CANCER Plan of Care
                                                                               CELLULAR THERAPY
      their back pain, or energy level or insomnia, etc.

      The ImunStem and Aktiffvate are the primary herbs of the whole program to begin the
      detoxification and repairing of the cells at the cell level. They prepare the immune system to
      respond appropriately to the Golden Sunrise Nutraceutical herbal / botanical products used in
      the CANCER Plan of Care protocols. Noticeable changes will occur when using ImunStem
      and Aktiffvate, whether it be increased energy, better ability to focus and concentrate, better
      sleep, improved joint pain, etc. In perhaps 2–3% of patients starting the ImunStem and
      Aktiffvate, the detoxification process may be more profound and may cause symptoms
      consisting of mild skin rashes, swelling in the face, hands or legs, headaches, poor energy,
      diarrhea, etc. These should be recognized not as a side-effect, but actually, the beginning of the
      healing process in the cells. This is caused by the release of toxins. These symptoms may last
      2–7 days. Depending on the vigor of these symptoms, the dose may need to be reduced, or
      stopped altogether, for varying lengths of time. When resuming the ImunStem and the
      Aktiffvate, the dose usually needs to be started at a reduced dose.

      In the CANCER Plan of Care the “Treatment, dosage and administration” call for “an initial
      five (5) sessions”. Each session has 2–bottles. The first bottle in each session are designed to
      reinforce and build upon what the ImunStem and Aktiffvate have started, e.g. nourishing the
      cells and flushing the toxins. But it is done in a much more powerful way. In the case of the
      KemoHerbs, it also destroys the cancer cells. The second bottle in each session prompts the
      natural flushing action of the body, that is vomiting and / or diarrhea to flush out the cancer cells
      and toxins (there can also be nasal discharge and coughing up sputum) (of interest these can be
      administered through a gastric tube or nasogastric tube. However, if the gastric tube was placed
      for dysphagia, then use of the gastric tube is contraindicated because of possible aspiration
      problem with vomiting). The general strength of the patient and their ability to comply with the
      CANCER Plan of Care protocol may limit them to the use of only the ImunStem and
      Aktiffvate.

4.0   TREATMENT, DOSAGE, AND ADMINISTRATION
      First, ImunStem and Aktiffvate are taken simultaneously at ½ – ¾ dropperful, 2–4 times a day,
      for approximately two (2) weeks before KemoHerb is administered. These products can
      improve the function of the immune system, as well as overall health. This step is very
      important, as it will maximize the effect of the KemoHerbs. An initial five (5) sessions of the
      KemoHerbs and AnterFeerons are given which are designed to be given very 2–4 weeks (it is
      highly recommended every two (2) weeks because of the seriousness of the condition). On
      occasion, the interval may be shortened to weekly or even more frequent intervals depending on
      the patient. Once the five (5) sessions are completed, and the patient’s condition is stable and
      shows appropriate improvement, other Golden Sunrise Nutraceutical products will be added,
      usually at 2–4 weeks intervals. These additional KemoHerb sessions (up to four (4) or five (5)
      additional treatments) will be included and are guided by the patient’s response and condition.


      CANCER Plan of Care                                                     Page 3 of 11
                                                                                  App. 000124
                                                                 CANCER Plan of Care
                                                                        CELLULAR THERAPY
These are high quality herbal products, some of which include AnterFeeron, CRProtein,
HyProtein, and LyProtein. Blood tests are at the discretion of the health professional, but it is
recommended that a baseline of blood tests have been done before starting the ImunStem and
Aktiffvate. Further blood tests could be done later, again at the discretion of the health
professional, at two (2) weeks or four (4) weeks, etc…. Before starting the five (5) initial
treatment sessions with the KemoHerbs, it is extremely important to verify if the patient is
constipated. This needs to be corrected as well as possible beforehand, because the ability of the
bowels to flush is the primary way of ridding the body of the toxins / cancer cells.

The “initial five (5) sessions” for the KemoHerbs and AnterFeerons consist of:

Liquids
Session #1: KemoHerb-1 and KemoHerb-2

Liquids
Session #2: KemoHerb-1 and KemoHerb-2, or AnterFeeron-1 and AnterFeeron-2

Capsules and Liquids
Session #3, #4, & #5: KemoHerb-PI and KemoHerb-NR, or AnterFeeron-1 and AnterFeeron-2

Each session is preferably 2–4 weeks apart. The interval may be shorter if the patient is
extremely sick, but stable enough to tolerate the vomiting / diarrhea process.

The interval between KemoHerb sessions is rigid and is recommended to be every 2–4 weeks.
The recommended sequence of the Golden Sunrise Nutraceutical herbal / botanical products can
be interrupted with a different herbal / botanical products, usually AnterFeeron-1 and
AnterFeeron-2 in either session #2, #4, or session #5, if the patient is not showing the expected
flushing response of vomiting and / or diarrhea. A poor flushing response indicates that the
patient is not ridding the body of the cancer cells/toxins appropriately. What is not “enough”?
Perhaps only one (1) or two (2) episodes of diarrhea / bowel movements? It should be noted,
however, that it is common not to have any vomiting in these sessions, so diarrhea episodes are
more telling of the effectiveness of each session. The reason to interject the AnterFeeron early
into the sequence is because it usually promotes the desired flushing response (besides fighting
infection).

The other very important information to monitor after each session are the patient’s symptoms.
Generally, they should feel stronger or more energy, etc… within 1–2 days after each session,
indicating a proper response to each session as well. Frequently the lab / scanning results will
lag behind the improvement in the patient’s symptoms.

For the liquid KemoHerbs and AnterFeerons, it is important to instruct the patient to walk
around, if they can, in 5–10 minutes after swallowing the first one fluid ounce (1 fl.oz.) bottle.

CANCER Plan of Care                                                     Page 4 of 11
                                                                            App. 000125
                                                                  CANCER Plan of Care
                                                                         CELLULAR THERAPY
In this short time there is frequently a better alertness or sense of energy, and if there are any
pain issues, they are noticeably improved or completely resolved. Pointing this out to the
patient is a quick positive reinforcer and encouragement of the effectiveness of the Golden
Sunrise Nutraceutical herbal / botanical products. Perhaps five (5%) percent of patients will
also notice, after the first bottle, better visual acuity or a “brightness” in the colors around them
(indicating penetration of the Golden Sunrise Nutraceutical herbs across the blood-brain barrier
into the central nervous system).

The duration of the flushing with the vomiting / diarrhea, generally lasts from 6–18 hours and
rarely up to forty-eight (48) hours. The onset and duration of the vomiting / diarrhea after the
second bottle in each session, varies not only for each person, but may also vary for the same
person from session to session. Usually the onset is within thirty (30) minutes after ingesting
the second bottle in each session, but it may not begin perhaps for up to six (6) hours. The
ImunStem and Aktiffvate should not be taken on the same day of the session (the ImunStem
and Aktiffvate will simply be flushed out) or the day after each session. It is advised that the
patient should be fasting before the sessions except for liquids. It is also best to start the
sessions in the morning, in order to hopefully avoid interrupting their sleep at night.

For any of the sessions, advise the patients to have some type of liquid electrolyte replenisher on
hand, e.g., Gatorade, Coconut water, etc. to replace the diarrheal losses. Without this, typical
dehydration symptoms can ensue, such as headaches, leg cramps, dizziness, weakness, etc....
Finally, for the liquid Golden Sunrise Nutraceutical herbal products in the first two (2) sessions
of each protocol, direct the patient to pour the contents into a drinking glass instead of drinking
it directly from the original one fluid ounce (1 fl.oz.) bottle provided. The liquid herbs must be
drunk as quickly as possible, like a shot of liquor, without sniffing it or holding it in the mouth
at all. Some people may need to be advised to pinch their nostrils to avoid smelling the herbal
products as they swallow them. Have a glass or bottle of water on hand to wash it down
immediately. Water, not milk or juices, generally helps better for the after–taste. Be careful to
avoid too much water, because becoming water-logged can cause nausea as well. If the throat is
very irritated, sucking on honey or syrup to coat the throat afterwards can be helpful. There
have been few problems encountered in this process. However, some patients who have asthma
have experienced bronchospasm. Taking 1–2 puffs of their rescue inhaler before swallowing the
liquid herbs has avoided or minimized this reaction.

The other Golden Sunrise Nutraceutical herbal products, most of which are given after the initial
five (5) sessions of treatment, are included in the price of the CANCER Plan of Care protocol.
They include AnterFeeron (the AnterFeeron-I and AnterFeeron-II must be given in the same
session), CRProtein, HyProtein, and LyProtein. They can be given in any order after the first
five (5) sessions every 2–4 weeks. Many of them can also cause the same flushing response as
the Golden Sunrise Nutraceutical herbal products used in the initial five (5) sessions. These are
designed primarily to improve nourishing and building the immune system.


CANCER Plan of Care                                                      Page 5 of 11
                                                                             App. 000126
                                                                 CANCER Plan of Care
                                                                         CELLULAR THERAPY
Lastly, it must be said, that the ability to heal by any discipline is influenced by numerous
factors. This is no different with the healing properties of these herbs. Crucial factors, some of
which are stress, diet, exercise, socioeconomic and psychological conditions, as well as
family/friend support, affect the response to any healing modality for each person. Addressing
these are required to help enhance the degree of healing that can occur for each person.

4.1 Administration and Dosage of IMUNSTEM and AKTIFFVATE
    Upon the first visit it is suggested that once the medical evaluation of the patient is
    completed and the medical staff deems it appropriate, then patients will receive ½ – ¾ of a
    dropperful of ImunStem and Aktiffvate 1–4 times a day. The medical staff should monitor
    the patient for at least ten (10) minutes to help with any effects that might need other
    medical attention. For example, ImunStem can open and improve blood flow throughout
    the body and the patient might experience a feeling of warmth and begin having nasal
    mucus discharge. After ten (10) minutes if the patient is stable, the ¾–dropperful of
    Aktiffvate should be administered with similar monitoring.
    ImunStem and Aktiffvate are liquid form:
        Product            Dose          Dose Size           Dose
                                       of a Dropper         Per day
     ImunStem              1 ml            ½-¾                1–4
     Aktiffvate            1 ml            ½-¾                1–4

    If the patient has a sensitivity of the mouth and / or throat, then the administration in one (1)
    teaspoonful of yogurt or filling empty gelatin capsules and swallowing them can be done.

4.2 Administration and Dosage of KEMOHERBS
    Take one fluid ounce (1 fl.oz.) of KemoHerb–1. Medical staff should monitor the patient
    for forty-five (45) minutes to one (1) hour following ingestion of KemoHerb–1. Next take
    one fluid ounce (1 fl.oz.) of KemoHerb–2, the same dosage. Again medical staff should
    monitor the patient for thirty (30) minutes following ingestion of KemoHerb–2.
    KemoHerb–1 and KemoHerb–2 are liquid form:
         Product            Dose
     KemoHerb-1            1 fl.oz.
     KemoHerb-2            1 fl.oz.

    Take twenty-five (25) capsules of KemoHerb–PI, ideally within fifteen (15) minutes. After
    fifteen (15) minutes take, twenty (25) capsules of KemoHerb–NR, ideally within fifteen
    (15) minutes.
    KemoHerb–PI and KemoHerb–NR are powder form:
          Product            Dose
     KemoHerb-PI          25 capsules
     KemoHerb-NR          25 capsules

CANCER Plan of Care                                                     Page 6 of 11
                                                                             App. 000127
                                                                CANCER Plan of Care
                                                                       CELLULAR THERAPY
4.3 Administration and Dosage of ANTERFEERONS
    Take one fluid ounce (1 fl.oz.) of AnterFeeron–1. Then in forty-five (45) minutes to one
    (1) hour following ingestion of AnterFeeron–1, take one fluid ounce (1 fl.oz.) of
    AnterFeeron–2, administered in the same dose.
    AnterFeeron–1 and AnterFeeron–2 are liquid form:
         Product           Dose
     AnterFeeron-1        1 fl.oz.
     AnterFeeron-2        1 fl.oz.

4.4 Administration and Dosage of CRPROTEIN
    Take one fluid ounce (1 fl.oz.) of CRProtein. Medical staff may monitor the patient for
    forty-five (45) minutes to one (1) hour following ingestion of CRProtein.
    CRProtein is liquid form:
         Product           Dose
     CRProtein            1 fl.oz.

4.5 Administration and Dosage of HYPROTEINS
    Take twenty-four (24) capsules of HyProtein–1 (ideally take each dose of twenty-four (24)
    capsules within a fifteen (15) minutes space of time). After thirty (30) minutes, take twenty-
    four (24) capsules of HyProtein–2. After thirty (30) minutes, take twenty-four (24)
    capsules of HyProtein–3. After five (5) hours, take twenty-four (24) capsules of
    HyProtein–4 (½ of the bottle). After another five (5) hours, take the last twenty-four (24)
    capsules of HyProtein–4.
    HyProteins are powder form:
         Product              Dose
     HyProtein-1           24 capsules
     HyProtein-2           24 capsules
     HyProtein-3           24 capsules
     HyProtein-4           24 capsules

4.6 Administration and Dosage of LYPROTEINS
    Take twenty-five (25) capsules of LyProtein, ideally within fifteen (15) minutes. After
    fifteen (15) minutes, take the last twenty-five (25) capsules of LyProtein, ideally within
    fifteen (15) minutes.
    LyProtein is powder form:
         Product            Dose
     LyProtein          50 capsules

4.7 Treatment Interval and Duration of CANCER Plan of Care
    The basic treatment recommended by Golden Sunrise Nutraceutical for cancer requires five
    (5) initial sessions of herbal (botanical) products (usually including KemoHerb–1,


    CANCER Plan of Care                                               PageApp.   000128
                                                                           7 of 11
                                                                     CANCER Plan of Care
                                                                            CELLULAR THERAPY
          KemoHerb–2, KemoHerb–PI, KemoHerb–NR, AnterFeeron–1, and AnterFeeron–2).
          These are recommended to be taken every 2–4 weeks apart. Then additional sessions (up to
          four (4) or five (5) more) will be included, if warranted by the patient’s response and
          condition, with other high quality herbal products (some of which include CRProtein,
          HyProteins, and LyProtein). These are also recommended to be taken every 2–4 weeks
          apart.

      If the CANCER Plan of Care program has successfully arrested or reversed the cancer process,
      then every 6–12 months a detoxification Golden Sunrise Nutraceutical herbal treatment session
      will be used as a preventative treatment for cancer re-emergence. ImunStem and Aktiffvate will
      be continued indefinitely, but tapered to a lower dose, for example, ¼ dropperful of each every
      other day.

5.0   WARNING AND PRECAUTIONS
      ADMINISTRATION OF IMUNSTEM, AKTIFFVATE, KEMOHERBS, ANTERFEERONS,
      CRPROTEIN, HYPROTEINS AND LYPROTEIN SHOULD ALWAYS BE UNDER THE
      SUPERVISION OF A PHYSICIAN. RECOMMENDATION FOR GOLDEN SUNRISE
      NUTRACEUTICAL CANCER PLAN OF CARE IS BASED ON MEDICAL EVALUATION
      OF THE PATIENT, AND LABORATORY RESULTS. ONLY USE UNDER THE
      SUPERVISION OF A PHYSICIAN’S CARE.

6.0   THERAPEUTIC RESPONSE

      6.1 Expected Response of KemoHerbs, AnterFeerons, CRProtein, HyProteins, and LyProtein
          The CANCER Plan of Care process can promote the body’s natural cleansing process
          which usually will include responses such as nausea, vomiting, diarrhea, and mucus
          discharges. Other possible symptoms a person can experience may depend on the person’s
          previous health issues, such as headaches, migraines, weakness, muscle aches, joint pain,
          heart palpitations, inflammation of the throat, excessive bloating, gas, and shortness of
          breath. These symptoms are only temporary at the time that the patient is being treated with
          CANCER Plan of Care. ONLY USE UNDER THE SUPERVISION OF A PHYSICIAN’S
          CARE.

      6.2 Adverse Sensitivity Response of ImunStem and Aktiffvate
           Can cause severe allergic skin rashes.
           Vomiting.
           In rare circumstances an adverse sensitivity response in the mouth, such as mild blisters,
          have occurred.
           A burning sensation in the throat in the beginning of oral treatment may occur, but it
          subsides. If the burning sensation persists, gelatin capsules used for administration, may be
          substituted as an alternative.


      CANCER Plan of Care                                                  Page 8 of 11
                                                                                App. 000129
                                                                     CANCER Plan of Care
                                                                             CELLULAR THERAPY
7.0   CLINICAL PHARMACOLOGY

      7.1 Mechanism of Action
          Golden Sunrise Nutraceutical produces herbal (botanical) products which help to regenerate
          the cell and promote the cellular metabolism to return to homeostasis in the human body.

          It is postulated that in arresting abnormal cellular mutation, the precursors for normal and
          enhanced cellular regeneration and cellular division can be accelerated in relation to the
          selective existing disease pathology. It is therefore theorized that the combination of the
          body’s thermal energy, particularly during variance mutation and inflammatory processes,
          potentiates the self–propelling of molecules by possible passive membrane transportation or
          passive diffusion of the Golden Sunrise Nutraceutical products intact across all cell
          membranes. This also includes across the blood–brain barrier, which allows its efficacy and
          activity for the central nervous system.

          Golden Sunrise Nutraceutical products possess a bipolarity and a lipophilicity that facilitates
          molecular diffusion through various permeable and selective membranes. In–vivo studies
          on test subjects have indicated that the cell membrane integrity remains intact and is not
          disrupted or destroyed in the process of assimilating into the cell, thus ensuring long-term
          effectiveness.

          The technology developed by Golden Sunrise Nutraceutical is the key for the various herbs’
          effectiveness on the immune system and cellular metabolism. They have immune-
          stimulating properties. In-vivo studies on treated patients demonstrate increasing
          phagocytic activity and synthesis of helper cell function. Golden Sunrise Nutraceutical
          products have shown to transform Deoxyribonucleic Acid / Ribonucleic Acid (DNA / RNA)
          repair, before, during and after chemotherapy drugs, prescription drugs, toxic exposure and
          chemical induced damage. These herbs have a variety of effects including anti-oxidant
          activity and anti-inflammatory properties.

          Golden Sunrise Nutraceutical products can play an integral role in hypothalamic activity,
          easing both parasympathetic and sympathetic nervous systems towards a state of
          homeostasis. For example, blood pressure level is directly linked to the sympathetic
          nervous system. The normalizing of blood pressure levels exhibited following
          administration of Golden Sunrise Nutraceutical products are compatible with the
          stabilization of the sympathetic nervous system activity. Golden Sunrise Nutraceutical
          products reduces inflammation by affecting immune responsiveness through
          neuroendocrine factors. Improvement of balance problems, a side effect of some
          chemotherapies, by Golden Sunrise Nutraceutical products is thought to be from
          improvement of vestibular function. Golden Sunrise Nutraceutical products have produced
          significant drop in blood sugar levels. Documented drop in blood sugar has occurred from


      CANCER Plan of Care                                                   Page 9 of 11
                                                                                 App. 000130
                                                                     CANCER Plan of Care
                                                                            CELLULAR THERAPY
           440 mg/dL to 59 mg/dL in less than two (2) hours without the patient experiencing any
           symptoms such as dizziness, weakness, sweating, etc., and still carry on the usual daily
           activities. Cancer metabolism requires glucose for the fermentation process (glycolysis) to
           produce its energy for growth and development. This drop in blood glucose arrests the
           fermentation process and the cancer.

       7.2 Pharmacokinetics
           Golden Sunrise Nutraceutical products are readily absorbed into soft tissue when taken as
           an oral dose. This is accomplished because Golden Sunrise Nutraceutical products readily
           passes through membrane tissue by passive diffusion.

           The Golden Sunrise Nutraceutical dietary supplements are metabolized by the body to more
           hydrophilic products that are excreted in the urine and feces.

8.0    RESULTS OF PATIENTS AFTER TREATMENT
       Can download at www.goldensunrisenutraceutical.com under “TREATMENT” click “Cancer
       Survival Rate Results”

9.0    STORAGE, HANDLING, AND PRODUCTS

       9.1 Storage and Stability
           STORAGE: Store materials at controlled room temperature 20°C (68°F).

           STABILITY: CANCER Plan of Care is chemically stable for two (2) years at room
           temperature. Do not freeze.

       9.2 Product Classification
           Dietary Supplement.

10.0   ATTACHMENT LABELS
       KemoHerb–1, KemoHerb–2, KemoHerb–NR, KemoHerb–PI, AnterFeeron–1,
       AnterFeeron–2, CRProtein, HyProtein–1, HyProtein–2, HyProtein–3, HyProtein–4,
       LyProtein, ImunStem, and Aktiffvate




       CANCER Plan of Care                                                 Page 10 of 11
                                                                                App. 000131
                                                      CANCER Plan of Care
                                                                CELLULAR THERAPY

11.0   HOW SUPPLIED

       11.1 Packaging
               PRODUCT       CONTAINER              NET
                              CONTENT          CONTENT
            ImunStem           3 bottles      1 fl.oz. Liquid
            Aktiffvate         3 bottles      1 fl.oz. Liquid
            KemoHerb-1         2 bottles      1 fl.oz. Liquid
            KemoHerb-2         2 bottles      1 fl.oz. Liquid
            KemoHerb-PI        1 bottles   25 capsules Powder
            KemoHerb-NR        1 bottles   25 capsules Powder
            AnterFeeron-1      2 bottles      1 fl.oz. Liquid
            AnterFeeron-2      2 bottles      1 fl.oz. Liquid
            LyProtein          1 bottles   50 capsules Powder
            CRProtein          1 bottles      1 fl.oz. Liquid
            HyProtein-1        1 bottles   24 capsules Powder
            HyProtein-2        1 bottles   24 capsules Powder
            HyProtein-3        1 bottles   24 capsules Powder
            HyProtein-4        1 bottles   48 capsules Powder




       CANCER Plan of Care                                  Page 11 of 11
                                                                  App. 000132
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                KemoHerb–1
                                       Dietary Supplement
                                               WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Bilberry leaf               40mg           **
Graviola extract           120mg          **
Goldenseal extract          80mg          **
** Daily Value (DV) not established.

Other Ingredients: solvents, organic compounds, Chuchuhuasi extract, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”
“Reduces Stress and Frustration”

The KemoHerb–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with KemoHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of KemoHerb–1 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

KemoHerb–1 dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of KemoHerb–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                   App. 000133
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                  KemoHerb–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Olive leaf extract         84mg            **
Papaya leaf extract       112mg            **
Vinca extract             110mg            **
 ** Daily Value (DV) not established.
Other Ingredients: solvents, organic compounds, Chuchuhuasi extract, Cat’s claw, and Turmeric.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The KemoHerb–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with KemoHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of KemoHerb–2 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

KemoHerb–2 dietary supplement may help promote bowel movements.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of KemoHerb–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000134
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                               KemoHerb–PI
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 25 capsules serving
Amount Per Serving                     %DV
Bilberry            40mg                **
Graviola           120mg                **
Goldenseal          50mg                **
 ** Daily Value (DV) not established.
Other ingredients: Chuchuhuasi, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The KemoHerb–PI has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with KemoHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-five (25) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of KemoHerb–PI, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000135
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                             KemoHerb–NR
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
 Serving Size: 350mg per capsule
 Serving Per Container: 25 capsules serving
 Amount Per Serving                    %DV
 Gotu kola          60mg                **
 Foti               35mg                **
 Vinca              45mg                **
 ** Daily Value (DV) not established.
Other ingredients: Green tea, Rhodiola, Yucca, and Turmeric.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The KemoHerb–NR has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with KemoHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-five (25) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of KemoHerb–NR, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000136
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–1
                                      Dietary Supplement
                                               WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Bilberry leaf              40mg            **
Graviola                  120mg            **
Goldenseal                 80mg            **
 ** Daily Value (DV) not established.
Other Ingredients: solvents, organic compounds, Chuchuhuasi, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The AnterFeeron–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–1 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–1 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000137
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Astragalus               20mg              **
Reishi                   95mg              **
Mistletoe                45mg              **
 ** Daily Value (DV) not established.
Other Ingredients: Cat’s claw, organic compounds, Echinacea, and Cordyceps.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The AnterFeeron–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–2 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–2 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000138
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                        CRProtein
                                        Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Cat’s claw                35mg             **
Selfheal                  10mg             **
Rosemary                  20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The CRProtein has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with CRProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of CRProtein into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

CRProtein dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of CRProtein, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000139
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                  HyProtein–1
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 24 capsules serving
Amount Per Serving                         %DV
Astragalus                 95mg             **
Oregano                    40mg             **
Cat’s claw                 70mg             **
 ** Daily Value (DV) not established.
Other ingredients: Olive leaf and Blood root.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000140
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                  HyProtein–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 24 capsules serving
Amount Per Serving                         %DV
Blood root                 55mg             **
Reishi                     75mg             **
Green tea                  40mg             **
 ** Daily Value (DV) not established.
Other ingredients: Turmeric, Pokeweed, and Garlic.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000141
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                   HyProtein–3
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



           SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 24 capsules serving
Amount Per Serving                         %DV
Ashwagandha                 45mg            **
Garlic                      60mg            **
Turmeric                    30mg            **
 ** Daily Value (DV) not established.
Other ingredients: Ginkgo, Green tea, and Catuaba bark.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–3 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–3, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000142
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                 HyProtein–4
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



            SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 48 capsules serving
Amount Per Serving                         %DV
St. John’s wort             50mg            **
Reishi                      30mg            **
Garlic                      25mg            **
 ** Daily Value (DV) not established.
Other ingredients: Kudzu, Goldenseal, and Licorice root.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–4 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–4, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000143
                                                                        CANCER Plan of Care
                                                                                CELLULAR THERAPY

                                      LyProtein
                                       Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



           SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 50 capsules serving
Amount Per Serving                         %DV
Horse chestnut              25mg            **
Garlic                      40mg            **
Turmeric                    50mg            **
 ** Daily Value (DV) not established.
Other ingredients: Sea cucumber, Astragalus, Bilberry, Olive leaf, and St. John’s wort.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The LyProtein has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with LyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-five (25) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of LyProtein, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                    App. 000144
                                                                          CANCER Plan of Care
                                                                                 CELLULAR THERAPY

                                     ImunStem                         ®

                                       Dietary Supplement
                                                 WARNING
                                       Keep out of reach of children
                               do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Olive Leaf extract         260mg             **
Yarrow extract              52mg             **
Rosemary extract            63mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Organic compounds and solvents, monoterpene, Cassia oil, and Yucca.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.
* Yarrow flowers can cause severe allergic skin rashes.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of ImunStem under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ dropperful, 1–4 times a day, as frequently as every 1–3 hours.

ImunStem dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of ImunStem, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                     App. 000145
                                                                         CANCER Plan of Care
                                                                                 CELLULAR THERAPY

                                            Aktiffvate                     ®

                                             Dietary Supplement
                                                       WARNING
                                             Keep out of reach of children
                                     do not use if safety seal is damaged or missing

          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Turmeric extract           175mg             **
Cayenne extract             40mg             **
Eucalyptus extract          20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Wintergreen, solvents, organic compounds, Yucca, and Olive leaf.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”
“Reduces Stress and Frustration”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of Aktiffvate under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ of a dropperful, 1–4 times a day, as frequently as every 1–3 hours.

Aktiffvate dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of Aktiffvate, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                       App. 000146
                    ®




Insulin Resistance Cellular Restorative Results




 With Our 100% Herbal Treatment
                          Golden Sunrise Nutraceutical, Inc.
                          P.O. Box 510
                          PORTERVILLE, CA 93258
                          Phone No.: 1.559.781.0658
                          Fax No.: 1.559.615.1268

 Revised: 04/2019
                                            App. 000147
                                      P.O. Box 510
                                      PORTERVILLE, CA 93258
                                      Phone No.: 1.559.781.0658
                                      Fax No.: 1.559.615.1268




                        TITLE

Insulin Resistance Cellular Restorative Results


                      PRODUCT

  DetoxHerb-1, DetoxHerb-2, DetoxHerb-PI, DetoxHerb-NR,
   AnterFeeron-1, AnterFeeron-2, CRProtein, HyProtein-1,
      HyProtein-2, HyProtein-3, HyProtein-4, LyProtein,
                 ImunStem, and Aktiffvate



                         DATE

                     April 22, 2019




                                                App. 000148
                                                                                        P.O. Box 510
                                                                                        PORTERVILLE, CA 93258 * U.S.A.
                                                                                        Phone No.: 1.559.781.0658 Fax No.: 1.559.615.1268


                INSULIN RESISTANCE CELLULAR RESTORATIVE RESULTS
 THERAPIES                    SIDE-EFFECTS           QUALITY OF LIFE        RECOMMENDED TREATMENT                      COST (US$)

METABOLIC Plan fo Care               None             Good Well-being        Golden Sunrise Nutraceutical           170,000 - 200,000
                                                                             METABOLIC Plan of Care
No Treatments                 --------------------    -------------------          No Treatments                   -------------------------


                            RESULTS OF PATIENTS AFTER TREATMENT
                                             with
                       GOLDEN SUNRISE NUTRACEUTICAL “METABOLIC Plan of Care”
 Approximately 99%-of-patients treated with Golden Sunrise Nutraceutical’s DetoxHerbs (dietary supplement) found that their
 quality-of-life improved. These patients were treated with DetoxHerbs over the course of a few months and up to 6-years.

 Physicians noted that implementing Golden Sunrise Nutraceutical’s METABOLIC Plan of Care, with Golden Sunrise Nutraceutical’s
 products produced a signiﬁcant response in 99% of their patients. A reduction of symptoms in patient’s with conditions such as
 Alzheimer’s Disease, Amyotrophic Lateral Sclerosis (ALS), Autoimmune Disorders, Cancer, Constipation, Debilitating Chronic Pain,
 Diabetes, Epilepsy, Fibromyalgia, Fragile-X Syndrome, Hemostasis (less blood to be lost), Hypertention, Menopause, Multiple
 Sclerosis (MS), Obesity, Osteopenia, Parkinson’s Disease, Prostate, Schizophrenia, Stroke, Thalassemia, Viral Illesses and more.

 The signiﬁcant response observed by physicians and patients was a decrease in glucose levels, with no reported side-eﬀects, such as
 dizziness or disorientation. Some have shown a drop in their blood sugar levels from 400-mg/dL to 50-mg/dL, and remained ﬁne
 without the need for sugars. Patients also reported signiﬁcant improvements in mood and skill development during treatments.

 Patients being treated with Golden Sunrise Nutraceutical METABOLIC Plan of Care have shown dramatic improvements in bone
 density for patients. Numbers based on densitometry have shown a reversal in L1-L4 from -3.6% to 3.4% in 1-year.




                                                                                                                              April 01, 2019
                                                                                                                   App. 000149
Insulin Resistance Cellular Restorative Results




                                             App. 000150
                                 INSULIN RESISTANCE CELLULAR RESTORATIVE RESULTS                                                        Page: 1 of 3
    (#)            NAME                    PATIENTS BEFORE TREATMENT                       RESULTS OF PATIENTS AFTER TREATMENT
                    and                                 of                                                            with
                    AGE                             DIAGNOSIS                                   GOLDEN SUNRISE NUTRACEUTICAL
*
                                                                                                          Metabolic Plane of Care
    (1)   N. O.,                             Type I Diabetes Mellitus diagnosed          Started GSN* July 2018.
          22-years-old                                  February 2012                    Requires insulin refill for the pump every 40-50-days.
                                      Requires insulin refill for the pump every 30-days During the third detoxification treatment the blood sugar
                                                                                         dropped from over 400-mg/dL to 50-mg/dL. He felt great
                                                                                         energy, no tremors, instead of the usual sense of
                                                                                         apprehension, tremors and feeling sick.
                                      Requires constant use of the pump                  During the detoxification treatments remains off of the
                                                                                         pump for 6-8-hours.
                                      Required changing needle insertion site every      Requires changing needle insertion site every 10-14 days
                                      3-4-days to avoid infection                        and still no signs of infection (redness, swelling, pus),
                                                                                         Hgb A1C improved from 9.1% to 8.6% in last 3-months,
                                                                                         January – April 2019.
                                      Poor energy, poor motivation, higher sleep         Much more energy, outside basketball and sports, more
                                      requirement and blood sugars always in the         motivation, less sleep requirement.
                                      300-mg/dL to 400-mg/dL
    (2)   S. T.,                                  Migraines and Osteopenia               Started GSN* July 2017.
          60-years-old                   Migraine headaches and general back ache        No more Migraines.
                                                                                         Bone Density L1-L4:
                                                                                         +3.4%{0.886 g/cm2, (59-year-old) 06/26/2018
                                                                                         -3.6%{0.857 g/cm2, (58-year-old) 07/05/2017
                                                                                         -2.7%{0.889 g/cm2, (54-year-old) 05/03/2013

    (3)   E. B.,                                Multiple Sclerosis DX-2002                Started GSN* October 04, 2017.
          47-years-old                            Bed bound since 2015
                                                                                          By April 04, 2019 able to walk with a lift walker about
                                                                                          30-minutes.
                                                                                          By April 19, 2019 he had been off of Topamax medicine
                                                                                          for tremors for a few months and reduced Gabapentin
                                                                                          600 mg. 3-times a day to 100-mg. three times a day.
                                                                                          Also recently completely off of Oxycontin ER-30mg
                                                                                          twice a day and tapered off of Percocet 10/325-three-
                                                                                          times a day to Percocet 5/325-½-tablet 1-2-times a day.
*GSN = Golden Sunrise Nutraceutical
                                                                                                                             App. 000151
                                 INSULIN RESISTANCE CELLULAR RESTORATIVE RESULTS                                                    Page: 2 of 3
    (#)            NAME                   PATIENTS BEFORE TREATMENT                       RESULTS OF PATIENTS AFTER TREATMENT
                    and                                of                                                          with
                    AGE                            DIAGNOSIS                                    GOLDEN SUNRISE NUTRACEUTICAL
*
                                                                                                        Metabolic Plane of Care
    (4)   J. G.,                                     Fibromyalgia                        Start ImunStem/Aktiffvate on May 2017.
          32-years-old                 Symptoms: Diffuse chronic muscle and tendon       Muscle and Tendon pain improved tremendously,
                                                      pain, fatigue                      avoided need for narcotic pain medication.

    (5)   S. M.,                                    Prostatic Hypertrophy                 Started GSN* December 2016.
          66-years-old                4-5-times up at night to urinate, slow urine stream Stopped Tamsulosin.
                                             On Tamsulosin 0.4-mg every day.              No problems with urination.

    (6)   D. M.,                              Severe right knee Osteoarthritis           Started GSN* May 2017.
          63-years-old                Chronic use of Motrin, Naprosyn, etc. and muscle   Cancelled knee surgery.
                                                   relaxers, Flexeril, etc.              No more use of anti-inflammatory medications or muscle
                                           Knee surgery scheduled August 2017            relaxers.
                                                                                         Able to climb stars and hike without arthritis pain.
    (7)   R. W.,                                           HTN                           Started GSN* on November 08, 2018.
          54-years-old                              High Blood Pressure                  Stopped all blood pressure medication by December 07,
                                      On Lisinopril 10-mg/day and Bystolic every day     2018.
    (8)   L. G.,                                       Lyme Disease                      Started GSN* October 07, 2018.
          52-years-old                   Recurrent muscle aches and pains, chronic       Muscle aches and pains improved. Insomnia totally
                                       insomnia, chronic headaches on 30-pills a day     resolved. Frequency of headaches greatly diminished.
                                                                                         Overall sense of well-being, fatigue some improvement.
                                                                                         Off all medication.
    (9)   C. A.,                           Alzheimer’s and Dementia since 2016           Started GSN* August 11, 2018.
          63-years-old                            Short term memory loss                 Within 3-4-days noticeable improvement in
                                               Disoriented to time and place             comprehension. Improved backaches and headaches.
                                             Difficulty following conversation
                                                         Confusion                       Stopped Aricept and Elavil anti-depressant and
                                                                                         Methocarbamol muscle relaxer. Decrease Celexa 20 mg.
                                                                                         anti-depressant from 1 1/2 tablets per day to ½ tablet per
                                                                                         day.
    (10) T. T.,                                     Psychotic Disorder                   Since on GSN* he has stopped all of his anti-psychotic
         48-years-old                        Auditory and visual hallucinations          medications and has minimal auditory hallucinations.

*GSN = Golden Sunrise Nutraceutical
                                                                                                                            App. 000152
                                 INSULIN RESISTANCE CELLULAR RESTORATIVE RESULTS                                                    Page: 3 of 3
    (#)           NAME                    PATIENTS BEFORE TREATMENT                        RESULTS OF PATIENTS AFTER TREATMENT
                   and                                 of                                                           with
                   AGE                             DIAGNOSIS                                    GOLDEN SUNRISE NUTRACEUTICAL
*
                                                                                                         Metabolic Plane of Care
    (11) J. A.                                        Autism, Severe                     GSN* November 2016.
         2-years-old                          Diagnosed November 30, 2016                Within 3-days of starting GSN he gave eye contact.
                                                       Hyperactive                       In 1-week he was making sounds instead of crying.
                                         Running around, very poor attention span        He hugs people now.
                                                     Poor eye contact                    Sits and watches television shows.
                                                      Poor Appetite                      Sleeping much better.
                                                         Insomnia
                                             Avoid personal contact, hugging
    (12) S. W.,                          Diabetes Mellitus, Peripheral Neuropathy        On GSN* no longer need to pack feet in ice to sleep at
         68-years-old                 Packed lower legs and feet in ice before bedtime   night.
                                                 in order to sleep at night
    (13) R. M.,                                        Parkinson’s                       GSN* started March of 2015.
         78-years-old                 On several Medications (4-of-them) and not well    Only on one medication, much better control. Walking
                                         controlled. Shaking, drooling and falling       2-miles with a walker. No falls.




*GSN = Golden Sunrise Nutraceutical
                                                                                                                           App. 000153
METABOLIC Plan of Care
            CELLULAR THERAPY

         DIETARY SUPPLEMENT PRODUCTS

 DetoxHerb-1, DetoxHerb-2, DetoxHerb-PI, DetoxHerb-NR,
  AnterFeeron-1, AnterFeeron-2, CRProtein, HyProtein-1,
     Hyprotein-2, HyProtein-3, HyProtein-4, LyProtein,
                 ImunStem, and Aktiffvate


                       COMPANY

             Golden Sunrise Nutraceutical, Inc.
                     219 North E Street
             PORTERVILLE, CA 93257 * U.S.A.
                 Phone No.: 1.559.781.0658
                  Fax No.: 1.559.615.1268

               PLEASE DOWNLOAD AT
             www.goldensunrisenutraceutical.com
                    “TREATMENT”




                                                  App. 000154
                                              METABOLIC Plan of Care
                                                        CELLULAR THERAPY

                              TABLE OF CONTENTS
SECTION                                                           PAGE NUMBER
Cover Sheet ………………………………………………………………………... Title Page
Table of Contents ……………………………………………………………………… 1
1.0 Introduction …………………………………………………………………….. 2
2.0 Indications and Usage ………………………………………………………….. 2
3.0 Instruction for the Treatment …………………………………………………. 2
4.0 Treatment, Dosage, and Administration ……………………………………… 3
     4.1 Administration and Dosage of ImunStem and Aktiffvate …………….. 6
     4.2 Administration and Dosage of DetoxHerbs ……………………………. 6
     4.3 Administration and Dosage of AnterFeerons ………………………….. 7
     4.4 Administration and Dosage of CRProtein ………………………………. 7
     4.5 Administration and Dosage of HyProteins ……………………………... 7
     4.6 Administration and Dosage of LyProtein ………………………………. 8
     4.7 Treatment Interval and Duration of METABOLIC Plan of Care …… 8
5.0 Warning and Precautions ……………………………………………………… 8
6.0 Therapeutic Response ………………………………………………………….. 8
     6.1 Expected Response DetoxHerbs, AnterFeerons, CRProtein, …………..
           HyProteins, and LyProtein ……………………………………………… 8
     6.2 Adverse Sensitivity Response of ImunStem and Aktiffvate …………… 9
7.0 Clinical Pharmacology ………………………………………………………….. 9
     7.1 Mechanism of Action …………………………………………………….. 9
     7.2 Pharmacokinetics ………………………………………………………… 10
8.0   Results of Patients after Treatment …………………………………………… 10
9.0 Storage, Handling, and Products ………………………………………………. 10
     9.1 Storage and Stability …………………………………………………….. 10
     9.2 Product Classification …………………………………………………… 10
10.0 Attachment Labels ……………………………………………………………… 11
11.0 How Supplied ……………………………………………………………………. 11
     11.1 Packaging …………………………………………………………………. 11




     METABOLIC Plan of Care                             PageApp.   000155
                                                             1 of 11
                                                                METABOLIC Plan of Care
                                                                               CELLULAR THERAPY
1.0   INTRODUCTION
      Golden Sunrise Nutraceutical metabolic therapies will treat Serious or Life-threatening
      conditions. These conditions result from an accumulation of toxins in the body from food
      additives, preservatives, pesticides, prescription drugs, and industrial pollution that disrupt the
      immune system and cell metabolism. Regenerating the cellular metabolic abnormalities with
      plant based botanicals found in the METABOLIC Plan of Care is the basis for the remarkable
      improvement for human health.

      The herbal supplements created by Golden Sunrise Nutraceutical are designated as a
      Regenerative Medicine Advance Therapy (RMAT) by the Food & Drug Administration (FDA).
      The FDA formed a new department called Regenerative Medicine Advance Therapy because of
      the law enacted by the 114th United States Congress in December 2016 called the 21st Century
      Cures Act. These herbal supplements are able to penetrate the cells at the cellular level without
      any disruption or damage to the cells because they are recognized as food. This food provides
      the cells with the necessary building blocks for the cells to repair and rejuvenate themselves and
      flush out the accumulated toxins in the cells. They provide the building blocks for the cells to
      transform the crippled metabolic pathways back to the normal condition and allow the cells to
      perform the normal functions which they were designed to perform. Serious or Life-
      threatening conditions are either modified, reversed or cured (Cures Act p.180).

      Golden Sunrise Nutraceutical products and treatments improve genetic Telomeres for cellular
      regeneration which increases the overall-health of the body and can increase human longevity.

2.0   INDICATIONS AND USAGE
      The administration of herbal / botanical METABOLIC Plan of Care treatments for human
      health has led to the benefit of metabolic syndrome treatments from plant based materials.
      ImunStem, Aktiffvate, DetoxHerbs, and AnterFeerons treatments have been of great value to
      patients that only use herbal / botanical products for overall health. This has led to improved
      outcomes for patients.

      METABOLIC Plan of Care treatment begins with the use of ImunStem and Aktiffvate to
      improve the immune system function. Then the administration of DetoxHerbs are given to flush
      the system and aim at arresting the development of the metabolic disorders. The treatments are
      continued in order to support the elimination of metabolic disorders.

      FIRST AND FOREMOST, IMUNSTEM, AKTIFFVATE, AND METABOLIC Plan of Care,
      MUST BE ADMINISTERED UNDER THE SUPERVISION OF A PHYSICIAN’S CARE.

      Once a medical evaluation of the patient has been completed and reviewed, those patients whose
      medical history and current medical condition is appropriate for treatment with METABOLIC
      Plan of Care will receive the product as follows:


      METABOLIC Plan of Care                                                  Page 2 of 11
                                                                                  App. 000156
                                                               METABOLIC Plan of Care
                                                                             CELLULAR THERAPY
3.0   INSTRUCTIONS FOR THE TREATMENT
      Before starting the ImunStem and Aktiffvate the patient must be in stable condition and the
      diagnosis must be established as thoroughly as possible. This prepares the treating health
      professional, and the patient as well, for expected changes that can occur because of the disease
      process, thus avoiding possible confusion which might erroneously be attributed to the Golden
      Sunrise Nutraceutical herbal / botanical products. A thorough history (and physical exam as
      well) is necessary because the health professional can often appreciate improvement in areas
      that are ignored by the patient. For example, the patient may be discouraged by little
      improvement in their hand arthritis but when asked, they may acknowledge improvement in
      their back pain, or energy level or insomnia, etc.

      The ImunStem and Aktiffvate are the primary herbs of the whole program to begin the
      detoxification and repairing of the cells at the cell level. They prepare the immune system to
      respond appropriately to the Golden Sunrise Nutraceutical herbal / botanical products used in
      the METABOLIC Plan of Care protocol. Noticeable changes will occur when using ImunStem
      and Aktiffvate, whether it be increased energy, better ability to focus and concentrate, better
      sleep, improved joint pain, etc. In perhaps 2–3% of patients starting the ImunStem and
      Aktiffvate, the detoxification process may be more profound and may cause symptoms
      consisting of mild skin rashes, swelling in the face, hands or legs, headaches, poor energy,
      diarrhea, etc. These should be recognized not as a side-effect, but actually, the beginning of the
      healing process in the cells. This is caused by the release of toxins. These symptoms may last
      2–7 days. Depending on the vigor of these symptoms, the dose may need to be reduced, or
      stopped altogether, for varying lengths of time. When resuming the ImunStem and the
      Aktiffvate, the dose usually needs to be started at a reduced dose.

      In the METABOLIC Plan of Care the “Treatment, dosage and administration” call for “an
      initial five (5) sessions”. Each session has two (2) bottles. The first bottle in each session are
      designed to reinforce and build upon what the ImunStem and Aktiffvate have started, e.g.
      nourishing the cells and flushing the toxins. But it is done in a much more powerful way. The
      second bottle in each session prompts the natural flushing action of the body, that is vomiting
      and / or diarrhea to flush out the toxins (there can also be nasal discharge and coughing up
      sputum) (of interest these can be administered through a gastric tube or nasogastric tube.
      However, if the gastric tube was placed for dysphagia, then use of the gastric tube is
      contraindicated because of possible aspiration problem with vomiting). The general strength of
      the patient and their ability to comply with the METABOLIC Plan of Care protocol may limit
      them to the use of only the ImunStem and Aktiffvate.

4.0   TREATMENT, DOSAGE, AND ADMINISTRATION
      First, ImunStem and Aktiffvate are taken simultaneously at ½ – ¾ dropperful, 2–4 times a day,
      for approximately two (2) weeks before DetoxHerb is administered. These products can
      improve the function of the immune system, as well as overall health. This step is very
      important, as it will maximize the effect of the DetoxHerbs. An initial five (5) sessions of the

      METABOLIC Plan of Care                                                Page 3 of 11
                                                                                 App. 000157
                                                         METABOLIC Plan of Care
                                                                      CELLULAR THERAPY
DetoxHerbs and AnterFeerons are given which are designed to be given very 2–4 weeks (it is
highly recommended every two (2) weeks because of the seriousness of the condition). On
occasion, the interval between DetoxHerb sessions is not rigid, and although it is recommended
to be done every 2–4 weeks, the session can be up to 1–2 months apart. Once the five (5)
sessions are completed, and the patient’s condition is stable and shows appropriate
improvement, other Golden Sunrise Nutraceutical products will be added, usually at 2–4 weeks
intervals. These additional DetoxHerb sessions (up to four (4) or five (5) additional treatments)
will be included and are guided by the patient’s response and condition.

These are high quality herbal products, some of which include AnterFeeron, CRProtein,
HyProtein, and LyProtein. Blood tests are at the discretion of the health professional, but it is
recommended that a baseline of blood tests have been done before starting the ImunStem and
Aktiffvate. Further blood tests could be done later, again at the discretion of the health
professional, at two (2) weeks or four (4) weeks, etc. Before starting the five (5) initial
treatment sessions with the DetoxHerbs, it is extremely important to verify if the patient is
constipated. This needs to be corrected as well as possible beforehand, because the ability of the
bowels to flush is the primary way of ridding the body of the toxins.

The “initial five (5) sessions” for the DetoxHerbs and AnterFeerons consist of:

Liquids
Session #1: DetoxHerb-1 and DetoxHerb-2

Liquids
Session #2: DetoxHerb-1 and DetoxHerb-2, or AnterFeeron-1 and AnterFeeron-2

Capsules and Liquids
Session #3, #4, & #5: DetoxHerb-PI and DetoxHerb-NR, or AnterFeeron-1 and AnterFeeron-2

Each session is preferably 2-4 weeks apart. The interval may be shorter if the patient is
extremely sick, but stable enough to tolerate the vomiting / diarrhea process.

The interval between DetoxHerb sessions is not rigid and although it is recommended to be every
2–4 weeks apart, they can be up to 1–2 months apart. The recommended sequence of the Golden
Sunrise Nutraceutical herbal / botanical products can be interrupted with a different herbal /
botanical products, usually AnterFeeron-1 and AnterFeeron-2 in either session #2, #4, or session
#5, if the patient is not showing the expected flushing response of vomiting and / or diarrhea. A
poor flushing response indicates that the patient is not ridding the body of the toxins
appropriately. What is not “enough”? Perhaps only one (1) or two (2) episodes of diarrhea /
bowel movements? It should be noted, however, that it is common not to have any vomiting in
these sessions, so diarrhea episodes are more telling of the effectiveness of each session. The


METABOLIC Plan of Care                                                Page 4 of 11
                                                                          App. 000158
                                                           METABOLIC Plan of Care
                                                                         CELLULAR THERAPY
reason to interject the AnterFeeron early into the sequence is because it usually promotes the
desired flushing response (besides fighting infection).

The other very important information to monitor after each session are the patient’s symptoms.
Generally, they should feel stronger or more energy, etc. within 1–2 days after each session,
indicating a proper response to each session as well. Frequently the lab / scanning results will
lag behind the improvement in the patient’s symptoms.

For the liquid DetoxHerbs and AnterFeerons, it is important to instruct the patient to walk
around, if they can, in 5–10 minutes after swallowing the first one fluid ounce (1 fl.oz.) bottle.
In this short time there is frequently a better alertness or sense of energy, and if there are any
pain issues, they are noticeably improved or completely resolved. Pointing this out to the
patient is a quick positive reinforcer and encouragement of the effectiveness of the Golden
Sunrise Nutraceutical herbal / botanical products. Perhaps five (5%) percent of patients will
also notice, after the first bottle, better visual acuity or a “brightness” in the colors around them
(indicating penetration of the Golden Sunrise Nutraceutical herbs across the blood-brain barrier
into the central nervous system).

The duration of the flushing with the vomiting / diarrhea, generally lasts from 6-18 hours and
rarely up to forty-eight (48) hours. The onset and duration of the vomiting / diarrhea after the
second bottle in each session, varies not only for each person, but may also vary for the same
person from session to session. Usually the onset is within thirty (30) minutes after ingesting
the second bottle in each session, but it may not begin perhaps for up to six (6) hours. The
ImunStem and Aktiffvate should not be taken on the same day of the session (the ImunStem
and Aktiffvate will simply be flushed out) or the day after each session. It is advised that the
patient should be fasting before the sessions except for liquids. It is also best to start the
sessions in the morning, in order to hopefully avoid interrupting their sleep at night.

For any of the sessions, advise the patients to have some type of liquid electrolyte replenisher on
hand, e.g., Gatorade, Coconut water, etc. to replace the diarrheal losses. Without this, typical
dehydration symptoms can ensue, such as headaches, leg cramps, dizziness, weakness, etc.
Finally, for the liquid Golden Sunrise Nutraceutical herbal products in the first two (2) sessions
of each protocol, direct the patient to pour the contents into a drinking glass instead of drinking
it directly from the original one fluid ounce (1–fl.oz.) bottle provided. The liquid herbs must be
drunk as quickly as possible, like a shot of liquor, without sniffing it or holding it in the mouth
at all. Some people may need to be advised to pinch their nostrils to avoid smelling the herbal
products as they swallow them. Have a glass or bottle of water on hand to wash it down
immediately. Water, not milk or juices, generally helps better for the after–taste. Be careful to
avoid too much water, because becoming water-logged can cause nausea as well. If the throat is
very irritated, sucking on honey or syrup to coat the throat afterwards can be helpful. There
have been few problems encountered in this process. However, some patients who have asthma


METABOLIC Plan of Care                                                   Page 5 of 11
                                                                             App. 000159
                                                          METABOLIC Plan of Care
                                                                         CELLULAR THERAPY
have experienced bronchospasm. Taking 1–2 puffs of their rescue inhaler before swallowing the
liquid herbs has avoided or minimized this reaction.

The other Golden Sunrise Nutraceutical herbal products, most of which are given after the initial
five (5) sessions of treatment, are included in the price of the METABOLIC Plan of Care
protocol. They include AnterFeeron (the AnterFeeron-I and AnterFeeron-II must be given in
the same session), CRProtein, HyProtein, and LyProtein. They can be given in any order after
the first five (5) sessions every 2–4 weeks. Many of them can also cause the same flushing
response as the Golden Sunrise Nutraceutical herbal products used in the initial five (5) sessions.
These are designed primarily to improve nourishing and building the immune system.

Lastly, it must be said, that the ability to heal by any discipline is influenced by numerous
factors. This is no different with the healing properties of these herbs. Crucial factors, some of
which are stress, diet, exercise, socioeconomic and psychological conditions, as well as family /
friend support, affect the response to any healing modality for each person. Addressing these
are required to help enhance the degree of healing that can occur for each person.

4.1 Administration and Dosage of IMUNSTEM and AKTIFFVATE
    Upon the first visit it is suggested that once the medical evaluation of the patient is
    completed and the medical staff deems it appropriate, then patients will receive ½ – ¾ of a
    dropperful of ImunStem and Aktiffvate 1–4 times a day. The medical staff should monitor
    the patient for at least ten (10) minutes to help with any effects that might need other
    medical attention. For example, ImunStem can open and improve blood flow throughout
    the body and the patient might experience a feeling of warmth and begin having nasal
    mucus discharge. After ten (10) minutes if the patient is stable, the ¾ dropperful of
    Aktiffvate should be administered with similar monitoring.
    ImunStem and Aktiffvate are liquid form:
        Product            Dose          Dose Size           Dose
                                       of a Dropper         Per day
     ImunStem              1 ml            ½-¾                1–4
     Aktiffvate            1 ml            ½-¾                1–4

    If the patient has a sensitivity of the mouth and / or throat, then the administration in one (1)
    teaspoonful of yogurt or filling empty gelatin capsules and swallowing them can be done.

4.2 Administration and Dosage of DETOXHERBS
    Take one fluid ounce (1 fl.oz.) of DetoxHerb–1. Medical staff should monitor the patient
    for forty-five (45) minutes to one (1) hour following ingestion of DetoxHerb–1. Next take
    one fluid ounce (1 fl.oz.) of DetoxHerb–2, the same dosage. Again medical staff should
    monitor the patient for thirty (30) minutes following ingestion of DetoxHerb–2.



METABOLIC Plan of Care
                                                                             App. 000160
                                                                        Page 6 of 11
                                                        METABOLIC Plan of Care
                                                                      CELLULAR THERAPY
    DetoxHerb–1 and DetoxHerb–2 are liquid form:
        Product        Dose
     DetoxHerb-1      1 fl.oz.
     DetoxHerb-2      1 fl.oz.

    Take twenty-five (25) capsules of DetoxHerb–PI, ideally within fifteen (15) minutes. After
    fifteen (15) minutes take, twenty (25) capsules of DetoxHerb–NR, ideally within fifteen
    (15) minutes.
    DetoxHerb–PI and DetoxHerb–NR are powder form:
          Product            Dose
     DetoxHerb-PI         25 capsules
     DetoxHerb-NR         25 capsules

4.3 Administration and Dosage of ANTERFEERONS
    Take one fluid ounce (1 fl.oz.) of AnterFeeron–1. Then in forty-five (45) minutes to one
    (1) hour following ingestion of AnterFeeron–1, take one fluid ounce (1 fl.oz.) of
    AnterFeeron–2, administered in the same dose.
    AnterFeeron–1 and AnterFeeron–2 are liquid form:
         Product           Dose
     AnterFeeron-1        1 fl.oz.
     AnterFeeron-2        1 fl.oz.

4.4 Administration and Dosage of CRPROTEIN
    Take one fluid ounce (1 fl.oz.) of CRProtein. Medical staff may monitor the patient for
    forty-five (45) minutes to one (1) hour following ingestion of CRProtein.
    CRProtein is liquid form:
         Product           Dose
     CRProtein            1 fl.oz.

4.5 Administration and Dosage of HYPROTEINS
    Take twenty-four (24) capsules of HyProtein–1 (ideally take each dose of twenty-four (24)
    capsules within a fifteen (15) minute space of time). After thirty (30) minutes, take twenty-
    four (24) capsules of HyProtein–2. After thirty (30) minutes, take twenty-four (24)
    capsules of HyProtein–3. After five (5) hours, take twenty-four (24) capsules of
    HyProtein–4 (½ of the bottle). After another five (5) hours, take the last twenty-four (24)
    capsules of HyProtein–4.
    HyProteins are powder form:
         Product              Dose
     HyProtein-1           24 capsules
     HyProtein-2           24 capsules
     HyProtein-3           24 capsules

METABOLIC Plan of Care                                                Page 7 of 11
                                                                          App. 000161
                                                               METABOLIC Plan of Care
                                                                             CELLULAR THERAPY
           HyProtein-4          24 capsules

      4.6 Administration and Dosage of LYPROTEINS
          Take twenty-five (25) capsules of LyProtein, ideally within fifteen (15) minutes. After
          fifteen (15) minutes, take the last twenty-five (25) capsules of LyProtein, ideally within
          fifteen (15) minutes.
          LyProtein is powder form:
               Product            Dose
           LyProtein          50 capsules

      4.7 Treatment Interval and Duration of METABOLIC Plan of Care
          The basic treatment recommended by Golden Sunrise Nutraceutical for cancer requires five
          (5) initial sessions of herbal (botanical) products (usually including DetoxHerb–1,
          DetoxHerb–2, DetoxHerb–PI, DetoxHerb–NR, AnterFeeron–1, and AnterFeeron–2).
          These are recommended to be taken every 2–4 weeks apart. Then additional sessions (up to
          four (4) or five (5) more) will be included, if warranted by the patient’s response and
          condition, with other high quality herbal products (some of which include CRProtein,
          HyProteins, and LyProtein). These are also recommended to be taken every 2–4 weeks
          apart.

      The METABOLIC Plan of Care is designed to modify or reverse the abnormal metabolic
      process at the cellular level which are the source of all of our diseases. The METABOLIC Plan
      of Care is also designed as a preventative plan of care to arrest or reverse the metabolic
      abnormalities at the cellular level leading to the development of cancer cells. Then every 6–12
      months a detoxification Golden Sunrise Nutraceutical herbal treatment session will be
      recommended as a preventative for different disease pathways as well as a prevention for cancer
      emergence. ImunStem and Aktiffvate will be continued indefinitely, but tapered to a lower
      dose, for example, ¼ dropperful of each every other day.

5.0   WARNING AND PRECAUTIONS
      ADMINISTRATION OF IMUNSTEM, AKTIFFVATE, DETOXHERBS, ANTERFEERONS,
      CRPROTEIN, HYPROTEINS AND LYPROTEIN SHOULD ALWAYS BE UNDER THE
      SUPERVISION OF A PHYSICIAN. RECOMMENDATION FOR GOLDEN SUNRISE
      NUTRACEUTICAL METABOLIC PLAN OF CARE IS BASED ON MEDICAL
      EVALUATION OF THE PATIENT, AND LABORATORY RESULTS. ONLY USE UNDER
      THE SUPERVISION OF A PHYSICIAN’S CARE.

6.0   THERAPEUTIC RESPONSE

      6.1 Expected Response of DetoxHerbs, AnterFeerons, CRProtein, HyProteins, and LyProtein
          The METABOLIC Plan of Care process can promote the body’s natural cleansing process
          which usually will include responses such as nausea, vomiting, diarrhea, and mucus

      METABOLIC Plan of Care
                                                                                 App. 000162
                                                                            Page 8 of 11
                                                               METABOLIC Plan of Care
                                                                             CELLULAR THERAPY
          discharges. Other possible symptoms a person can experience may depend on the person’s
          previous health issues, such as headaches, migraines, weakness, muscle aches, joint pain,
          heart palpitations, inflammation of the throat, excessive bloating, gas, and shortness of
          breath. These symptoms are only temporary at the time that the patient is being treated with
          METABOLIC Plan of Care. ONLY USE UNDER THE SUPERVISION OF A
          PHYSICIAN’S CARE.

      6.2 Adverse Sensitivity Response of ImunStem and Aktiffvate
           ImunStem and Aktiffvate can cause severe allergic skin rashes.
           Vomiting.
           In rare circumstances an adverse sensitivity response in the mouth, such as mild blisters,
          have occurred.
           A burning sensation in the throat in the beginning of oral treatment may occur, but it
          subsides. If the burning sensation persists, gelatin capsules used for administration, may be
          substituted as an alternative.

7.0   CLINICAL PHARMACOLOGY

      7.1 Mechanism of Action
          Golden Sunrise Nutraceutical produces herbal (botanical) products which help to regenerate
          the cell and promote the cellular metabolism to return to homeostasis in the human body.

          It is postulated that in arresting abnormal cellular mutation, the precursors for normal and
          enhanced cellular regeneration and cellular division can be accelerated in relation to the
          selective existing disease pathology. It is therefore theorized that the combination of the
          body’s thermal energy, particularly during variance mutation and inflammatory processes,
          potentiates the self-propelling of molecules by possible passive membrane transportation or
          passive diffusion of the Golden Sunrise Nutraceutical products intact across all cell
          membranes. This also includes the blood-brain barrier, which allows its efficacy and
          activity for the central nervous system.

          Golden Sunrise Nutraceutical products possess a bipolarity and a lipophilicity that facilitates
          molecular diffusion through various permeable and selective membranes. In-vivo studies
          on test subjects have indicated that the cell membrane integrity remains intact and is not
          disrupted or destroyed in the process of assimilating into the cell, thus ensuring long-term
          effectiveness.

          The technology developed by Golden Sunrise Nutraceutical is the key for the various herbs’
          effectiveness on the immune system and cellular metabolism. They have immune-
          stimulating properties. In-vivo studies on treated patients demonstrate increasing repair,
          before, during and after chemotherapy drugs, prescription drugs, toxic exposure and


      METABOLIC Plan of Care                                                Page 9 of 11
                                                                                 App. 000163
                                                             METABOLIC Plan of Care
                                                                           CELLULAR THERAPY
          phagocytic activity and synthesis of helper cell function. Golden Sunrise Nutraceutical
          products have shown to transform Deoxyribonucleic Acid / Ribonucleic Acid (DNA / RNA)
          chemical induced damage. These herbs have a variety of effects including anti-oxidant
          activity and anti-inflammatory properties.

          Golden Sunrise Nutraceutical products can play an integral role in hypothalamic activity,
          easing both parasympathetic and sympathetic nervous systems towards a state of
          homeostasis. For example, blood pressure level is directly linked to the sympathetic
          nervous system and the normalizing of blood pressure levels exhibited following
          administration of Golden Sunrise Nutraceutical products are compatible with the
          stabilization of the sympathetic nervous system activity. Golden Sunrise Nutraceutical
          products reduces inflammation by affecting immune responsiveness through neuroendocrine
          factors. Improvement of balance problems, a side effect of some chemotherapies, by
          Golden Sunrise Nutraceutical products is thought to be from improvement of vestibular
          function. Golden Sunrise Nutraceutical products have affected bone metabolism by
          demonstrating improved bone density in patients with osteoporotic bone. Numbers based
          on densitometry have shown a reversal in L1–L4 from –3.6% to 3.4% in 1–year.

      7.2 Pharmacokinetics
          Golden Sunrise Nutraceutical products are readily absorbed into soft tissue when taken as an
          oral dose. This is accomplished because Golden Sunrise Nutraceutical products readily
          passes through membrane tissue by passive diffusion.

          The Golden Sunrise Nutraceutical dietary supplements are metabolized by the body to more
          hydrophilic products that are excreted in the urine and feces.

8.0   RESULTS OF PATIENTS AFTER TREATMENT
      Please download at www.goldensunrisenutraceutical.com under “TREATMENT” and click
      “Insulin Resistance Cellular Restorative Results”.

9.0   STORAGE, HANDLING, AND PRODUCTS

      9.1 Storage and Stability
          STORAGE: Store materials at controlled room temperature 20°C (68°F).

          STABILITY: METABOLIC Plan of Care is chemically stable for two (2) years at room
          temperature. Do not freeze.

      9.2 Product Classification
          Dietary Supplement.



      METABOLIC Plan of Care                                              Page 10 of 11
                                                                              App. 000164
                                                         METABOLIC Plan of Care
                                                                       CELLULAR THERAPY

10.0   ATTACHMENT LABELS
       DetoxHerb–1, DetoxHerb–2, DetoxHerb–NR, DetoxHerb–PI, AnterFeeron–1,
       AnterFeeron–2, CRProtein, HyProtein–1, HyProtein–2, HyProtein–3, HyProtein–4,
       LyProtein, ImunStem, and Aktiffvate

11.0   HOW SUPPLIED

       11.1 Packaging
               PRODUCT          CONTAINER                  NET
                                 CONTENT              CONTENT
             ImunStem             3 bottles          1 fl.oz. Liquid
             Aktiffvate           3 bottles          1 fl.oz. Liquid
             DetoxHerb-1          2 bottles          1 fl.oz. Liquid
             DetoxHerb-2          2 bottles          1 fl.oz. Liquid
             DetoxHerb-PI         1 bottles       25 capsules Powder
             DetoxHerb-NR         1 bottles       25 capsules Powder
             AnterFeeron-1        2 bottles          1 fl.oz. Liquid
             AnterFeeron-2        2 bottles          1 fl.oz. Liquid
             LyProtein            1 bottles       50 capsules Powder
             CRProtein            1 bottles          1 fl.oz. Liquid
             HyProtein-1          1 bottles       24 capsules Powder
             HyProtein-2          1 bottles       24 capsules Powder
             HyProtein-3          1 bottles       24 capsules Powder
             HyProtein-4          1 bottles       48 capsules Powder




       METABOLIC Plan of Care                                       Page 11 of 11
                                                                         App. 000165
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                               DetoxHerb–1
                                       Dietary Supplement
                                               WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Poke weed                  100mg           **
Graviola                    65mg           **
Turmeric                    17mg           **
** Daily Value (DV) not established.

Other Ingredients: solvents, organic compounds, Selfheal, Chuchuhuasi, Yucca, Cat’s claw, and Black pepper.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The DetoxHerb–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with DetoxHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of DetoxHerb–1 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

DetoxHerb–1 dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of DetoxHerb–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000166
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                                  DetoxHerb–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Olive leaf                110mg            **
Papaya leaf                70mg            **
Vinca                     120mg            **
 ** Daily Value (DV) not established.
Other Ingredients: Chuchuhuasi, Cat’s claw, and Turmeric.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The DetoxHerb–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with DetoxHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of DetoxHerb–2 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

DetoxHerb–2 dietary supplement may help promote bowel movements.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of DetoxHerb–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000167
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                               DetoxHerb–PI
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 25 capsules serving
Amount Per Serving                     %DV
Bilberry            40mg                **
Graviola           120mg                **
Goldenseal          50mg                **
 ** Daily Value (DV) not established.
Other ingredients: Chuchuhuasi, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The DetoxHerb–PI has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with DetoxHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-five (25) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of DetoxHerb–PI, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000168
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                             DetoxHerb–NR
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
 Serving Size: 350mg per capsule
 Serving Per Container: 25 capsules serving
 Amount Per Serving                    %DV
 Gotu kola          60mg                **
 Foti               35mg                **
 Vinca              45mg                **
 ** Daily Value (DV) not established.
Other ingredients: Green tea, Rhodiola, Yucca, and Turmeric.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The DetoxHerb–NR has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with DetoxHerb. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-five (25) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of DetoxHerb–NR, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000169
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–1
                                      Dietary Supplement
                                               WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



         SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Bilberry leaf              40mg            **
Graviola                  120mg            **
Goldenseal                 80mg            **
 ** Daily Value (DV) not established.
Other Ingredients: solvents, organic compounds, Chuchuhuasi, Cayenne, Maca, and Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The AnterFeeron–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–1 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–1 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000170
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                              AnterFeeron–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Astragalus               20mg              **
Reishi                   95mg              **
Mistletoe                45mg              **
 ** Daily Value (DV) not established.
Other Ingredients: Cat’s claw, organic compounds, Echinacea, and Cordyceps.

STRUCTURE FUNCTION
“Promote Bowel Movements”

The AnterFeeron–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with AnterFeeron. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of AnterFeeron–2 into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

AnterFeeron–2 dietary supplement may support immunity, improve overall health for the human body
and maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of AnterFeeron–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000171
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                                        CRProtein
                                        Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



        SUPPLEMENT FACTS
Serving Size: (1 fl.oz.) (491.50mg)
Serving Per Container: One (1) serving
Amount Per Serving                        %DV
Cat’s claw                35mg             **
Selfheal                  10mg             **
Rosemary                  20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Turmeric.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint Health and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The CRProtein has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with CRProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Administration: Empty entire contents of CRProtein into a glass cup and swallow entire contents.

Dosage: Take one fluid ounce (1 fl.oz.)

CRProtein dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of CRProtein, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000172
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                                  HyProtein–1
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 24 capsules serving
Amount Per Serving                         %DV
Astragalus                 95mg             **
Oregano                    40mg             **
Cat’s claw                 70mg             **
 ** Daily Value (DV) not established.
Other ingredients: Olive leaf and Blood root.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–1 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–1, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000173
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                                  HyProtein–2
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 24 capsules serving
Amount Per Serving                         %DV
Blood root                 55mg             **
Reishi                     75mg             **
Green tea                  40mg             **
 ** Daily Value (DV) not established.
Other ingredients: Turmeric, Pokeweed, and Garlic.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–2 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–2, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000174
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                                   HyProtein–3
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



           SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 24 capsules serving
Amount Per Serving                         %DV
Ashwagandha                 45mg            **
Garlic                      60mg            **
Turmeric                    30mg            **
 ** Daily Value (DV) not established.
Other ingredients: Ginkgo, Green tea, and Catuaba bark.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–3 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–3, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000175
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                                 HyProtein–4
                                      Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



            SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 48 capsules serving
Amount Per Serving                         %DV
St. John’s wort             50mg            **
Reishi                      30mg            **
Garlic                      25mg            **
 ** Daily Value (DV) not established.
Other ingredients: Kudzu, Goldenseal, and Licorice root.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The HyProtein–4 has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with HyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-four (24) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of HyProtein–4, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                   App. 000176
                                                                 METABOLIC Plan of Care
                                                                                CELLULAR THERAPY

                                      LyProtein
                                       Dietary Supplement
                                                WARNING
                                      Keep out of reach of children
                              do not use if safety seal is damaged or missing



           SUPPLEMENT FACTS
Serving Size: 350mg per capsule
Serving Per Container: 50 capsules serving
Amount Per Serving                         %DV
Horse chestnut              25mg            **
Garlic                      40mg            **
Turmeric                    50mg            **
 ** Daily Value (DV) not established.
Other ingredients: Sea cucumber, Astragalus, Bilberry, Olive leaf, and St. John’s wort.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“Helps Maintain Joint and Flexibility”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”

The LyProtein has no side-effects. It will promote the body’s natural cleansing process which may
include purging responses such as nausea, diarrhea, vomiting and mucus discharges. Other possible
symptoms a person can experience may depend on the person’s previous health issues, which may include
headaches, migraines, weakness, muscle aches, joint pain, heart palpitations, inflammation of the throat,
excessive bloating, gas, and shortness of breath. These symptoms are only temporary at the time that the
patient is being treated with LyProtein. ONLY USE UNDER THE SUPERVISION OF A
PHYSICIAN’S CARE.

Dosage: Take twenty-five (25) capsules, ideally within fifteen (15) minutes.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of LyProtein, please consult your doctor or call the product hot line in U.S.A. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.




                                                                                    App. 000177
                                                                  METABOLIC Plan of Care
                                                                                 CELLULAR THERAPY

                                     ImunStem                         ®

                                       Dietary Supplement
                                                 WARNING
                                       Keep out of reach of children
                               do not use if safety seal is damaged or missing



          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Olive Leaf extract         260mg             **
Yarrow extract              52mg             **
Rosemary extract            63mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Organic compounds and solvents, monoterpene, Cassia oil, and Yucca.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.
* Yarrow flowers can cause severe allergic skin rashes.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of ImunStem under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ dropperful, 1–4 times a day, as frequently as every 1–3 hours.

ImunStem dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of ImunStem, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                     App. 000178
                                                                  METABOLIC Plan of Care
                                                                                 CELLULAR THERAPY

                                            Aktiffvate                     ®

                                             Dietary Supplement
                                                       WARNING
                                             Keep out of reach of children
                                     do not use if safety seal is damaged or missing

          SUPPLEMENT FACTS
Serving Size: (0.50ml) (491.50mg)
Serving Per Container: 25 servings
Amount Per Serving                          %DV
Turmeric extract           175mg             **
Cayenne extract             40mg             **
Eucalyptus extract          20mg             **
 ** Daily Value (DV) not established.
Other Ingredients: Wintergreen, solvents, organic compounds, Yucca, and Olive leaf.

STRUCTURE FUNCTION
“Support Immunity” and “Boost Stamina”
“For the Relief of Occasional Sleeplessness”
“Maintains Healthy Lung Function”
“Helps Restore Mental Alertness or Wakefulness when Experiencing Fatigue or Drowsiness”
“Helps You Relax”
“Helps Maintain Cardiovascular Function and a Healthy Circulatory System”
“Reduces Stress and Frustration”

ADVERSE ACTIONS
* In rare circumstances an adverse reaction in the mouth such as “mild blisters” have occurred.
* A burning sensation in the throat in the beginning of oral treatment may occur, but subsides. If the
burning sensation persists, filling gelatin capsules and swallowing may be substituted as an alternative.
* Vomiting.

Shake bottle well before using and use dropper to place ½ – ¾ dropperful of Aktiffvate under the tongue.
Leave under the tongue for approximately forty (40) seconds and then swallow with a drink of water.

Dosage: Take ½ – ¾ of a dropperful, 1–4 times a day, as frequently as every 1–3 hours.

Aktiffvate dietary supplement may support immunity, improve overall health for the human body and
maintain good well–being.

WARNING: Not recommended for use by pregnant or nursing women. Should you have any questions
regarding the use of Aktiffvate, please consult your doctor or call the product hot line in U.S. at
1.559.781.0658 or 1.559.361.0097. Keep out of reach of children. To be kept in a dry and cool place.

* These statements have not been evaluated by the Food and Drug Administration (FDA). This product is
not intended to diagnose, treat, cure or prevent any disease.

                                                                                       App. 000179
ATTACHMENT J




               App. 000180
